Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 1 of 106 PAGEID #: 4002


                                                                                   1

             1              IN THE UNITED STATES DISTRICT COURT
             2              FOR THE SOUTHERN DISTRICT OF OHIO
             3                           WESTERN DIVISION
             4                                  *   *    *
             5 IGOR ELMAN,                              CASE NO. 3:18-cv-0358
             6             Plaintiff,                   JUDGE WALTER H. RICE
             7           vs.                            MAGISTRATE PETER SILVAIN
             8 WRIGHT STATE UNIVERSITY,
             9             Defendant.
           10                                   *   *    *
           11               Deposition of JULIE PATRICE GENTILE, M.D.,
           12 Witness herein, called by the Plaintiff for
           13 cross-examination pursuant to the Rules of Civil
           14 Procedure, taken before me, Angela R. Dilts, Court
           15 Reporter and Notary Public in and for the State of
           16 Ohio, at the offices of Craig T. Matthews &
           17 Associates, 320 Regency Ridge Drive, Centerville,
           18 Ohio, on Thursday, December 5, 2024 at 10:25 a.m.
           19                                   *   *    *
           20
           21
           22
           23
           24
           25

                        MIAMI VALLEY REPORTING, LLC          (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 2 of 106 PAGEID #: 4003


                                                                                   2

             1 APPEARANCES:
             2       ON BEHALF OF THE PLAINTIFF:
             3       By:    Craig T. Matthews, Esq.
                            Craig T. Matthews & Associates, LPA
             4              320 Regency Ridge Drive
                            Centerville, Ohio 45459
             5              937-434-9393
                            cmatthews@ctmlaw.com
             6
                     ON BEHALF OF THE DEFENDANT:
             7
                     By:    Rory Callahan, Esq.
             8              Ashley Barbone, Esq.
                            Wendy Clary, Esq. (via telephone)
             9              Ohio Attorney General's Office
                            30 East Broad Street
           10               Columbus, Ohio 43215
                            614-644-7257
           11               rory.callahan@ohioago.gov
           12 ALSO PRESENT:
           13               Igor Eleman
           14                                   *   *    *
           15
           16
           17
           18
           19
           20
           21
           22
           23
           24
           25

                        MIAMI VALLEY REPORTING, LLC          (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 3 of 106 PAGEID #: 4004


                                                                                   3

             1                   EXAMINATION CONDUCTED                   PAGE
             2    BY MR. MATTHEWS:                                          4
             3
             4              PLAINTIFF'S EXHIBITS MARKED                  PAGE
             5    Exhibit G:       Subpoena                                 8
             6    Exhibit A:       11-15-16 letter to                       9
             7                      Dr. Dunn
             8    Exhibit 32:        Email string                         11
             9    Exhibit D:       11-15-16 letter to                     13
           10                       Dr. Dunn
           11     Exhibit I:       Curriculum vitae                       41
           12     Exhibit 31:        12-5-16 letter from                  48
           13                        Dr. Dunn
           14     Exhibit F:       Declaration of Julie P.                58
           15                       Gentile, M.D.
           16
           17
           18
           19
           20
           21
           22
           23
           24
           25

                        MIAMI VALLEY REPORTING, LLC         (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 4 of 106 PAGEID #: 4005


                                                                                   4

               1                 JULIE PATRICE GENTILE, M.D.
               2 of lawful age, Witness herein, having been first
               3 duly cautioned and sworn, as hereinafter
               4 certified, was examined and said as follows:
               5                         CROSS-EXAMINATION
   10:25:22    6 BY MR. MATTHEWS:
   10:25:22    7            Q.      Let's begin.        We briefly met
   10:25:27    8 downstairs minutes ago.             I'm Craig Matthews.
   10:25:31    9 I'm the attorney for the plaintiff in the
   10:25:36   10 captioned litigation Dr. Igor Elman.                   You're
   10:25:41   11 here today for a deposition.               I'm going to ask
   10:25:46   12 you to begin by stating your full name and
   10:25:50   13 address.
   10:25:51   14            A.      Julie Patrice Gentile and I live
   10:25:55   15 at --
   10:25:56   16                    MR. CALLAHAN:        I'd note Dr. Gentile
   10:25:58   17 is a department chair for the university.                     She's
   10:26:01   18 here by agreement.           If you need to subpoena her or
   10:26:04   19 something, you can send it to me.                 I think you've
   10:26:08   20 already sent her something previously but we don't
   10:26:10   21 need to include that in the record.
   10:26:12   22                    MR. MATTHEWS:        Okay.     I'm not sure
   10:26:16   23 I'm understanding what you're saying, Rory.                      Did I
   10:26:20   24 miss something?
   10:26:20   25                    MR. CALLAHAN:        We don't need to put

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 5 of 106 PAGEID #: 4006


                                                                                    5

   10:26:21    1 her personal address in the record.
   10:26:23    2                    MR. MATTHEWS:        Oh, I see.        If you
   10:26:24    3 would rather not, that's fine.
   10:26:25    4                    MR. CALLAHAN:        She's the department
   10:26:27    5 chair of the university.             You can contact me if
   10:26:29    6 you want to issue a subpoena.
   10:26:30    7 BY MR. MATTHEWS:
   10:26:31    8            Q.      Dr. Gentile, that's correct,
   10:26:33    9 you're the department chair at Wright State
   10:26:39   10 University?
   10:26:39   11            A.      I am.
   10:26:39   12            Q.      Have you ever been deposed before?
   10:26:42   13            A.      I've been in legal proceedings
   10:26:44   14 such as mediations but not a deposition
   10:26:49   15 specifically.
   10:26:53   16            Q.      Okay.     So you've never had your
   10:26:57   17 deposition taken nor viewed or watched a
   10:27:02   18 deposition?
   10:27:03   19            A.      No, I have not.
   10:27:04   20            Q.      Okay.     All right.       Well, let me
   10:27:06   21 talk to you a bit about just the groundworks,
   10:27:10   22 so to speak.
   10:27:11   23                    So I'll be asking you a number of
   10:27:14   24 questions this morning.             You're under oath.
   10:27:16   25 You understand that, correct?

                        MIAMI VALLEY REPORTING, LLC         (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 6 of 106 PAGEID #: 4007


                                                                                    6

   10:27:18    1            A.      Yes.
   10:27:18    2            Q.      All right.       And we have a court
   10:27:22    3 reporter present obviously.               With the court
   10:27:24    4 reporter present, it's important that all of
   10:27:26    5 your responses to my questions be verbal.                     In
   10:27:32    6 other words, if you nod your head to indicate
   10:27:34    7 yes or shake your head to indicate no, everyone
   10:27:36    8 in the room will understand what you're saying
   10:27:39    9 but the court reporter can't take that down.
   10:27:42   10 So your responses need to be verbal.
   10:27:45   11                    Since I'm going to be asking
   10:27:48   12 questions and you're going to be answering them
   10:27:50   13 and we have a court reporter present, it's
   10:27:53   14 important that you wait until I finish my
   10:27:55   15 question before providing your answer.                    Even
   10:28:00   16 though you might anticipate where I'm going, it
   10:28:05   17 makes it difficult for the court reporter to
   10:28:07   18 transcribe two of us talking at the same time.
   10:28:11   19 It also provides your counsel, or the attorney
   10:28:15   20 general, with an opportunity to object.                    Do you
   10:28:21   21 have any questions?
   10:28:22   22            A.      No, I don't.
   10:28:23   23            Q.      Okay.     And if you need to take a
   10:28:25   24 break -- I don't think we're going to be doing
   10:28:27   25 this very long, but if you need to take a

                        MIAMI VALLEY REPORTING, LLC         (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 7 of 106 PAGEID #: 4008


                                                                                   7

   10:28:29    1 break, just let me know.             I just ask that the
   10:28:35    2 break occur after you have answered a question
   10:28:37    3 and not after a question -- provide the answer
   10:28:44    4 and then we can take a break after you've
   10:28:46    5 answered.       Do you understand?
   10:28:47    6            A.      I understand.
   10:28:48    7            Q.      Very good.       So you are appearing
   10:28:55    8 this morning by agreement of counsel and
   10:29:02    9 pursuant to a subpoena which was served upon
   10:29:05   10 you; is that correct?
   10:29:06   11            A.      That's right.
   10:29:07   12                    MR. CALLAHAN:        Objection.        She's
   10:29:08   13 appearing by agreement on a date that was agreed
   10:29:10   14 upon previously.
   10:29:11   15 BY MR. MATTHEWS:
   10:29:11   16            Q.      Okay.     Well, I think you answered
   10:29:14   17 the question yes.          Did I hear you say yes?
   10:29:20   18            A.      What was the question?
   10:29:21   19            Q.      That you are appearing today by
   10:29:23   20 agreement of counsel and also pursuant to a
   10:29:26   21 subpoena?
   10:29:26   22                    MR. CALLAHAN:        Note an objection.
   10:29:27   23 You can answer.
   10:29:30   24                    THE WITNESS:        I'm here by agreement
   10:29:33   25 of this date for this meeting.

                        MIAMI VALLEY REPORTING, LLC         (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 8 of 106 PAGEID #: 4009


                                                                                   8

   10:29:33    1                    (Thereupon, Plaintiff's Exhibit G:
   10:29:33    2 Subpoena, was marked for purposes of
   10:29:34    3 identification.)
   10:29:34    4 BY MR. MATTHEWS:
   10:29:34    5            Q.      I'm handing you what I've labeled
   10:29:37    6 as Exhibit G.        Do you recognize that document?
   10:29:46    7            A.      I do.
   10:29:47    8            Q.      And this is a copy of a subpoena
   10:29:50    9 to testify at a deposition in a civil action
   10:29:54   10 which was served upon you, correct?
   10:29:57   11                    MR. CALLAHAN:        I'll note an objection
   10:29:59   12 to the subpoena.          This has been the subject of
   10:30:01   13 communications between counsel regarding the
   10:30:03   14 production of documents.             And my understanding is
   10:30:06   15 that the production of documents issue was
   10:30:08   16 resolved prior to the deposition occurring today.
   10:30:13   17                    MR. MATTHEWS:        Objection noted.          You
   10:30:14   18 may answer the question.
   10:30:16   19                    THE WITNESS:        Yes.
   10:30:17   20 BY MR. MATTHEWS:
   10:30:17   21            Q.      All right.       And it is my
   10:30:22   22 understanding that the only responsive document
   10:30:29   23 is a memo that you provided to Dr. Dunn dated
   10:30:41   24 November 15, 2016; is that correct?
   10:30:44   25                    MR. CALLAHAN:        Note an objection to

                        MIAMI VALLEY REPORTING, LLC         (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 9 of 106 PAGEID #: 4010


                                                                                     9

   10:30:47    1 the question.        You can answer.
   10:30:49    2                    THE WITNESS:        Yes.
   10:30:50    3 BY MR. MATTHEWS:
   10:30:51    4            Q.      All right.       I'm handing you what
   10:30:53    5 I've labeled Exhibit A.
   10:30:53    6                    (Thereupon, Plaintiff's Exhibit A:
   10:30:53    7 11-15-16 letter to Dr. Dunn, was marked for
   10:30:59    8 purposes of identification.)
   10:30:59    9 BY MR. MATTHEWS:
   10:30:59   10            Q.      Take whatever time you need to
   10:31:01   11 review that document.            And my question is:           Do
   10:31:12   12 you recognize that document?
   10:31:14   13            A.      I do.
   10:31:15   14            Q.      And is this the only document in
   10:31:22   15 your possession relating to the subpoena?
   10:31:28   16                    MR. CALLAHAN:        Noting an objection, a
   10:31:30   17 continuing objection to questions to the witness
   10:31:33   18 about the document marked Plaintiff's Exhibit A
   10:31:35   19 for this deposition.
   10:31:40   20                    MR. MATTHEWS:        What is the continuing
   10:31:41   21 objection?
   10:31:42   22                    MR. CALLAHAN:        I'm not going to make
   10:31:45   23 speaking objections.           Do you want to have a
   10:31:47   24 colloquy on the record about it?
   10:31:48   25                    This was the subject of emails

                        MIAMI VALLEY REPORTING, LLC         (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 10 of 106 PAGEID #: 4011


                                                                                  10

    10:31:50    1 before.     You issued a subpoena asking for all
    10:31:53    2 documents related to Dr. Igor Elman and it's
    10:31:57    3 overbroad.      There's no -- it's not limited to the
    10:31:58    4 lawsuit.      It's not limited to any specific issues
    10:32:00    5 in the lawsuit.         You narrowed that request in an
    10:32:04    6 email yesterday.         And, again, I identified that
    10:32:09    7 Dr. Gentile was not a decision maker in this case
    10:32:14    8 but that this was a memo that she had created and,
    10:32:18    9 as it says, sent to then Dean Dunn.
    10:32:22   10                   MR. MATTHEWS:         And we had an email
    10:32:25   11 discussion regarding this.              You indicated that as
    10:32:28   12 to Dr. Gentile, this was the only responsive
    10:32:31   13 document.      Am I correct or is there a
    10:32:33   14 misunderstanding there?
    10:32:34   15                   MR. CALLAHAN:         Well, again, I think
    10:32:36   16 what the issue is, it has been kind of changed at
    10:32:39   17 different times by Mr. Matthews, so we provided
    10:32:42   18 these -- this document and other documents for
    10:32:47   19 documents related to the removal of Dr. Elman as
    10:32:51   20 department chair.          But, again, to the extent that
    10:32:54   21 there are other issues, there may be other
    10:32:56   22 documents that we rely on at different times
    10:33:00   23 depending on the issue.
    10:33:03   24                   MR. MATTHEWS:         Well, that's different
    10:33:04   25 than the understanding that I thought we had

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 11 of 106 PAGEID #: 4012


                                                                                  11

    10:33:07    1 reached last night, and I'm going to -- I'm going
    10:33:11    2 to have to mark as an exhibit our correspondence.
    10:33:16    3 Do you have an exhibit label there?
    10:33:16    4                   COURT REPORTER:          I do.
    10:33:30    5                   MR. MATTHEWS:         Let's mark this
    10:33:30    6 exhibit as 32.
    10:33:30    7                   (Thereupon, Plaintiff's Exhibit 32:
    10:33:30    8 Email string, was marked for purposes of
    10:33:38    9 identification.)
    10:33:38   10                   MR. MATTHEWS:         I am handing you,
    10:33:40   11 Rory, what I marked as Exhibit 32 which is a
    10:33:44   12 printout of our email correspondence which
    10:33:48   13 concluded last night --
    10:33:50   14                   MR. CALLAHAN:         Well --
    10:33:50   15                   MR. MATTHEWS:         -- for the record.
    10:33:51   16 It's my understanding that we're proceeding this
    10:33:54   17 morning based upon that representation.                    And I
    10:33:57   18 just want to make sure you're not changing or
    10:34:00   19 retracting what you said last night; is that
    10:34:01   20 correct?
    10:34:01   21                   MR. CALLAHAN:         Whatever is in the
    10:34:02   22 email is what I said obviously.
    10:34:04   23                   MR. MATTHEWS:         Okay.
    10:34:04   24                   MR. CALLAHAN:         I think, first, this
    10:34:06   25 exhibit is not a proper exhibit for this witness.

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 12 of 106 PAGEID #: 4013


                                                                                  12

    10:34:09    1 It's not -- this was emails between counsel.                      It's
    10:34:12    2 not something that she can authenticate or has
    10:34:14    3 personal knowledge of.            You're raising a legal
    10:34:17    4 dispute instead of asking this witness factual
    10:34:20    5 questions about her personal knowledge or what her
    10:34:21    6 awareness is of the procedures at the university.
    10:34:25    7 So I think there are some other issues here.
    10:34:27    8 There's a Dr. Molly Hall referenced in these nine
    10:34:31    9 pages of emails.         There's different issues.
    10:34:33   10                   This was something that was provided
    10:34:34   11 to you so that we didn't have to litigate the
    10:34:37   12 scope of the document request that you sent last
    10:34:41   13 week directly to the witness.               So I think it's not
    10:34:45   14 a proper exhibit.
    10:34:46   15                   You know, I'll let you continue the
    10:34:47   16 deposition but I'm objecting to this and I reserve
    10:34:50   17 the right to either move to have it redacted or
    10:34:53   18 removed from the deposition at a later date.
    10:34:55   19                   MR. MATTHEWS:         Objection noted.          But
    10:34:57   20 my question is:         You are not retracting any
    10:35:01   21 representation you made in what has been labeled
    10:35:05   22 Exhibit 32; is that correct?
    10:35:06   23                   MR. CALLAHAN:         That's an email
    10:35:08   24 exchange that we had I think Tuesday and
    10:35:12   25 yesterday, December 3rd and 4th.                So, yes, I think

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 13 of 106 PAGEID #: 4014


                                                                                  13

    10:35:15    1 it is an accurate document.              It is what it appears
    10:35:19    2 to be.
    10:35:19    3                   MR. MATTHEWS:         Thank you.       That's all
    10:35:21    4 I needed on that.          I wanted the record to be very
    10:35:23    5 clear.
    10:35:27    6                   (Thereupon, Plaintiff's Exhibit D:
    10:35:27    7 11-15-16 letter to Dr. Dunn, was marked for
    10:35:27    8 purposes of identification.)
    10:35:27    9 BY MR. MATTHEWS:
    10:35:27   10            Q.     Handing you what I've labeled as
    10:35:29   11 Exhibit D, do you recognize Exhibit D?
    10:36:56   12            A.     Yes.
    10:36:57   13            Q.     What is Exhibit D?
    10:37:03   14            A.     It's a document that I handed to
    10:37:07   15 Dean Dunn several years ago.
    10:37:11   16            Q.     All right.       And is it identical in
    10:37:16   17 content to Exhibit A?
    10:40:13   18            A.     I don't know.         Do you want to give
    10:40:16   19 me more time to look through it?
    10:40:16   20            Q.     Take whatever time you need.
    10:51:43   21            A.     Okay.     I believe they are the
    10:51:44   22 same.
    10:51:45   23            Q.     All right.       Did you author both of
    10:51:47   24 these documents?
    10:51:48   25                   MR. CALLAHAN:         Objection.       You can

                          MIAMI VALLEY REPORTING, LLC       (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 14 of 106 PAGEID #: 4015


                                                                                  14

    10:51:49    1 answer.
    10:52:16    2                   MR. MATTHEWS:         Can you make a note of
    10:52:18    3 the time?
    10:52:18    4                   COURT REPORTER:          There will be
    10:52:18    5 timestamps.
    10:52:18    6                   MR. CALLAHAN:         Objection.       You can
    10:52:20    7 answer.     Go ahead.       You said she can take time to
    10:52:33    8 review the seven-page document.
    10:52:34    9                   MR. MATTHEWS:         I was just asking the
    10:52:37   10 court reporter to make note of the time.
    10:52:39   11 BY MR. MATTHEWS:
    10:52:39   12            Q.     You may answer the question.
    10:52:45   13            A.     I believe I authored the document.
    10:52:49   14            Q.     Both Exhibits A and D were
    10:52:55   15 authored by you?
    10:53:53   16            A.     I believe so.
    10:53:56   17            Q.     Do you note that there are
    10:54:00   18 differences between these two documents in
    10:54:01   19 terms of pagination?
    10:54:04   20                   MR. CALLAHAN:         Objection.       You can
    10:54:05   21 answer.
    10:54:07   22                   THE WITNESS:        I didn't note
    10:54:09   23 differences in these two documents.
    10:54:10   24 BY MR. MATTHEWS:
    10:54:11   25            Q.     Well, take a look at Exhibit A.

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 15 of 106 PAGEID #: 4016


                                                                                  15

    10:54:15    1 Can you read just the last line of Exhibit A,
    10:54:25    2 first page, last line?
    10:54:30    3                   MR. CALLAHAN:         Objection.       You can
    10:54:31    4 answer.
    10:54:41    5                   THE WITNESS:        The last full -- the
    10:54:43    6 full sentence?
    10:54:43    7 BY MR. MATTHEWS:
    10:54:44    8            Q.     Yes, just the last line.
    10:54:47    9            A.     The last full sentence?
    10:54:49   10            Q.     No, the last line.
    10:54:55   11            A.     About each faculty was extremely
    10:54:58   12 time consuming.         For 2017 he plans to revise
    10:55:02   13 systems so that --
    10:55:03   14            Q.     Thank you.       Could you turn to
    10:55:05   15 Exhibit D and read the last line of the first
    10:55:10   16 page of Exhibit D?
    10:55:15   17            A.     Names or military status nor did
    10:55:18   18 he appear able to identify the chief residents.
    10:55:21   19 I specifically --
    10:55:23   20            Q.     Do you agree that those are
    10:55:25   21 different sentences?
    10:55:27   22                   MR. CALLAHAN:         Objection.       You can
    10:55:28   23 answer.
    10:55:33   24                   THE WITNESS:        Well, the fonts are
    10:55:35   25 different on these two documents and the

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 16 of 106 PAGEID #: 4017


                                                                                  16

    10:55:37    1 formatting is different on the two documents.
    10:55:39    2 BY MR. MATTHEWS:
    10:55:39    3            Q.     Thank you.       Can you explain why
    10:55:42    4 that is?
    10:55:53    5            A.     Can I explain why the fonts are
    10:55:55    6 different?
    10:55:56    7            Q.     Correct.
    10:55:58    8            A.     No.
    10:56:02    9            Q.     Which of these two documents did
    10:56:08   10 you testify that you handed to Dean Dunn?
    10:56:22   11            A.     I don't recall handing a document
    10:56:25   12 to her with this font.
    10:56:29   13            Q.     And when you say you're saying
    10:56:31   14 this font, are you referring to Exhibit A?
    10:56:33   15            A.     I am.
    10:56:33   16            Q.     Okay.     So is it fair to say that
    10:56:37   17 your testimony this morning is that the
    10:56:40   18 document that you handed to Dean Dunn was
    10:56:44   19 Exhibit D?
    10:56:57   20            A.     I imagine it was.
    10:56:59   21            Q.     Well, I'm not asking you to
    10:57:00   22 imagine anything.          I'm asking, did you hand
    10:57:04   23 Exhibit D to Dean Dunn?
    10:57:07   24                   MR. CALLAHAN:         Objection.       You can
    10:57:08   25 answer.

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 17 of 106 PAGEID #: 4018


                                                                                  17

    10:57:08    1                   THE WITNESS:        I don't know.
    10:57:09    2 BY MR. MATTHEWS:
    10:57:10    3            Q.     You don't know.          Why don't you
    10:57:12    4 know?
    10:57:14    5            A.     Because it was 2016, something
    10:57:20    6 that happened eight years ago.
    10:57:22    7            Q.     You're saying you just don't
    10:57:23    8 remember?
    10:57:25    9            A.     I don't remember.
    10:57:27   10            Q.     You don't remember handing Dean
    10:57:30   11 Dunn a document created by you dated
    10:57:33   12 November 15, 2016?
    10:57:35   13                   MR. CALLAHAN:         Objection.       You can
    10:57:36   14 answer.
    10:57:40   15                   THE WITNESS:        I don't remember.
    10:57:44   16 BY MR. MATTHEWS:
    10:57:44   17            Q.     Okay.     When did you create Exhibit
    10:57:57   18 D?
    10:57:57   19            A.     This was a compilation of notes
    10:58:00   20 over an approximately one-year period.
    10:58:06   21            Q.     Well, when did you begin creating
    10:58:08   22 Exhibit D?
    10:58:13   23                   MR. CALLAHAN:         Objection.       You can
    10:58:15   24 answer.
    10:58:16   25                   THE WITNESS:        On November 15, 2015.

                          MIAMI VALLEY REPORTING, LLC       (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 18 of 106 PAGEID #: 4019


                                                                                  18

    10:58:23    1 BY MR. MATTHEWS:
    10:58:24    2            Q.     So what did you do to create -- to
    10:58:28    3 begin creating this document on November 15,
    10:58:34    4 2015?
    10:58:34    5            A.     What did I do?
    10:58:35    6            Q.     Uh-huh.      How did you create this
    10:58:37    7 document beginning on November 15, 2015?
    10:58:42    8            A.     I was asked by Dean Dunn to keep a
    10:58:47    9 record of my concerns and so I created a new
    10:58:54   10 Word document and began adding notes over time.
    10:59:00   11            Q.     When did Dean Dunn ask you to
    10:59:03   12 create such notes?
    10:59:09   13            A.     Approximately 2015.
    10:59:14   14            Q.     Approximately when in 2015?
    10:59:21   15            A.     In the fall of 2015.
    10:59:28   16            Q.     How did she communicate that?
    10:59:33   17            A.     In a conversation.
    10:59:35   18            Q.     In person or email or otherwise?
    10:59:40   19            A.     I believe it was in person.
    10:59:43   20            Q.     Were you surprised when she asked
    10:59:46   21 you to do that?
    10:59:51   22            A.     I don't recall.
    10:59:56   23            Q.     Had she ever asked you to create
    10:59:59   24 notes about any other faculty member prior to
    11:00:03   25 asking you to create notes regarding Dr. Elman?

                          MIAMI VALLEY REPORTING, LLC       (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 19 of 106 PAGEID #: 4020


                                                                                  19

    11:00:05    1                   MR. CALLAHAN:         Objection.       You can
    11:00:07    2 answer.
    11:00:08    3                   THE WITNESS:        She had not.
    11:00:10    4 BY MR. MATTHEWS:
    11:00:10    5            Q.     Okay.     So you created this
    11:00:17    6 document using, I believe you testified, Word?
    11:00:21    7 You opened a Word document?
    11:00:23    8            A.     I think so.
    11:00:24    9            Q.     Okay.     And on what computer or
    11:00:28   10 device did you open the Word document to begin
    11:00:31   11 creating what has been now labeled Exhibit D?
    11:00:39   12            A.     I don't recall.
    11:00:42   13            Q.     Did you have access to a Wright
    11:00:48   14 State University computer at the time Dean Dunn
    11:00:51   15 asked you to create notes regarding Dr. Elman?
    11:00:56   16            A.     I have had access to a Wright
    11:01:00   17 State computer since 2003 and I sometimes used
    11:01:07   18 my Wright State computer.             I sometimes used a
    11:01:11   19 laptop because I work in multiple locations.
    11:01:17   20            Q.     So at the time that Dr. Dunn asked
    11:01:22   21 you to create notes regarding Dr. Elman, you
    11:01:26   22 had access to a Wright State University desktop
    11:01:30   23 computer, correct?
    11:01:32   24            A.     To the best of my recollection, I
    11:01:34   25 did.

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 20 of 106 PAGEID #: 4021


                                                                                  20

    11:01:34    1            Q.     Okay.     And the notes that you
    11:01:43    2 created with respect to Dr. Elman, which has
    11:01:48    3 now been labeled Exhibit D, would you have any
    11:01:52    4 reason to have created them using your laptop
    11:01:54    5 computer which you took to different locations
    11:01:58    6 as opposed to using your desktop computer which
    11:02:01    7 was presumably in your office?
    11:02:05    8            A.     Would I have had a reason to --
    11:02:08    9 can you repeat that?
    11:02:10   10                   MR. MATTHEWS:         Could you read back
    11:02:10   11 the question, please?
    11:02:32   12                   COURT REPORTER:          And the notes that
    11:01:43   13 you created with respect to Dr. Elman, which has
    11:01:48   14 now been labeled Exhibit D, would you have any
    11:01:52   15 reason to have created them using your laptop
    11:01:54   16 computer which you took to different locations as
    11:01:58   17 opposed to using your desktop computer which was
    11:02:01   18 presumably in your office?
    11:02:36   19                   MR. CALLAHAN:         Objection.       You can
    11:02:37   20 answer.
    11:02:38   21                   THE WITNESS:        For convenience.          I may
    11:02:43   22 have used my laptop for convenience.
    11:02:46   23 BY MR. MATTHEWS:
    11:02:46   24            Q.     Okay.     So is it fair to say that
    11:02:53   25 the first full paragraph, which begins 11-15,

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 21 of 106 PAGEID #: 4022


                                                                                  21

    11:02:59    1 that would have been a note created by you
    11:03:02    2 using your Word software on November 15 of
    11:03:09    3 2015?
    11:03:23    4            A.     Can you repeat the question?
    11:03:24    5                   MR. MATTHEWS:         Please read back the
    11:03:26    6 question.
    11:03:38    7                   COURT REPORTER:          So is it fair to say
    11:02:51    8 that the first full paragraph, which begins 11-15,
    11:02:59    9 that would have been a note created by you using
    11:03:03   10 your Word software on November 15 of 2015?
    11:03:41   11                   THE WITNESS:        I would typically write
    11:03:44   12 notes on Post-it notes if I was seeing patients or
    11:03:49   13 if I was providing educational content, and then I
    11:03:55   14 would use my notes when I had time to actually
    11:04:00   15 type on the Word document.
    11:04:03   16 BY MR. MATTHEWS:
    11:04:03   17            Q.     I'm asking you specifically as to
    11:04:06   18 the document that we've now identified as
    11:04:08   19 Exhibit D.
    11:04:13   20            A.     I don't know.         I don't remember.
    11:04:16   21            Q.     What don't you remember?
    11:04:18   22            A.     You're asking me if I converted
    11:04:20   23 the notes onto a Word document on November 15,
    11:04:29   24 2015, and I'm telling you I don't remember when
    11:04:32   25 I converted my notes to a Word document.

                          MIAMI VALLEY REPORTING, LLC       (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 22 of 106 PAGEID #: 4023


                                                                                  22

    11:04:35    1            Q.     Well, that wasn't my question but
    11:04:37    2 let's talk about your answer.
    11:04:39    3                   So is it your testimony that in
    11:04:44    4 November of 2015 you made notes on Post-it
    11:04:51    5 notes regarding the concerns involving
    11:04:55    6 Dr. Elman which are addressed in the first
    11:04:59    7 paragraph of Exhibit D?
    11:05:02    8                   MR. CALLAHAN:         Objection.       You can
    11:05:03    9 answer.
    11:05:09   10                   THE WITNESS:        I don't understand the
    11:05:10   11 question.
    11:05:14   12 BY MR. MATTHEWS:
    11:05:15   13            Q.     What don't you understand about
    11:05:16   14 that question?        I'm sorry.        I'm merely asking
    11:05:19   15 you:    Is it your testimony that you created the
    11:05:24   16 notes that are reflected in the first paragraph
    11:05:26   17 of Exhibit D on a Post-it note as opposed to
    11:05:30   18 opening a Word document?             That's my question.
    11:05:33   19 It's a simple question.
    11:05:34   20                   MR. CALLAHAN:         Objection.       You can
    11:05:35   21 answer.
    11:05:36   22                   THE WITNESS:        I told you that I would
    11:05:41   23 write notes on Post-it notes, which is common for
    11:05:45   24 me, and then when I have time, whether it's that
    11:05:49   25 evening or whether it's the next morning -- this

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 23 of 106 PAGEID #: 4024


                                                                                   23

    11:05:54    1 series of circumstances occurred on November 15.
    11:05:59    2 I don't remember exactly when I converted notes to
    11:06:04    3 a Word document.
    11:06:05    4 BY MR. MATTHEWS:
    11:06:05    5            Q.     Well, you're speaking generically.
    11:06:08    6 You're talking about you created notes.                    I'm
    11:06:10    7 talking about the notes regarding Dr. Elman.
    11:06:12    8 At this point my question isn't about your
    11:06:14    9 custom and practice.
    11:06:16   10                   I'm asking:        These notes that are
    11:06:19   11 reflected in the first paragraph of Exhibit D,
    11:06:24   12 were they created on a Post-it note or did you
    11:06:27   13 use some other means to create these notes?
    11:06:31   14            A.     I don't remember.
    11:06:32   15            Q.     You don't remember.           So you might
    11:06:34   16 have created them directly onto Word from your
    11:06:37   17 memory; is that correct?
    11:06:41   18            A.     I don't remember.
    11:06:42   19            Q.     You don't remember.
    11:06:43   20            A.     It was 2016 -- 2015.
    11:06:46   21            Q.     All right.       But your testimony was
    11:06:48   22 that you volunteered that your custom is you
    11:06:51   23 would use Post-it notes to create notes about
    11:06:55   24 events that you wanted to remember and then
    11:06:57   25 later on at some point you would transcribe

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 24 of 106 PAGEID #: 4025


                                                                                    24

    11:07:00    1 from Post-it notes onto a Word document.                    Was
    11:07:05    2 that your testimony?
    11:07:06    3            A.     That's right.
    11:07:07    4            Q.     All right.       And is it fair to say
    11:07:12    5 that the notes which were reflected in the
    11:07:14    6 first paragraph of Exhibit B [sic] would have
    11:07:17    7 been created on or about November 15 of 2015.
    11:07:22    8                   MR. CALLAHAN:         Objection.       You can
    11:07:23    9 answer.
    11:07:25   10                   THE WITNESS:        Exhibit B?
    11:07:27   11 BY MR. MATTHEWS:
    11:07:27   12            Q.     D.    I meant to say D.          If I spoke
    11:07:31   13 B, I misspoke.         I'm talking about Exhibit D in
    11:07:33   14 front of you.
    11:07:34   15            A.     Can you repeat the question?
    11:07:35   16                   MR. MATTHEWS:         Please read it back.
    11:07:51   17                   COURT REPORTER:          And is it fair to
    11:07:11   18 say that the notes which were reflected in the
    11:07:14   19 first paragraph of Exhibit B (which should be D)
    11:07:16   20 would have been created on or about November 15 of
    11:07:20   21 2015.
    11:07:58   22                   THE WITNESS:        To the best of my
    11:07:58   23 recollection, yes.
    11:08:00   24 BY MR. MATTHEWS:
    11:08:00   25            Q.     Okay.     There's a second paragraph,

                          MIAMI VALLEY REPORTING, LLC       (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 25 of 106 PAGEID #: 4026


                                                                                  25

    11:08:08    1 which is also preceded by 11-15, is it fair to
    11:08:13    2 say that those notes were created on or about
    11:08:17    3 November 15, 2015?
    11:08:22    4            A.     On or about, yes.
    11:08:24    5            Q.     Okay.     And do you have a
    11:08:28    6 recollection as to what kind of a delay there
    11:08:33    7 was between when you made the notes, however
    11:08:35    8 you made them, and when you entered them on
    11:08:37    9 Exhibit D?      Was it typically within 24 hours?
    11:08:41   10 Was it within a week?           Was it within a month?
    11:08:44   11 Do you have any recollection of that?
    11:08:46   12                   MR. CALLAHAN:         Objection.       You can
    11:08:47   13 answer.
    11:08:47   14                   THE WITNESS:        Generally within a
    11:08:49   15 week.
    11:08:49   16 BY MR. MATTHEWS:
    11:08:49   17            Q.     Within a week.         Okay.     So it's
    11:08:57   18 fair to say for each of the successive dates
    11:09:01   19 that we see in Exhibit D, that the notes which
    11:09:06   20 reflect the date were made on or about or
    11:09:11   21 within a week of the date that is reflected on
    11:09:15   22 the exhibit?
    11:09:20   23            A.     On or about, yes.
    11:09:21   24            Q.     Okay.     And that practice would
    11:09:26   25 continue throughout all the dates noted on

                          MIAMI VALLEY REPORTING, LLC       (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 26 of 106 PAGEID #: 4027


                                                                                  26

    11:09:30    1 Exhibit D, correct?
    11:09:37    2            A.     Correct.
    11:09:44    3            Q.     So by way of another example then,
    11:09:47    4 referring to the first page, the note in the
    11:09:52    5 third paragraph dated 3-1-16, you would have
    11:09:56    6 created that on or about that date or within a
    11:10:02    7 week of that date, correct?
    11:10:03    8            A.     Which exhibit?
    11:10:05    9            Q.     Exhibit D.
    11:10:19   10            A.     I don't recall.
    11:10:21   11            Q.     Is that your custom and practice?
    11:10:26   12            A.     Is what my custom and practice?
    11:10:29   13            Q.     Well, didn't you say your custom
    11:10:30   14 and practice was after you made these notes,
    11:10:33   15 you would convert them to the Word document
    11:10:36   16 within a week?
    11:10:39   17            A.     Typically.
    11:10:40   18            Q.     Okay.     Do you have any reason to
    11:10:42   19 believe you did not do that with respect to any
    11:10:44   20 of the notes that are reflected in Exhibit D?
    11:10:50   21            A.     Sure.     It depended on what my
    11:10:53   22 schedule looked like because I manage seven
    11:10:57   23 grants and three clinical settings and teaching
    11:11:01   24 at multiple locations.
    11:11:03   25            Q.     So it would have been more than a

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 27 of 106 PAGEID #: 4028


                                                                                  27

    11:11:05    1 week?     Is that what you're saying?
    11:11:06    2            A.     Sure.
    11:11:06    3            Q.     How long could it have been?
    11:11:10    4            A.     It varied.
    11:11:13    5            Q.     With respect to Dr. Elman, what
    11:11:15    6 kind of variation would there have been, the
    11:11:19    7 range?
    11:11:21    8                   MR. CALLAHAN:         Objection.       You can
    11:11:22    9 answer.
    11:11:26   10                   THE WITNESS:        I don't recall
    11:11:26   11 specifics.
    11:11:27   12 BY MR. MATTHEWS:
    11:11:27   13            Q.     I'm not asking specifics.              I'm
    11:11:29   14 talking about the range.             Your testimony
    11:11:31   15 earlier was that it was within a week.
    11:11:35   16            A.     Typically.
    11:11:36   17            Q.     Okay.     Now you're indicating
    11:11:38   18 sometimes it was more than a week, correct?
    11:11:42   19            A.     You're asking me for details.
    11:11:45   20            Q.     Yes.
    11:11:45   21            A.     So I'm answering that question.                 I
    11:11:48   22 don't recall.
    11:11:49   23            Q.     Well, I'm asking for the range.
    11:11:52   24                   MR. CALLAHAN:         Objection.       You can
    11:11:54   25 answer again.

                          MIAMI VALLEY REPORTING, LLC       (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 28 of 106 PAGEID #: 4029


                                                                                  28

    11:11:59    1 BY MR. MATTHEWS:
    11:11:59    2            Q.     Do you understand the question?
    11:12:01    3            A.     I do understand the question.
    11:12:02    4            Q.     Okay.     Can you answer the
    11:12:04    5 question?
    11:12:09    6            A.     It varied according to my
    11:12:12    7 schedule.
    11:12:12    8            Q.     I understand.
    11:12:13    9            A.     Can I finish?
    11:12:15   10            Q.     Absolutely.        I thought you were
    11:12:16   11 finished.       Go on.
    11:12:19   12            A.     It varied according to my
    11:12:20   13 schedule.       So it was typical for me to go
    11:12:26   14 through my notes and convert them usually
    11:12:31   15 within a week, but that likely wasn't always
    11:12:35   16 the case.
    11:12:35   17            Q.     Okay.     So what would be the
    11:12:38   18 maximum amount of time you might have taken to
    11:12:40   19 convert notes to your Word document?
    11:12:43   20                   MR. CALLAHAN:         Objection.       You can
    11:12:44   21 answer.
    11:12:45   22 BY MR. MATTHEWS:
    11:12:46   23            Q.     With respect to Exhibit D.
    11:12:48   24            A.     I don't --
    11:12:50   25                   MR. CALLAHAN:         Objection.       You can

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 29 of 106 PAGEID #: 4030


                                                                                  29

    11:12:51    1 answer.
    11:12:51    2                   THE WITNESS:        I don't know.         I don't
    11:12:52    3 recall.     It was 2015.
    11:12:54    4 BY MR. MATTHEWS:
    11:12:54    5            Q.     So it could have been -- you could
    11:12:56    6 have taken, what, a year after the event was
    11:12:58    7 recorded?       You might have taken a year to write
    11:13:01    8 the note out?
    11:13:05    9            A.     I might have.
    11:13:07   10            Q.     Okay.     All right.        You would agree
    11:13:18   11 that the task which Dean Dunn gave you involved
    11:13:23   12 a very serious matter, correct?
    11:13:27   13                   MR. CALLAHAN:         Objection.       You can
    11:13:27   14 answer.
    11:13:29   15                   THE WITNESS:        Yes.
    11:13:30   16 BY MR. MATTHEWS:
    11:13:30   17            Q.     And notwithstanding the serious
    11:13:33   18 nature of that task, your testimony this
    11:13:35   19 morning is it might take you up to a year to
    11:13:38   20 transcribe notes from a Post-it note.                   Is that
    11:13:43   21 your testimony?
    11:13:44   22                   MR. CALLAHAN:         Objection.       You can
    11:13:44   23 answer.
    11:13:48   24                   THE WITNESS:        It wasn't my typical
    11:13:50   25 practice.

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 30 of 106 PAGEID #: 4031


                                                                                  30

    11:13:50    1 BY MR. MATTHEWS:
    11:13:50    2            Q.     I understand.         But you told me
    11:13:53    3 under oath that you might take a year.                   It
    11:13:55    4 might have been a year, correct, or are you
    11:13:58    5 changing your answer?
    11:14:01    6            A.     So I'm telling you that my typical
    11:14:04    7 practice was to do it as soon as possible but
    11:14:08    8 given my schedule and my on-call duties --
    11:14:12    9            Q.     It could have taken a year?
    11:14:14   10                   MR. CALLAHAN:         Objection.       You can
    11:14:16   11 answer if Mr. Matthews lets you finish.
    11:14:18   12                   MR. MATTHEWS:         I thought she was
    11:14:20   13 done.
    11:14:21   14 BY MR. MATTHEWS:
    11:14:21   15            Q.     Were you not done?
    11:14:23   16            A.     No.
    11:14:24   17            Q.     Go ahead then.
    11:14:27   18            A.     I said that it was typical for me
    11:14:30   19 to transfer the notes into a Word document so
    11:14:34   20 that it was professional, and I made every
    11:14:39   21 effort to do that within a week, but it would
    11:14:43   22 not surprise me if it took longer than that at
    11:14:48   23 times.
    11:14:49   24            Q.     And your testimony earlier was
    11:14:51   25 that it could have taken up to a year?

                          MIAMI VALLEY REPORTING, LLC       (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 31 of 106 PAGEID #: 4032


                                                                                  31

    11:14:56    1            A.     It wouldn't have taken me up to a
    11:14:58    2 year.     I was trying to make a comment -- you
    11:15:02    3 were asking me for specifics because I told you
    11:15:05    4 what my common practice was.
    11:15:08    5            Q.     Okay.
    11:15:09    6            A.     And you didn't seem to want to
    11:15:11    7 accept that as an answer.
    11:15:12    8            Q.     I want to accept the truth, ma'am.
    11:15:14    9                   MR. CALLAHAN:         Mr. Matthews, you're
    11:15:16   10 interrupting Dr. Gentile again.                If you're going
    11:15:19   11 to ask her the same question ten different times,
    11:15:23   12 you should allow her to respond ten times.
    11:15:25   13 BY MR. MATTHEWS:
    11:15:25   14            Q.     Go ahead.       Feel free.       Take
    11:15:26   15 whatever time you need.
    11:15:29   16            A.     I don't recall the specifics
    11:15:32   17 because it was 2015.
    11:15:35   18            Q.     Are you done?         Are you done with
    11:15:41   19 your answer, ma'am?
    11:15:43   20            A.     I am done with my answer.
    11:15:44   21            Q.     Okay.     So are you changing your
    11:15:47   22 testimony from earlier this morning that the
    11:15:49   23 notes reflected on Exhibit A, it might have
    11:15:52   24 taken up to a year to transcribe them from
    11:15:56   25 Post-it notes onto this document?

                          MIAMI VALLEY REPORTING, LLC       (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 32 of 106 PAGEID #: 4033


                                                                                  32

    11:15:59    1                   MR. CALLAHAN:         Objection.       You can
    11:16:01    2 answer.
    11:16:02    3                   THE WITNESS:        It typically took me a
    11:16:04    4 week but it might have taken longer and I don't
    11:16:06    5 recall the specifics.
    11:16:09    6 BY MR. MATTHEWS:
    11:16:10    7            Q.     I understand that.           That wasn't my
    11:16:11    8 question.       Do you want her to read back the
    11:16:15    9 question?       Would that help?         Would you like me
    11:16:18   10 to have the court reporter read back the
    11:16:19   11 question?
    11:16:19   12            A.     That's fine.
    11:16:20   13                   MR. MATTHEWS:         Please read back the
    11:16:22   14 question.
    11:16:39   15                   COURT REPORTER:          So are you changing
    11:15:46   16 your testimony from earlier this morning that the
    11:15:49   17 notes reflected on Exhibit A, it might have taken
    11:15:53   18 up to a year to transcribe them from Post-it notes
    11:15:59   19 onto this document?
    11:16:41   20                   THE WITNESS:        You mentioned up to a
    11:16:42   21 year.     That was your comment that you made.
    11:16:48   22 Because I told you that I didn't recall the
    11:16:50   23 details.      That apparently wasn't sufficient for
    11:16:54   24 you so you started giving me various timelines as
    11:17:01   25 an alternative.

                          MIAMI VALLEY REPORTING, LLC       (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 33 of 106 PAGEID #: 4034


                                                                                  33

    11:17:02    1 BY MR. MATTHEWS:
    11:17:03    2            Q.     Ma'am, the record speaks for
    11:17:04    3 itself.
    11:17:05    4            A.     Okay.
    11:17:05    5            Q.     You're not answering the question.
    11:17:07    6 Please answer the question.
    11:17:08    7                   MR. CALLAHAN:         Objection.       I think
    11:17:11    8 she's responded to that question several times,
    11:17:13    9 Mr. Matthews.
    11:17:14   10                   MR. MATTHEWS:         I don't believe she
    11:17:15   11 has.    Read the question back again.                Please just
    11:17:18   12 answer the question.
    11:17:19   13                   COURT REPORTER:          So are you changing
    11:15:46   14 your testimony from earlier this morning that the
    11:15:49   15 notes reflected on Exhibit A, it might have taken
    11:15:53   16 up to a year to transcribe them from Post-it notes
    11:15:59   17 onto this document?
    11:17:44   18                   MR. CALLAHAN:         Objection.       You can
    11:17:45   19 answer.
    11:17:48   20                   THE WITNESS:        My testimony, to
    11:17:50   21 clarify, is that because of the demands of my job,
    11:17:56   22 I will take notes on Post-it notes, secure them,
    11:18:01   23 and then when I have time at my earliest
    11:18:04   24 convenience, I would transfer them to a Word
    11:18:09   25 document.       It was common for me to take up to a

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 34 of 106 PAGEID #: 4035


                                                                                     34

    11:18:16    1 week in most cases, but it's possible that it
    11:18:19    2 would have taken longer in some instances.                     I
    11:18:23    3 don't recall -- I don't recall additional details
    11:18:30    4 over and above that.
    11:18:31    5 BY MR. MATTHEWS:
    11:18:31    6            Q.     Okay.     I would like to probe
    11:18:33    7 further into your comment that it might have
    11:18:36    8 taken longer.        If you could explain when you're
    11:18:39    9 talking about longer than a week, how much
    11:18:42   10 longer than a week might it have taken?
    11:18:44   11            A.     I didn't document that.
    11:18:46   12            Q.     I'm not asking if you documented
    11:18:49   13 it.   You just stated -- you testified under
    11:18:52   14 oath it might have taken longer than a week.
    11:18:55   15 I'm asking, how much longer?
    11:19:00   16            A.     I don't remember.
    11:19:01   17            Q.     Okay.     Could it have taken a year?
    11:19:05   18            A.     No.
    11:19:06   19            Q.     Could it have taken 11 months?
    11:19:11   20            A.     I don't recall.
    11:19:13   21            Q.     Could it have taken ten months?
    11:19:18   22            A.     I don't recall.
    11:19:18   23            Q.     Could it have taken nine months?
    11:19:23   24            A.     I don't recall.
    11:19:24   25            Q.     Could it have taken eight months?

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 35 of 106 PAGEID #: 4036


                                                                                  35

    11:19:28    1            A.     I don't recall.
    11:19:29    2            Q.     Could it have taken seven months?
    11:19:33    3            A.     I don't recall.
    11:19:34    4            Q.     Could it have taken six months?
    11:19:38    5            A.     I don't recall.
    11:19:39    6            Q.     Could it have taken five months?
    11:19:42    7            A.     I don't recall.
    11:19:42    8            Q.     Could it have taken four months?
    11:19:44    9            A.     I don't recall.
    11:19:46   10            Q.     Could it have taken three months?
    11:19:49   11            A.     I don't recall.
    11:19:50   12            Q.     Could it have taken two months?
    11:19:53   13            A.     I don't recall.
    11:19:54   14            Q.     Could it have taken one month?
    11:19:57   15            A.     I don't recall.
    11:19:58   16            Q.     Okay.     So notwithstanding the
    11:20:05   17 serious nature of the charge given to you,
    11:20:09   18 according to your testimony, by Dr. Dunn, you
    11:20:11   19 don't recall how long it took you to transcribe
    11:20:15   20 the notes onto this document?
    11:20:19   21                   MR. CALLAHAN:         Objection.       You can
    11:20:20   22 answer.
    11:20:21   23                   THE WITNESS:        I have already answered
    11:20:22   24 that question.
    11:20:23   25 BY MR. MATTHEWS:

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 36 of 106 PAGEID #: 4037


                                                                                  36

    11:20:23    1            Q.     Okay.     Let's turn to the third
    11:20:46    2 page of Exhibit D.          In the bottom right-hand
    11:21:04    3 corner you should see a Bates stamp number
    11:21:09    4 000160.     Do you see that?
    11:21:16    5            A.     Yes.
    11:21:16    6            Q.     All right.       So let's go to the
    11:21:19    7 first full paragraph.           It's headed 6-21-16.            Do
    11:21:25    8 you see that?
    11:21:26    9            A.     Yes.
    11:21:26   10            Q.     All right.       So is it fair to say
    11:21:30   11 that in the normal course you would have
    11:21:33   12 transcribed those notes within about a week of
    11:21:40   13 June 21, 2016?
    11:21:49   14            A.     I believe so.
    11:21:50   15            Q.     Okay.     How was it on June 21 of
    11:21:58   16 2016, within a week of that date, that you were
    11:22:02   17 able to foretell what occurred on August 4 of
    11:22:06   18 2016?
    11:22:13   19            A.     So when I took these notes, I had
    11:22:17   20 been -- this was specifically about Dr. Weston.
    11:22:20   21 So I had been waiting to wrap this up and come
    11:22:27   22 to a conclusion since she had been interviewed
    11:22:32   23 in June of that year.           So I would have gone
    11:22:37   24 back and added in the final step of that
    11:22:44   25 communication.

                          MIAMI VALLEY REPORTING, LLC       (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 37 of 106 PAGEID #: 4038


                                                                                  37

    11:22:47    1            Q.     So if I'm understanding your
    11:22:49    2 testimony, the note that is dated 6-21-16 was
    11:22:56    3 created sometime after August 4, 2016?                   Is that
    11:23:02    4 your testimony?
    11:23:04    5            A.     I would have entered the first
    11:23:05    6 several sentences of that.              Then when this
    11:23:10    7 issue was resolved, I would have gone back and
    11:23:13    8 added in that there had been some finality on
    11:23:22    9 August 4 of 2016.
    11:23:25   10            Q.     So in answer to my question, the
    11:23:27   11 note that is dated 6-21-16 was actually
    11:23:32   12 completed sometime after August 4, 2016,
    11:23:39   13 correct?
    11:23:40   14            A.     It would have been an addition --
    11:23:43   15            Q.     Okay.
    11:23:44   16            A.     -- to the note.
    11:23:45   17            Q.     All right.       Did you do that for
    11:23:46   18 other notes too?
    11:23:52   19            A.     I don't know.         I may have.        My
    11:23:58   20 goal was to document things that had happened
    11:24:01   21 and then -- instead of adding another note in
    11:24:07   22 August so that I had various content separated
    11:24:12   23 from each other.
    11:24:13   24            Q.     So on your device, your electronic
    11:24:17   25 device, your desktop computer, your laptop,

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 38 of 106 PAGEID #: 4039


                                                                                   38

    11:24:21    1 you're continuously editing these notes.                    Is
    11:24:24    2 that your testimony?
    11:24:25    3                   MR. CALLAHAN:         Objection.       You can
    11:24:26    4 answer.
    11:24:26    5                   THE WITNESS:        If there was something
    11:24:28    6 relevant to that note, then I did edit.                    And
    11:24:34    7 that's an example of that.
    11:24:35    8 BY MR. MATTHEWS:
    11:24:35    9            Q.     Okay.     Do you still have the
    11:24:37   10 device upon which you made those edits?
    11:24:42   11            A.     I don't.
    11:24:43   12            Q.     What happened to it?
    11:24:46   13            A.     I would have purchased a new
    11:24:48   14 computer.       I purchased a new computer I think
    11:24:52   15 two years ago.
    11:24:54   16            Q.     Two years ago, that would have
    11:24:56   17 been 2022.       What did you do with the computer
    11:25:00   18 that you had used to make these notes?
    11:25:02   19                   MR. CALLAHAN:         Objection.       You can
    11:25:03   20 answer.
    11:25:06   21                   THE WITNESS:        I actually don't know.
    11:25:07   22 My husband takes care of that.
    11:25:13   23 BY MR. MATTHEWS:
    11:25:13   24            Q.     You received a copy of the
    11:25:15   25 litigation hold in February of 2017, did you

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 39 of 106 PAGEID #: 4040


                                                                                  39

    11:25:19    1 not?
    11:25:22    2            A.     Yes.
    11:25:23    3            Q.     Notwithstanding that, you did not
    11:25:26    4 preserve that computer?
    11:25:27    5                   MR. CALLAHAN:         Objection.       You can
    11:25:28    6 answer.
    11:25:29    7                   THE WITNESS:        It wasn't a Wright
    11:25:30    8 State computer.
    11:25:31    9 BY MR. MATTHEWS:
    11:25:31   10            Q.     I'm not saying it was.
    11:25:33   11            A.     My understanding was that I was to
    11:25:37   12 preserve all of my Wright State communications
    11:25:40   13 and Wright State electronics.
    11:25:43   14            Q.     Your understanding of the
    11:25:45   15 litigation hold was that it did not involve the
    11:25:49   16 computer that you used to create notes about
    11:25:52   17 Dr. Elman?
    11:25:53   18                   MR. CALLAHAN:         Objection.       You can
    11:25:54   19 answer.
    11:25:57   20                   THE WITNESS:        That was my
    11:25:57   21 understanding.
    11:25:58   22 BY MR. MATTHEWS:
    11:25:59   23            Q.     And you read the litigation hold?
    11:26:01   24            A.     I did.
    11:26:02   25            Q.     Okay.     You're aware that on the

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 40 of 106 PAGEID #: 4041


                                                                                  40

    11:26:22    1 Wright State University website you're listed
    11:26:27    2 as a full-time faculty member; is that correct?
    11:26:33    3            A.     I haven't checked it but that
    11:26:36    4 would be my understanding.
    11:26:37    5            Q.     And your curriculum vitae is
    11:26:42    6 available on that web page; is that correct?
    11:26:46    7            A.     A version of it is as far as I
    11:26:50    8 know.
    11:26:51    9            Q.     What do you mean a version of it?
    11:26:53   10            A.     So we -- as faculty members we
    11:26:58   11 can -- I believe we can go onto the website and
    11:27:00   12 update our CV serially if there are changes and
    11:27:09   13 updates, maybe annually.             Most of us do that.
    11:27:13   14            Q.     You would agree that a CV is a
    11:27:15   15 very important document, is it not?
    11:27:19   16            A.     Yes.
    11:27:20   17            Q.     And a CV, the information
    11:27:23   18 contained in the CV, you would expect that to
    11:27:25   19 be relied upon by a number of people, correct?
    11:27:30   20            A.     I imagine so.
    11:27:32   21            Q.     So a CV, you would be expected to
    11:27:38   22 ensure that the information on the CV is
    11:27:42   23 completely accurate, would you not?
    11:27:44   24                   MR. CALLAHAN:         Objection.       You can
    11:27:45   25 answer.

                          MIAMI VALLEY REPORTING, LLC       (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 41 of 106 PAGEID #: 4042


                                                                                    41

    11:27:47    1                   THE WITNESS:        I imagine so.
    11:27:49    2 BY MR. MATTHEWS:
    11:27:49    3            Q.     Why do you just imagine so?               Why
    11:27:52    4 are you using the word imagine?                I'm not asking
    11:27:55    5 for imagination here.           I'm asking a question.
    11:27:58    6                   MR. CALLAHAN:         Objection.
    11:27:59    7 BY MR. MATTHEWS:
    11:27:59    8            Q.     Would you expect -- you would
    11:28:02    9 expect that the information on a curriculum
    11:28:06   10 vitae that you create would be accurate?
    11:28:08   11                   MR. CALLAHAN:         Objection.       You can
    11:28:08   12 answer.
    11:28:10   13                   THE WITNESS:        Yes.
    11:28:11   14 BY MR. MATTHEWS:
    11:28:11   15            Q.     Okay.     Thank you.        The information
    11:28:15   16 on your CV is not accurate though, is it?
    11:28:18   17                   MR. CALLAHAN:         Objection.       You can
    11:28:20   18 answer.
    11:28:22   19                   THE WITNESS:        I don't know what
    11:28:22   20 you're referring to.
    11:28:24   21 BY MR. MATTHEWS:
    11:28:24   22            Q.     Well, let me hand you Exhibit I.
    11:28:27   23                   (Thereupon, Plaintiff's Exhibit I:
    11:28:27   24 Curriculum vitae, was marked for purposes of
    11:28:32   25 identification.)

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 42 of 106 PAGEID #: 4043


                                                                                  42

    11:28:32    1 BY MR. MATTHEWS:
    11:28:33    2            Q.     Do you recognize Exhibit I?
    11:28:35    3                   MR. CALLAHAN:         I'm going to note an
    11:28:37    4 objection to questions of this witness about a
    11:28:39    5 document that's not Bates stamped and hasn't been,
    11:28:42    6 you know, kind of produced to counsel as an
    11:28:45    7 exhibit for the case.
    11:28:46    8                   MR. MATTHEWS:         Objection noted.
    11:28:48    9                   MR. CALLAHAN:         I object to all
    11:28:50   10 questions to the witness about this document.
    11:28:52   11 BY MR. MATTHEWS:
    11:28:52   12            Q.     You may answer the question,
    11:28:54   13 ma'am.
    11:28:57   14            A.     What was the question?
    11:28:59   15            Q.     Do you recognize Exhibit I?
    11:29:03   16            A.     I do.
    11:29:04   17            Q.     What is Exhibit I?
    11:29:06   18            A.     It's a -- it appears to be a 2022
    11:29:11   19 version of my CV.
    11:29:13   20            Q.     This is the version that is
    11:29:15   21 available on the website as of today, correct?
    11:29:19   22                   MR. CALLAHAN:         Objection.       You can
    11:29:21   23 answer.
    11:29:22   24                   THE WITNESS:        I don't know.         I didn't
    11:29:23   25 check the website today.

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 43 of 106 PAGEID #: 4044


                                                                                  43

    11:29:25    1 BY MR. MATTHEWS:
    11:29:26    2            Q.     Have you changed the CV on your
    11:29:28    3 website recently?
    11:29:32    4            A.     I don't recall.
    11:29:34    5            Q.     You don't recall.           And my question
    11:29:37    6 is, the information --
    11:29:39    7                   MR. CALLAHAN:         Mr. Matthews, I am
    11:29:40    8 going to object to this line of questioning
    11:29:42    9 because we've had this conversation before in
    11:29:45   10 another deposition and at hearings where when you
    11:29:48   11 bring documents that you haven't produced to
    11:29:49   12 opposing counsel that you intend to use as an
    11:29:52   13 exhibit in this case, it's not proper.                   We've done
    11:29:54   14 a lot of document exchange and you're pulling a
    11:29:56   15 document that you haven't produced to opposing
    11:29:58   16 counsel and want to use it as an exhibit in a
    11:30:02   17 deposition.       That is improper.
    11:30:03   18                   MR. MATTHEWS:         Objection noted.
    11:30:04   19                   MR. CALLAHAN:         I think you should end
    11:30:05   20 this line of questioning.
    11:30:06   21                   MR. MATTHEWS:         Objection noted.          I'm
    11:30:08   22 not ending this line of questioning.
    11:30:12   23 BY MR. MATTHEWS:
    11:30:12   24            Q.     Please answer the question.
    11:30:14   25                   MR. CALLAHAN:         What's the question?

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 44 of 106 PAGEID #: 4045


                                                                                  44

    11:30:15    1                   MR. MATTHEWS:         Read back the
    11:30:16    2 question.
    11:30:29    3                   COURT REPORTER:          Have you changed the
    11:29:27    4 CV on your website recently?
    11:30:32    5                   THE WITNESS:        I'm not sure because I
    11:30:34    6 applied for a job about six months ago and I can't
    11:30:38    7 recall if I updated my CV and uploaded a new copy.
    11:30:45    8 BY MR. MATTHEWS:
    11:30:46    9            Q.     The information on Exhibit I,
    11:30:51   10 which is a CV dated June 2022, is not
    11:30:55   11 completely accurate, is it?
    11:30:57   12                   MR. CALLAHAN:         Objection.       I think,
    11:31:01   13 Mr. Matthews, you should direct the witness to
    11:31:04   14 whatever issue you have with something in the
    11:31:10   15 document marked Plaintiffs' Exhibit I for
    11:31:11   16 identification purposes.
    11:31:13   17                   MR. MATTHEWS:         Well, with all due
    11:31:14   18 respect, during your depositions you can direct
    11:31:17   19 the witness as you wish without my interference,
    11:31:20   20 and I would ask that you give me the same respect.
    11:31:22   21                   MR. CALLAHAN:         Well, I would ask that
    11:31:23   22 you produce documents that you intend to use in
    11:31:26   23 the case through the rules of discovery.                    You've
    11:31:28   24 not done that with Exhibit I.
    11:31:30   25                   MR. MATTHEWS:         Objection noted.          This

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 45 of 106 PAGEID #: 4046


                                                                                   45

    11:31:31    1 is a public record.
    11:31:34    2 BY MR. MATTHEWS:
    11:31:34    3            Q.     You may answer the question.
    11:31:37    4            A.     What's the question?
    11:31:39    5            Q.     This is not accurate, is it?                The
    11:31:41    6 information contained in Exhibit I is not
    11:31:44    7 accurate?
    11:31:44    8                   MR. CALLAHAN:         Objection.       You can
    11:31:45    9 answer.
    11:31:46   10                   THE WITNESS:        I don't know what
    11:31:47   11 you're referring to.
    11:31:51   12 BY MR. MATTHEWS:
    11:31:51   13            Q.     Exhibit I.       Is all the information
    11:31:56   14 in Exhibit I accurate and correct?
    11:31:59   15                   MR. CALLAHAN:         Objection.       You can
    11:32:00   16 answer.
    11:33:40   17                   THE WITNESS:        I don't have all of my
    11:33:41   18 presentations listed on this version.
    11:33:44   19 BY MR. MATTHEWS:
    11:33:45   20            Q.     That wasn't my question.              Is the
    11:33:46   21 information on Exhibit I, is it all accurate,
    11:33:50   22 the information that is contained on Exhibit I?
    11:33:52   23                   MR. CALLAHAN:         Objection.       You can
    11:33:53   24 answer.
    11:34:01   25                   THE WITNESS:        I'm not sure.         As far

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 46 of 106 PAGEID #: 4047


                                                                                  46

    11:34:03    1 as I know.
    11:34:06    2 BY MR. MATTHEWS:
    11:34:06    3            Q.     Okay.     You testified earlier you
    11:34:08    4 agree that it's important to be accurate with
    11:34:11    5 all information that you put on a curriculum
    11:34:15    6 vitae, correct?
    11:34:16    7                   MR. CALLAHAN:         Objection.       I'm
    11:34:18    8 objecting again to this entire line of questioning
    11:34:20    9 where you would have two different documents,
    11:34:21   10 Exhibit A and D, with a different font and spend
    11:34:25   11 30 to 45 minutes questioning the witness about
    11:34:27   12 that and then bring a document that hasn't been
    11:34:30   13 produced to counsel and the witness has not had a
    11:34:35   14 chance to review, as far as we know, prior to the
    11:34:38   15 deposition.
    11:34:38   16                   MR. MATTHEWS:         With all due respect,
    11:34:40   17 Rory --
    11:34:40   18                   MR. CALLAHAN:         With all due respect,
    11:34:40   19 you understand the point.
    11:34:41   20                   MR. MATTHEWS:         No speaking
    11:34:42   21 objections.
    11:34:42   22                   MR. CALLAHAN:         Well, I've tried to
    11:34:43   23 refrain from that but I think there's certain
    11:34:45   24 ground rules that you should follow as well during
    11:34:48   25 the course of discovery.

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 47 of 106 PAGEID #: 4048


                                                                                  47

    11:34:49    1                   MR. MATTHEWS:         I don't believe I have
    11:34:50    2 violated --
    11:34:51    3                   MR. CALLAHAN:         Producing documents
    11:34:53    4 that you're going to rely on as an exhibit in the
    11:34:56    5 case to opposing counsel.
    11:34:57    6                   MR. MATTHEWS:         Your objection is
    11:34:58    7 noted.     Thank you.
    11:34:59    8 BY MR. MATTHEWS:
    11:35:00    9            Q.     You may answer the question.
    11:35:02   10            A.     What was the question?
    11:35:03   11            Q.     You agree that you would want to
    11:35:06   12 make sure that any information you put into a
    11:35:09   13 curriculum vitae is accurate?
    11:35:14   14            A.     Yes.
    11:35:15   15            Q.     Okay.     Now, this Exhibit I, this
    11:35:19   16 curriculum vitae indicates on the first page
    11:35:23   17 that you held a position of interim chair at
    11:35:27   18 Wright State University, Dayton, Ohio in 2016,
    11:35:30   19 does it not?
    11:35:32   20                   MR. CALLAHAN:         Objection.       You can
    11:35:33   21 answer.
    11:35:38   22                   THE WITNESS:        My understanding is
    11:35:39   23 that Dean Dunn named me interim chair at a
    11:35:44   24 gathering at Elizabeth Place in the sixth floor
    11:35:49   25 auditorium, and that was very public in front of

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 48 of 106 PAGEID #: 4049


                                                                                  48

    11:35:54    1 many people and that was in 2016.
    11:36:06    2                   (Thereupon, Plaintiff's Exhibit 31:
    11:36:06    3 12-5-16 letter from Dr. Dunn, was marked for
    11:36:07    4 purposes of identification.)
    11:36:07    5 BY MR. MATTHEWS:
    11:36:07    6            Q.     I'm handing you what I've labeled
    11:36:09    7 Exhibit 31.       Have you seen this document
    11:36:11    8 before?
    11:36:16    9            A.     Have I seen the document before?
    11:36:18   10            Q.     That was my question.
    11:36:19   11            A.     I don't believe so.           That's my
    11:36:21   12 answer.
    11:36:21   13            Q.     Take your time and read
    11:36:24   14 Exhibit 31.       I will represent this was a
    11:36:28   15 document produced by the defendant, Bates
    11:36:31   16 stamped 155.       It is a letter from Margaret M.
    11:36:36   17 Dunn, Dean, dated December 5, 2016 addressed to
    11:36:41   18 Igor Elman.       Would you agree?
    11:36:43   19            A.     Sure.
    11:36:44   20            Q.     All right.       Can you read the first
    11:36:47   21 sentence?
    11:36:50   22            A.     I'm writing to inform you of my
    11:36:52   23 decision to remove you from the position of
    11:36:53   24 chair, Department of Psychiatry, Wright State
    11:36:57   25 University Boonshoft School of Medicine and

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 49 of 106 PAGEID #: 4050


                                                                                  49

    11:36:58    1 Wright State Physicians, effective December 31,
    11:37:03    2 2016.
    11:37:03    3            Q.     All right.       So it's fair to say
    11:37:06    4 that Dr. Elman was the chair, Department
    11:37:11    5 Psychiatry, Wright State University Boonshoft
    11:37:14    6 School of Medicine and Wright State Physicians,
    11:37:16    7 until December 31, 2016?
    11:37:19    8                   MR. CALLAHAN:         Objection.       You can
    11:37:20    9 answer.
    11:37:23   10                   THE WITNESS:        I just read it to you.
    11:37:26   11 BY MR. MATTHEWS:
    11:37:26   12            Q.     All right.       Do you dispute
    11:37:28   13 anything that is stated in that first sentence
    11:37:31   14 of Dr. Dunn's letter?
    11:37:33   15                   MR. CALLAHAN:         Objection.       You can
    11:37:34   16 answer.
    11:37:34   17                   THE WITNESS:        No.
    11:37:35   18 BY MR. MATTHEWS:
    11:37:35   19            Q.     All right.       Yet on your CV you
    11:37:39   20 hold out that you were the interim chair in
    11:37:43   21 2016?
    11:37:44   22                   MR. CALLAHAN:         Objection.
    11:37:45   23 BY MR. MATTHEWS:
    11:37:45   24            Q.     That's inconsistent with
    11:37:46   25 Dr. Dunn's letter, is it not?

                          MIAMI VALLEY REPORTING, LLC       (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 50 of 106 PAGEID #: 4051


                                                                                  50

    11:37:48    1                   MR. CALLAHAN:         Objection.       You can
    11:37:48    2 answer.
    11:37:48    3                   THE WITNESS:        It is.
    11:37:49    4 BY MR. MATTHEWS:
    11:37:50    5            Q.     Okay.     Thank you.        You indicated
    11:37:56    6 there were some presentations that do not
    11:37:58    7 appear on your CV, correct?
    11:38:00    8                   MR. CALLAHAN:         Objection.       You can
    11:38:00    9 answer.
    11:38:01   10                   THE WITNESS:        Correct.
    11:38:02   11 BY MR. MATTHEWS:
    11:38:03   12            Q.     Isn't it also true that you did
    11:38:04   13 not disclose that you had worked as a nurse on
    11:38:08   14 this CV?
    11:38:09   15                   MR. CALLAHAN:         Objection.       You can
    11:38:10   16 answer.
    11:38:11   17                   THE WITNESS:        I was in nursing school
    11:38:13   18 but I never worked as a nurse.
    11:38:14   19 BY MR. MATTHEWS:
    11:38:14   20            Q.     Okay.     Why is that not listed
    11:38:30   21 under education?
    11:38:33   22            A.     I completed --
    11:38:34   23                   MR. CALLAHAN:         Objection.       You can
    11:38:35   24 answer.
    11:38:35   25                   THE WITNESS:        I completed two years

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 51 of 106 PAGEID #: 4052


                                                                                   51

    11:38:37    1 of undergraduate work in the nursing program at
    11:38:41    2 Wright State University and did not receive a
    11:38:43    3 degree.     I resumed school and completed premedical
    11:38:48    4 studies in psychology.
    11:38:51    5 BY MR. MATTHEWS:
    11:38:51    6            Q.     That's why you did not include
    11:38:52    7 your nursing education on the curriculum vitae?
    11:38:58    8                   MR. CALLAHAN:         Objection.       You can
    11:39:00    9 answer.
    11:39:00   10                   THE WITNESS:        It was part of my
    11:39:01   11 undergraduate work.           And since I didn't receive a
    11:39:05   12 degree, it doesn't appear on my CV.
    11:39:17   13 BY MR. MATTHEWS:
    11:39:17   14            Q.     Let's go back to Exhibit D for a
    11:39:22   15 bit.    Do you have that in front of you?                  Do you
    11:39:35   16 have that in front of you?
    11:39:36   17            A.     I do.
    11:39:36   18            Q.     Okay.     Thank you.        Now, you
    11:39:38   19 indicated you handed this document to Dr. Dunn;
    11:39:45   20 is that correct?
    11:39:45   21            A.     I -- Dr. Al Painter was visiting
    11:39:53   22 our department and he knew that I had the
    11:39:57   23 document, so he asked if he could deliver it
    11:40:01   24 for me on my behalf.           So I put it in a manila
    11:40:06   25 envelope and handed it to Dr. Painter.                   So he

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 52 of 106 PAGEID #: 4053


                                                                                  52

    11:40:10    1 hand-delivered it to Dr. Dunn.               He was on the
    11:40:12    2 way to her office.
    11:40:16    3            Q.     Why did you not -- you did not
    11:40:18    4 engage in any email correspondence with
    11:40:21    5 Dr. Painter regarding Dr. Elman?
    11:40:25    6                   MR. CALLAHAN:         Objection.       You can
    11:40:26    7 answer.
    11:40:30    8                   THE WITNESS:        I don't recall.
    11:40:34    9 BY MR. MATTHEWS:
    11:40:38   10            Q.     No documents were produced?
    11:40:40   11                   MR. CALLAHAN:         Objection to that
    11:40:42   12 characterization on the record.                You can answer.
    11:40:44   13                   MR. MATTHEWS:         Well, she was asked to
    11:40:46   14 bring with her all documents related to Dr. Dunn.
    11:40:52   15 You've got the Exhibit 32, Mr. Callahan.
    11:40:58   16                   MR. CALLAHAN:         I'm going to object to
    11:41:00   17 that characterization on the record.                  You can
    11:41:04   18 restate your question and she can answer the
    11:41:07   19 question.
    11:41:10   20                   MR. MATTHEWS:         I'm not going to
    11:41:11   21 restate my question.           I can read it back again.
    11:41:13   22                   MR. CALLAHAN:         Okay.
    11:41:31   23                   COURT REPORTER:          You did not engage
    11:40:18   24 in any email correspondence with Dr. Painter
    11:40:21   25 regarding Dr. Elman?

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 53 of 106 PAGEID #: 4054


                                                                                  53

    11:41:32    1                   MR. CALLAHAN:         Same objection.         You
    11:41:33    2 can answer.
    11:41:37    3                   THE WITNESS:        I don't recall my
    11:41:38    4 emails from 2015 or '16.
    11:41:40    5 BY MR. MATTHEWS:
    11:41:40    6            Q.     Is it fair to say that you were a
    11:41:41    7 regular user of email during that period of
    11:41:44    8 time?
    11:41:47    9            A.     For work purposes, yes.
    11:41:50   10            Q.     And matters related to Dr. Elman
    11:41:53   11 would have been work purpose, correct?
    11:41:56   12            A.     Yes.
    11:42:02   13            Q.     Is there any reason you would not
    11:42:04   14 have emailed Dean Dunn Exhibit D?
    11:42:10   15                   MR. CALLAHAN:         Objection.       You can
    11:42:11   16 answer.
    11:42:15   17                   THE WITNESS:        In my professional
    11:42:16   18 opinion, it was a better idea to hand-deliver it
    11:42:21   19 to her.
    11:42:23   20 BY MR. MATTHEWS:
    11:42:23   21            Q.     Why was it a better idea to have
    11:42:25   22 Dr. Painter hand-deliver your letter?
    11:42:28   23            A.     Because he was an associate dean
    11:42:30   24 of faculty affairs and professional
    11:42:33   25 development, and I considered him her

                          MIAMI VALLEY REPORTING, LLC       (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 54 of 106 PAGEID #: 4055


                                                                                  54

    11:42:39    1 right-hand person.          They worked very closely
    11:42:45    2 together.
    11:42:46    3            Q.     Okay.     Help me understand why that
    11:42:50    4 was preferred as opposed to emailing Dean Dunn
    11:42:54    5 directly.
    11:42:54    6                   MR. CALLAHAN:         Objection.       You can
    11:42:55    7 answer.
    11:42:56    8                   THE WITNESS:        I don't think it was
    11:42:57    9 preferred necessarily but Dr. Painter was in our
    11:43:00   10 department to teach and I saw him and we spoke for
    11:43:06   11 a couple of minutes.           I mentioned to him that I
    11:43:09   12 was going to get the document to Dean Dunn.                     And
    11:43:14   13 he said, well, I'm on my way there now, if you
    11:43:16   14 want me to take care of that for you.
    11:43:19   15 BY MR. MATTHEWS:
    11:43:20   16            Q.     And you had the document in your
    11:43:22   17 hands at that time?
    11:43:23   18            A.     We were in our department, in our
    11:43:25   19 office suite.
    11:43:29   20            Q.     Okay.     You had the document in
    11:43:31   21 your hands and then you handed it to
    11:43:33   22 Dr. Painter.       Is that your testimony?
    11:43:35   23            A.     I had the document in my office,
    11:43:39   24 secured in my office, and then I gave it to
    11:43:42   25 Dr. Painter.

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 55 of 106 PAGEID #: 4056


                                                                                  55

    11:43:43    1            Q.     Had it been printed out at that
    11:43:46    2 time when you met with Dr. Painter?
    11:43:48    3            A.     It had.
    11:43:49    4            Q.     And it had not been emailed to
    11:43:52    5 Dr. Dunn at that time; is that correct?
    11:43:54    6            A.     No, it was not emailed.
    11:43:56    7            Q.     My question is why not.
    11:43:59    8                   MR. CALLAHAN:         Objection.       You can
    11:44:00    9 answer.
    11:44:07   10                   THE WITNESS:        I thought it was more
    11:44:09   11 professional to deliver it to her and that was my
    11:44:13   12 plan the next time I saw her.               But since
    11:44:16   13 Dr. Painter was on his way to see her that day, I
    11:44:22   14 gave it to him.
    11:44:33   15 BY MR. MATTHEWS:
    11:44:33   16            Q.     What has been your income for
    11:44:36   17 2024?
    11:44:40   18                   MR. CALLAHAN:         Objection.       You can
    11:44:42   19 answer.
    11:44:45   20                   THE WITNESS:        I think that's public
    11:44:46   21 information.       I have an annual income on the
    11:44:55   22 university side of approximately $300,000 a year,
    11:44:59   23 and I have a separate income from Wright State
    11:45:03   24 Physicians because it is our practice plan.                     I
    11:45:07   25 don't have numbers for that off the top of my

                          MIAMI VALLEY REPORTING, LLC       (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 56 of 106 PAGEID #: 4057


                                                                                  56

    11:45:09    1 head.
    11:45:10    2 BY MR. MATTHEWS:
    11:45:10    3            Q.     What's the range?
    11:45:12    4                   MR. CALLAHAN:         Objection.       You can
    11:45:13    5 answer.
    11:45:18    6                   THE WITNESS:        The range is probably
    11:45:24    7 100,000 to $200,000 approximately.                 That's my
    11:45:33    8 clinical income.
    11:45:34    9 BY MR. MATTHEWS:
    11:45:34   10            Q.     So for 2024 you received
    11:45:36   11 approximately $300,000 as an employee of Wright
    11:45:43   12 State University?          Is that your testimony?
    11:45:44   13                   MR. CALLAHAN:         Objection.       You can
    11:45:45   14 answer.
    11:45:45   15                   THE WITNESS:        Approximately.
    11:45:46   16 BY MR. MATTHEWS:
    11:45:46   17            Q.     And you received approximately
    11:45:49   18 between $100,000 and $200,000 as an employee of
    11:45:54   19 Wright State Physicians?
    11:45:56   20                   MR. CALLAHAN:         Objection.       You can
    11:45:57   21 answer.
    11:46:00   22                   THE WITNESS:        Calendar year 2024 I
    11:46:03   23 don't have specific numbers but I gave you my best
    11:46:07   24 guess as a range.
    11:46:08   25 BY MR. MATTHEWS:

                          MIAMI VALLEY REPORTING, LLC       (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 57 of 106 PAGEID #: 4058


                                                                                  57

    11:46:08    1            Q.     I understand.         I appreciate that.
    11:46:09    2 Okay.     And do you receive any other -- have you
    11:46:12    3 received any other income in 2024 other than
    11:46:17    4 those two that you've just testified to?
    11:46:19    5                   MR. CALLAHAN:         Objection.       I don't
    11:46:22    6 know how this is really calculated to lead to
    11:46:25    7 discoverable information regarding Dr. Elman's
    11:46:29    8 claims.
    11:46:30    9                   MR. MATTHEWS:         Objection noted.          You
    11:46:31   10 may answer the question.
    11:46:32   11                   MR. CALLAHAN:         Objection.       You can
    11:46:33   12 answer.
    11:46:39   13                   THE WITNESS:        I think I've received a
    11:46:43   14 speaker's fee for a presentation that I gave.
    11:46:47   15 BY MR. MATTHEWS:
    11:46:48   16            Q.     Where was that?
    11:46:49   17            A.     Michigan.
    11:46:51   18            Q.     How much was the speaker fee
    11:46:54   19 approximately?
    11:46:56   20            A.     $500.
    11:46:58   21            Q.     Any other income in 2024?
    11:47:01   22                   MR. CALLAHAN:         Objection.       You can
    11:47:02   23 answer.
    11:47:03   24                   THE WITNESS:        I can't recall any
    11:47:04   25 other income in 2024.

                          MIAMI VALLEY REPORTING, LLC       (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 58 of 106 PAGEID #: 4059


                                                                                  58

    11:47:07    1 BY MR. MATTHEWS:
    11:47:07    2            Q.     Okay.
    11:48:40    3                   (Thereupon, Plaintiff's Exhibit F:
    11:48:40    4 Declaration of Julie P. Gentile, M.D., was marked
    11:48:40    5 for purposes of identification.)
    11:48:40    6 BY MR. MATTHEWS:
    11:48:41    7            Q.     Handing you what I've labeled as
    11:48:44    8 Exhibit F, do you recognize that document?
    11:49:21    9            A.     I recognize the document.
    11:49:23   10            Q.     Is that your signature on that
    11:49:29   11 declaration?
    11:49:30   12            A.     It is.
    11:49:30   13            Q.     Is all the information on there
    11:49:33   14 true and correct?
    11:49:36   15                   MR. CALLAHAN:         Objection.       You can
    11:49:37   16 answer.
    11:49:41   17                   THE WITNESS:        Yes.
    11:50:06   18                   MR. MATTHEWS:         Let's take about a
    11:50:07   19 ten-minute break.
    11:50:08   20                   MR. CALLAHAN:         Sure.
    11:50:09   21                   (Pause in proceedings.)
    11:58:21   22                   MR. MATTHEWS:         Let's get back on the
    11:58:22   23 record.     I have no further questions.
    11:58:28   24                   MR. CALLAHAN:         Okay.     No further
    11:58:29   25 questions?

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 59 of 106 PAGEID #: 4060


                                                                                  59

    11:58:29    1                   MR. MATTHEWS:         Correct.
    11:58:30    2                   MR. CALLAHAN:         All right.       She'll
    11:58:33    3 read.     We'll order.
                4                   (Thereupon, the deposition concluded
                5 at 11:58 a.m.)
                6
                7
                8
                9
               10
               11
               12
               13
               14
               15
               16
               17
               18
               19
               20
               21
               22
               23
               24
               25

                          MIAMI VALLEY REPORTING, LLC       (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 60 of 106 PAGEID #: 4061


                                                                                  60

             1               I, JULIE PATRICE GENTILE, M.D., do hereby
             2 certify that the foregoing is a true and accurate
             3 transcription of my testimony.
             4
             5
             6               Signature: _________________________
             7
             8                      Date: _________________________
             9
            10
            11
            12
            13
            14
            15
            16
            17
            18
            19
            20
            21
            22
            23
            24
            25

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 61 of 106 PAGEID #: 4062


                                                                                  61

             1 PLEASE USE THIS ERRATA SHEET TO MAKE ANY AND ALL
             2 CORRECTIONS BY LISTING THE PAGE NUMBER, LINE
             3 NUMBER AND THE PROPOSED CHANGE.                   PLEASE DO NOT
             4 MARK ON THE TRANSCRIPT.               UPON COMPLETION, PLEASE
             5 SIGN AND DATE AT THE BOTTOM.                  THANK YOU.
             6 __________________________________________________
             7 __________________________________________________
             8 __________________________________________________
             9 __________________________________________________
            10 __________________________________________________
            11 __________________________________________________
            12 __________________________________________________
            13 __________________________________________________
            14 __________________________________________________
            15 __________________________________________________
            16 __________________________________________________
            17 __________________________________________________
            18 __________________________________________________
            19 __________________________________________________
            20 __________________________________________________
            21 __________________________________________________
            22 __________________________________________________
            23 __________________________________________________
            24 __________________________________________________
            25 Signature: ____________________ Date: ____________

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 62 of 106 PAGEID #: 4063


                                                                                  62

             1 STATE OF OHIO            )
             2 COUNTY OF MIAMI )                   SS: CERTIFICATE
             3               I, Angela R. Dilts, a Notary Public within
             4 and for the State of Ohio, duly commissioned and
             5 qualified,
             6               DO HEREBY CERTIFY that the above-named,
             7 JULIE PATRICE GENTILE, M.D., was by me first duly
             8 sworn to testify the truth, the whole truth and
             9 nothing but the truth; that said testimony was
            10 reduced to writing by me stenographically in the
            11 presence of the witness and thereafter reduced to
            12 typewriting.
            13               I FURTHER CERTIFY that I am not a relative
            14 or attorney of either party nor in any manner
            15 interested in the event of this action; I am not
            16 under a contract as defined in Civil Rule 28(D).
            17               IN WITNESS WHEREOF, I have hereunto set my
            18 hand and seal of office at Troy, Ohio, on
            19 this 19th day of December 2024.
            20
            21                               _/s/ Angela R. Dilts________
                                             ANGELA R. DILTS
            22                               NOTARY PUBLIC, STATE OF OHIO
                                             My commission expires 8-9-2026
            23
            24
            25

                         MIAMI VALLEY REPORTING, LLC        (937) 440-1400
                                                                              PLAINTIFF'S
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 63 of 106 PAGEID #: 4064
 Case: 3:18-cv-00358-WHR-PBS Doc#: 128-14 Filed: 06/25/24 Page: 97 of 129 PA                                                                               AIBIT




                                                                                   ~prutmolll ,>I P:1yc h1.1try
                                                                                   Ehz:.llelh PI,,....,-~ [Ml S..le,,1;.r:...: ,...,I\;-"' fl,.u r-.oilf
                                                                                   ez; s. Erl:r.r, C M,".l'IU Blvc "' 0•1y::lf1, 0114'!<t()tl• f.lfl1
                                                                                   Tc4'J37 :'2 3 l)MO • f;>1t t);,; 2~ o~;o
                                                                                   11\V\I M ', ;l'll~'llli!t', )': n




                    November 15, 2016

                    Dean Dunn:

                    Below please find notes from my meetings with Dr. Elman. If you have questions please feel free
                    to contact me for additional information.

                    11/15: Chair Site visit at Access Ohio Mental Health Clinic to tour facility and become acquainted
                    with the staiewide Telepsychiatry Program for Intellectual Disability. Made comments in the
                    presence of Access Ohio team members that he was shocked that we did not have plans in
                    place for · a patient who appears on the web cam with a gun pointed to his head;" he gave
                    feedback that we needed to immediately institute a plan to respond to such a situation. When
                    he met Dr. Johnson (CEO, Access Ohio, who is of Indian descent), Dr. Elman cited pieces of
                    literature from Iraq regarding addiction psychiatry, and when Dr. Johnson asked if his ethnic
                    origin was Iraq( Dr. Elman was visibly irritated and replied that he was from Russia. Dr. Johnson
                    then said •1am sorry if I upset you; you cited literature from Iraq so that's why I inquired. I
                    completed my studies in India." Dr. Elman replied, "I can~ that.• Or. Elman asked why I had so
                    many grants for "Infectious Disease• (after 5 months In the department he was unaware of the
                    term ID for Intellectual Disability) and after seeing an actual patient appointment, he stated that
                    patients with ·mental retardation• do not have the capacity to experience grief and loss.
                    Explained to Dr. Elman that my grants were patients with "Intellectual Disability" (not infectious
                    disease), and had to remind him several times the term mental retardation is no longer
                    acceptable and is pejorative to many.

                    11/15: Dr. Elman decided to spend $30K annually for 'assistant training directors' although we
                    already have multiple core faculty in place for this role. He did not consult with training director
                    to determine need or with director of operations to secure/establish the funding. He attached
                    $7500 stipends to each of the four positions, even after I explained to him the implication of
                    'stipends· on the campus; it took multiple hour- long meetings through June 2016 with the help
                    of Dr. Welton to eliminate the stipends for these positions and utilize existing faculty.

                    03/01/16 Faculty Annual Revievr. Dr. Elman questioned why I give so many presentations instead
                    of conducting research. He also questioned why I write so many book chapters instead of
                    conducting research; I explained my grant work and the educational/clinical objectives for each
                    funder who supports my base salary. Dr. Elman appeared to have no knowledge of any of my
                    work and had not reviewed my submitted annual summary. He also spoke poorly of the
                    department, stating that the educational programming did not meet his expectations.

                    03/22/16 Meeting with Dr. Elman; he stated he was unclear as to the purpose of the annu2I
                    faculty reviews and asked me if he could delegate this task. He stated that w riting the paragraph
                    about each faculty was extremely time consuming. For 2017, he plans to revise system so that



                                                                                                        DEFENDANT 001057
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 64 of 106 PAGEID #: 4065
 Case: 3:18-cv-00358-WHR-PBS Doc#: 128-14 Filed: 06/25/24 Page: 98 of 129 PAGEID #: 3690




                                                                                     D•partm.. nt or Psrc1,Ia1ry
                                                                                     fNnbllh Picco. E.ad M->l r1au. I'll>! n -
                                                                                     m S. E<t~nr..Llo.?.t.t'hll • Onyioa.Oli4'l-~-1«:1
                                                                                     tcl 7.17 22:ue-lQ • FOJ 9J1.22:1 o~
                                                                                     "'od~l80J/pl)~



                    faculty fills out a form for him to eliminate this from his task list. This was the first year that only
                    the faculty located within the department received Invitations to attend faculty reviews with the
                    Chair (no community based faculty). I asked him to reach out to the faculty in the community as
                    a gesture to build relationships with those volunteering their time to department. He made a
                    comment that he wants to hire faculty from other countries because 'Americans have a poor
                    work ethic.' I asked him If he planned reach out to the graduating residents to keep civilians
                    connected to the department; he didn't appear to know any of their names or military status,
                    nor did he appear able to identify the Chief Residents. I specifically told him that MM (civilian)
                    was very interested In academic psychiatry, and she was our Chief Resident; he did not reach out
                    to her. MM was pursued by OSU and now works there full time. I told him I had grave concerns
                    about the lack of visa status of the faculty applicants he was inviting to Interview; he stated that
                    he did not share my concern.

                    06/05/16: Prior to opening comments at graduation, I asked Dr. Elman if he had prepared
                    remarks and offered to review them if he wished. He declined my offer. Summary of Dr. Elman's
                    graduation opening remarks: 1) as you start your practice of medicine, "lower your expectations;'
                    2) •awards mean nothing" Oust prior to our awards presentations;) 3) story of obese male seals
                    killing females during copulation. Many faculty and famny members reported that they were
                    offended by these remarks. When I spoke to Dr. Elman about this, he stated he was referring to
                    Darwin's theory and everyone in attendance should have been familiar with this concept He
                    refused to acknowledge that some attendees were offended.

                    06/07/16: Grand Rounds: Topic Pomography; Dr. Elman made comments to the attendees
                    including that Or. Cowan planned to start a clinic for •sexual Dysfunction• and "Gender
                    Dysphoria" (she, in fact, had suggested starting a mental health clinic in Dayton for the LGBT
                    community); I made attempts to explain that addressing the LGBTQ community with the other
                    terms was pejorative. Or. Elman also publicly recommended all residents view pornography so
                    they are better able to interpret and make interventions with patients who use porn.

                    06/07/16: Meeting with Dr. Elman; explained to him that several of the faculty interviewees he
                    had pursued did not have visas and this was a legal issue that concerned me greatly. He
                    continued to pursue an applicant of Chinese descent with a soon to be expired visa, despite my
                    warnings and grave concerns that this would be a problem for the BSOM, HR, and General
                    Counsel. He continued his pursuit of this hire, and I finally told him that I was going to dearly
                    document my concerns and if he moved forward on this hire, I would have it documented that I
                    spoke with him on multiple occasions about this, and I did not stand by him on this decision,
                    nor would I be connected to it At the lunch meeting on interview day with the candidate, Dr.
                    Elman offered to write him a letter of support for citizenship, and stated that he knew •the
                    system• very well and could facilitate this pursuit Dr. Elman persisted and suggested that our
                    department pursue a contractual agreement with the applicant's university in NY so he could
                    begin work with our department while still in NV. I reminded him there had been visa issues on


                                                                                                  DEFENDANT 001058
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 65 of 106 PAGEID #: 4066
 Case: 3:18-cv-00358-WHR-PBS Doc#: 128-14 Filed: 06/25/24 Page: 99 of 129 PAGEID #: 3691




                                                                                   Dop11nn~nt of flGYchlotrv
                                                                                  Ella:nl:..th Plan • Ea~ l.',edlc;J PIN•. f1••1 F:OOr
                                                                                  ~v s. EtMln c. Mcc4~ e1.-c1 • D•Y'On, OH 4!'-ll'!O, 1cn1
                                                                                   Tel 8;17 l:D.11840 • Fa• 931.t:3 Cl751>
                                                                                   ••..i.wrlOIK.-~Gl'cil



                    the campus recently and it would put our department at risk, but he did not share my concerns.
                    He also asked me to design a strategic plan for the department. He told me he had googled the
                    search words •strategic plan• to give him some direction. He used some screen shots of the
                    google results for •strategic plan" In one of his presentations to the faculty on this topic.

                    06/17/16: Orientation day for the first year resident dass; Dr. Elman was 15 minutes late to his
                    30 minute "Chair Welcome." During introductions, an R1 stated he had a specific research
                    interest; Dr. Elman responded to the R1 that It wasn't a •real" research question, it was evident
                    that the outcomes had already been clearly established in the literature; I interrupted Dr. Elman
                    because the R1 was clearly embarrassed and offended; I assured the R1 he was to be
                    commended for having done additional reading and for sharing this academic curiosity with the
                    group; Dr. Elman followed my comments by stating aloud •1 made comments that were
                    offensive and thEn Dr. Gentile interrupted me and made the resident feel reassured."

                    06/21/16: Afaculty member reported to me she had emailed Or. Elman twice and also stopped
                    by his office on one occasion to Introduce herself; he told her he was busy unpacking and never
                    responded to her emails. In particular, in one of her emails, she expressed interest in a posted
                    position (for Director of Medical Student MH Services) and received no response. Two other
                    faculty shared with me that they planned to leave the department if the current direction
                    continued and if emphasis of psychotherapy continued to be devalued by the Chair.

                    06/21/16: Discussed with Dr. Elman the importance of closure to the Dr. Weston interview for
                    the Directorship of the Child Psychlatiy Program; Dr. Elman repeatedly stated it was not
                    necessary to give her feedback from her 06/16/16 interview for the Directorship of the CAP
                    Division. Encouraged him many times to deliver the infonnation that she would not be named
                    the Director; given that she Is an lntemal candidate and has an office two doors from him, this is
                    not optional. He proposed he would name her "Chief Academic Officer" of the department and
                    give her a stipend as a 'consolation.' After multiple meetings of repeating the same request, he
                    finally met with her on 08/04/16. He again asked me to design a strategic plan for the
                    department again because he had not done this before; he never followed up and asked to
                    review this document.

                    07/27/16: Dr. Elman stated we need to discontinue the focus on psychotherapy in our
                    department and suggested that we close or modify the resident clinic. He stated psychotherapy
                    was "irrelevant• and •not based in reality;" stated all of the educational and clinical programs In
                    the department are 'lacking' and 'sub par.' I reminded him that completion of psychotherapy
                    hours was a requirement of our accrediting organization. Asked him if he planned to do any
                    teaching in the department and he stated he did not have time.

                    08/09/16: Dr. Elman stated psychotherapy is irrelevant and our didactics are lacking; literature
                    from department is "embarrassing• and publications from our department are not in 'real


                                                                                                 DEFENDANT 001059
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 66 of 106 PAGEID #: 4067
Case: 3:18-cv-00358-WHR-PBS Doc#: 128-14 Filed: 06/25/24 Page: 100 of 129 PAGEID #: 3692




                        ·-     !t••<1J,,,!1
                             rJ School of Met lidnc                               O.po,,,,,ollt DI Poychlolry
                                                                                  Ell?=lllrt Pluct • E.ut MMl<III Pl1u. fllil Floor
                               WI\IGJIT STATI: UNIVl:I\SITY

                                                                                 -~·~
                                                                                 W. $. l:rt:.in C. ~ s Blvd.• Ony,,,n, OH "!'.CCII• 1.t& I
                                                                                  Tel 037 :Z-~l.81!411 • Fu f,CJ7.~..:I 07,tl




                    journals.' I asked if he would meet individually with the candidate applicants to our program
                    beginning in the fall; he stated he did not feel this was necessary and it was too time consuming.
                    I mentioned that he devalues our didactics, yet he is not involved in any teaching in the
                    department He stated he was too busy and did not have time as he was building an addiction
                    clinic. He first spoke of an addktion clinic In August 2015.

                    08/12/16: Strategic Planning Steering Committee Meeting; Dr. Elman was to deliver his plan to
                    the faculty at this meeting. I offered to review/discuss his slides prior to the meeting, but he
                    declined my offer. The meeting was well attended; the presentation was not well received; one
                    called it "an MBA course• and multiple faculty interrupted the presentation after an hour and
                    asked to take a break. He received some harsh criticism from several faculty. His follow up
                    meeting to finalize the strategic plan Is scheduled for 12/13/16, approximately 18 months after
                    the start of his tenure.

                    08/16/16: Dr. Elman described plans to start an addiction clinic since August 201 S, but there has
                    been no progress. I offered to take the lead and start an addiction clinic on my own and asked
                    him to delegate this to me; Dr. Elman immediately dedined, stating collaborating with existing
                    community resources would be 'sub-average' and 'amateur;' he wants a clinic within our
                    department and his/WSU name on it; wants to make it profitable and a 'money maker;' does not
                    want to engage with other agencies or pursue collaborative relationships. I pointed out that our
                    department has no vehide to bill Medicare or Medicaid and we would have to collaborate (at
                    least initially) with an existing community partner, and he refused.

                    08/23/16: Returned from leave; Dr. Elman was very upset due to the Dr. Hardy incident (wherein
                    she asked that Dr. Elman not be involved in the introduction of a guest speaker). Dr. Elman also
                    stated he thinks Dr. Kay wants his job back, and had publicly embarrassed him at
                    graduation; very angry with people who •go to the Deans office• and report on him. I reminded
                    him that Dr. Kay's attempt to get him to curtail his comments was not public until Dr. Elman
                    announced it to the crowd. Told Dr. Elman that several CAP faculty were concerned that there
                    was no Director of the CAP Division; he asked for names and details of what was said about him.
                    He asked which faculty come to me with comments and concerns and asked me to report
                    names and details to him. Stated he disagreed with my decision to approve a flyer/invitation for
                    Dr. Gabbard visit; stated I should call him before making decisions even when he is traveling. He
                    stated that I can act as a •naison· between faculty and Dr. Elman, but I should not make
                    decisions without his input. Stated he was planning to call HR to report all the wrongdoings
                    toward him (character defamation; public embarrassment; Dr. Kay allegedly wanting job the
                    Chair position back). He shared with me he was told by the Dean he had to meet with a •job
                    coach• or ·mentor" and was not interested in this; he was very angry that "people went to the
                    Dean about my graduation remarks. I want to know who these people are." He spent the
                    remainder of the meeting trying to figure this out and could not be redirected to other topics.



                                                                                                  DEFENDANT 001060
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 67 of 106 PAGEID #: 4068
Case: 3:18-cv-00358-WHR-PBS Doc#: 128-14 Filed: 06/25/24 Page: 101 of 129 PAGEID #: 3693




                                                                                  0.1>•"""'nl ol Pltdlo.llry
                                                                                  Ellzllt,c,s,iP""-t • ~ l,.\o<ll-:al PIQ::I. F"111l l'locf
                                                                                  Ull'> Ed-.,,,nC ~,61wd •lb,".M,c.tl"-~"'t•Ud!
                                                                                  Tel s:ir m ea.«>• ru 937 :n1.0.tie
                                                                                  ir..., .,.~,, Gdulp~r.11




                    09/06/16: Dr. Elman again stated psychotherapy is irrelevant and •from the 201h centu,y' and
                    shou!d be eliminated from the curriculum. He stated the department is living in the 20t1, century
                    and not based in reality. This meeting with Dr. Elman was immediately prior to an open faculty
                    meeting, so I strongly persuaded him to avoid making these remarks in this public forum, but he
                    ignored my advice and mentioned both comments publicly in the faculty meeting a few minutes
                    later.

                    09/21/16: Dr. Elman planned trip to Israel during Glen Gabbard visit (internationally renowned
                    psychotherapy guest lecturer). He told me he had decided that the addiction clinic should be at
                    Kettering Medical Center; later In the same meeting stated, "let's open a clinic somewhere and
                    you can just start seeing patients.• Dr. Welton asked that I attend a Premier Health Partners
                    (PHP) meeting with him; Dr. Elman told me to back out and let Dr. Welton go to the PHP
                    meeting alone (without stating a reason). I encouraged Dr. Elman to go to a meeting with Ohio
                    Depl of Mental Health and Addiction Services since we receive important funding from the
                    department and we had developed a long-term relationship with this state agency. He stated he
                    had other important meetings and preferred not to attend. He changed his mind only after
                    Medical Director Marie Hurst personally invited him to a private 30-minute meeting before the
                    statewide group meeting. Dr. Elman later reported that he was 20 minutes late for this private
                    meeting. I offered to oversee clinical and educational programs in the dept, so he could focus
                    on research, but he stated the Chair needs to know everything that goes on and he could not
                    delegate anything to me. I asked to attend upcoming meetings with Kettering Health Network
                    as I could facilitate a relationship with the Grants and Research Program, but was never Invited
                    to any future meetings.

                    09/22/16: Met with upper level resident; she stated most residents try to avoid interface with Dr.
                    Elman; each time he meets with them, the relationship appears to worsen Dr. Elman plans
                    resident dinners with the Chair and these were poorly received and poorly attended; she stated
                    residents were still embarrassed by the graduation remarks and continue to discuss that; morale
                    Is very low; upset that he has changed many Important long standing traditions (annual picnic;
                    holiday party plans; resident skit). She stated he openly degrades psychotherapy; mentioned he
                    thinks our program's emphasis on psychotherapy is outdated and he made these comments to
                    some of the medical student candidates who were here to interview for our program.

                    09/27/16: Dr. Elman reported to me that he had discussed the alleged public defamation issues
                    to HR and General Counsel and finally the "office of equity: He again asked me if I could write
                    articles on addiction with him; I told him to reach out to R4's who had publication requirements
                    prior to graduation and junior faculty who were in need of publication experience as this would
                    be an opportunity for mentoring and to build relatlonshlps within the department To be best of
                    my knowledge he did not follow up on this suggestion.




                                                                                                  DEFENDANT 001061
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 68 of 106 PAGEID #: 4069
Case: 3:18-cv-00358-WHR-PBS Doc#: 128-14 Filed: 06/25/24 Page: 102 of 129 PAGEID #: 3694




                        ·~ J;,,~,,~~.~,
                    ~       • School ofMcdicint'                                 Uop,'HUno~f Qf Pcydlul•)'
                                                                                 Ellrlll>CIII Pllll.f • E.!,i !Jod.-...r PIAZA. Flt:~ i'lo.>1
                    • ••      wrum1T:1Tt.Te: UN1v1.msrrr                         U7ll Elll>i,1C.l.lnG11fl!MI •On)'ll•n,01145','d·t.llll
                                                                                 Td 037.Cb.#11~ • Falr. :!Ji'.:l:!:,, 07~'3
                                                                                 IM<I ,v,lgnl td"'l>S1''h



                    09/27/16: I met with an Interviewee (medical student candidate for our program) who reported
                    that during Chair welcoming comments, he mentioned negativity regarding psychotherapy,
                    which is our strongest recruiting tool; our chief resident was present in the meeting and
                    confirmed these comments. I assured the interviewee this was a founding principle of our
                    program and would remain in place. (Fourth year medical students reported this information.to
                    me during multiple Interviews.)

                    10/03/16: Dr. Elman stated our program needs a consultant from Harvard or Yale; stated he was
                    leaving town for 2 weeks and would need me to set up Skype appointments with him to keep
                    him updated and to seek his advice on any time[y issues. I asked him to reconsider having the
                    mandatory meeting for the department; it may be perceived as a suggestion about what
                    residents and faculty can and cannot do regarding reporting procedures, and it potentially
                    continues to shed light on his graduation remarks. He disagreed and planned to move forward
                    with his agenda.

                    10/26/16: Meeting with Dr. Elman. Discussed 'mandatory departmental meeting' and
                    encouraged him to provide an agenda to faculty and residents. Again stated he wanted to start
                    addiction clinic but was unsure how to proceed. Dr. Elman presented Grand Rounds on this date
                    and the attendance was very low.

                    11/01/16: Meeting with Dr. Elman; he stated no one ever told him what his job consisted of and
                    what his role was in the department. He asked me to explain the Job description of a
                    Department Chair. He asked if I could serve as the Director of the Child/Adolescent Psychiatry
                    program. Told him I was not qualified and would not be a credible leader for the fellowship as I
                    am an adult psychiatrist; this also does not follow AACAP recomn,endatfons. He asked what I
                    was contributing to the department and asked me to list my activities for him. He asked me to
                    define both his job description and mine.

                    Since May 2016, multiple faculty in our department have approached me to meet regarding
                    administrative issues, contract negotiations, faculty appointments, complicated clinical issues,
                    attending meetings with an Assistant/Associate Deans present, and for recruitment activities. It
                    is common for them to ask that I not involve Dr. Elman, particularly if the Issue pertains to
                    psychotherapy, clinical, educational or fiscal operations.




                    Julie P. Gentile MD
                    Professor and Deputy Chair



                                                                                                DEFENDANT 001062
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 69 of 106 PAGEID #: 4070
                                                    PLAINTIFF'S
                                                      EXHIBIT
                                                                        »
                                                                /).-S-V-1
      A       r,,),:,1<!];_ ,,
      , ~· School of Medicine                                       Department of Poychlotry

        ~ WRIGHT STATE UNIVERSiTY                                   Siz; beth Place • East Medical Plaza, F,ral Floor
                                                                    627 s. Edwin c. Moses BIVC. • Dayton, OH 45408-1 461
                                                                    Tel 937.223.8840 ~ Fax 937.223 0756
                                                                   mea.wrlsht.cdu/psych


      NovemberlS,2016

      Dean Dunn:

      Below please find notes from my meetings with Dr. Elman. If you have questions please feel
      free to contact me for additional information.

     11/15: Chair Site visit at Access Ohio Mental Health Clinic to tour facility and become
     acquainted with the statewide Telepsychiatry Program for Intellectual Disability. Made
     comments in the presence of Access Ohio team members that he was shocked that we did not
     have plans in place for "a patient who appears on the web cam with a gun pointed to his head;"
     he gave feedback that we needed to immediately institute a plan to respond to such a situation.
     When he met Dr. Johnson {CEO, Access Ohio, who is of Indian descent), Dr. Elman cited pieces
     of literature from Iraq regarding addiction psychiatry, and when Dr. Johnson asked if his ethnic
     origin was Iraqi, Dr. Elman was visibly irritated and replied that he was from Russia. Dr.
     Johnson then said "I am sorry if I upset you; you cited literature from Iraq so that's why I
     inquired. I completed my studies in India." Dr. Elman replied, "I can see that." Dr. Elman asked
     why I had so many grants for "Infectious Disease" (after 5 months in the department he was
     unaware of the term ID for Intellectual Disability) and after seeing an actual patient
     appoinhnent, he stated that patients with "mental retardation" do not have the capacity to
     experience grief and loss. Explained to Dr. Elman that my grants were patients with
     "Intellectual Disability" (not infectious disease}, and had to remind him several times the term
     mental retardation is no longer acceptable and is pejorative to many.
     11 / 15: Dr. Elman decided to spend $30K annually for' assistant training directors' although we
     already have multiple core faculty in place for this role. He did not consult with training
     director to determine need or with director of operations to secure/ establish the funding. He
     attached $7500 stipends to each of the four positions, even after r explained to him the
     implication of'stipends' on the campus; it took multiple hour-long meetings through June 2016
     with. the help of Dr. Welton to eliminate the stipends for these positions and utilize existing
     faculty.

     03 / 01/16 Faculty Annual Review: Dr. Elman questioned why I give so many presentations
     instead of conducting research. He also questioned why I write so many book chapters instead
     of conducting research; I explained my grant work and the educational/ clinical objectives for
     each funder who supports my base salary. Dr. Elman appeared to have no knowledge of any of
     my work and had not reviewed my submitted annual summary. He also spoke poorly of the
     department, stating that the educational programming did not meet his expectations.

     03/22/16 Meeting with Dr. Elman; he stated he was unclear as to the purpose of the annual
     faculty reviews and asked me if he could delegate this task. He stated that writing the
     paragraph about each faculty was extremely time consuming. For 2017, he plans to revise
     system so that faculty fills out a form for him to eliminate this from his task list. This was the
     first year that only the faculty located within the department received invitations to attend
     faculty reviews with the Chair (no community based faculty). 1 asked him to reach out to the
     faculty in the community as a gesture to build relationships with those volunteering their time
     to deparhnent. He made a comment that he wants to hire faculty from other countries because
     'Americans have a poor work ethic.' I asked him if he planned reach out to the graduating
     residents to keep civilians connected to the department; he didn't appear to know any of their
     names or military status, nor did he appear able to identify the Chief Residents. r specifically



                                                                                          DEFENDANT 000158
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 70 of 106 PAGEID #: 4071




                                                                     Oep111tment of Psychiatry
                                                                     Elizabeth Place :i East Madler.II Pla:ta, Flrst Floor
                                                                                  c.
                                                                     621 S. E.dwfn Moses 81Vd, 0 Oayton, OH 45408·1461
                                                                     Tel 937.223,8840 :i Fa>e 937.223.0758
                                                                     med.wright.edU/psych


      told him that MM (civilian) was very interested in academic psychiatry, and she was our Chief
      ~esi.dent;h~ did not reach out to her~ MM was pursued by OSU and now works there full time.
      l told him I had grave concerns about the lack of visa status of the faculty applicants he was
      inviting to interview; he stated that he did not share my concern.            •
     06/05/16: Prior to opening comments at graduation, I asked Dr. Elm.an if he had prepared
     remarks an(l. offered to review th~rrt if he ~shed. He declined my offer. Summary of Dr.
     Elmaq'~ graduation opening remarks: 1) as you start your practice of medicine, "lower your
     expe~tions;' 2) "awards mean nething" Oust prior to our awards presentations; 3) story of
     obese male ~eals _killing females during copulation. Many faculty and family members reported
     that th~y were offended by these remarks. When I spoke to Dr. Elman about this, he stated he
     was referring to Darwin's theory and everyone in attendance should have been familiar with
     this concept. He refused to acknowledge that some attendees were offended.
     06/07/l(J: Grand Rounds: TopicPomography; Or. Elm~ m;ide comments to the attendees
     in~wlingJhat Dr. Cowan.planned to .start a clinidor "Sexu_al Dysfunction'~ and ''Gend~
                1
     Dysphoria (she, in fact, had St.Jgges.ted starting a.l'.tlemal :~alth clinic in Dayton for. the .LGBT
                    '

     co~uxµ.ty);J made attempls to explajn-that, addre$$ing th~ LG.BTQ community with the.other
     terms was pejorative. Dr. Elman also publicly recommended all residents view pornography so
     they are be~ able to interpretand make interventions with patients who use porn.
     06 / 07 /16: Meeting wi_th Dr. Elman; explained to him that several of the faculty interviewees he
     had pursued did not have visas and this was a legal issue that concerned me greatly. He
     continued to pursue an applicant of Chinese descent with a soon to be expired visa, despite my
     warnings and grave concerns that this would be a problem for the BSOM, HR, and Gen~al
     Counsel. He continued his pursuit of this hire, and I finally told him that I was going to clearly
     docwnent my concerns and if he moved forward on this lure, I woulcl have it doCUlllented that I
     spoke with him on multiple occasions about this, and I did not stand by him on this decision,
     nor would I be connected to it. At the lunch meeting oninterview day with the candidate, Dr.
     Elman offered to write him a letter of support for citizenship, and stated that he knew "the
     system:"'·verywellan4 could fat:ilitate this pursuit Dr. Elman persisted and sugg~sted tllat our
     department pursue a contracb.lal agreement with the applicant's university in NY ~o he.could
     begin wotk with our department whil~ still in NY. I rel'Ilind~d him there had been visa issues on
     the ·campus recently and it would put our department at risk, but he did not share my concerns.
     He also asked me to design a strategic plan for the_departrnent He told me he had googled the
     search words ''strategic plan" to.give him some direction. He used some screen shots ·of the
     google results for ''strategic plan": in one of his presentati~rts to the faculty on this tQpic.
     06 I 17I 16: Orientation day for the first year resident class; Dr. Elman was 15 minutes late to his
     30 minute Chair Welcome.' During introductions, an Rl stated he had a specific research
                11                 1


     interest; Dt. Elman responded to the Rl that it wasn't a "real" research question~ it was evident
     that the outcomes had already been clearly established in the literature; I lntenupted Dr. Elman
     because the Rl was clearly embarrassed and offended; I assured the Rl he was to be
     commended for having done additional reading and for sharing this academic curiosity with
     the group; Dr. Elman followed my comments by stating aloud "I made comments that were
     offensive and then Dr. Gentile interrupted me and made the resident feel reassured."
     06/21/16: A faculty member repo~ted to me she had emailed Dr. Elman twice and also ~t<.?pped
     by his office on one occasion to introduce herself; he told ·her he was busy unpacking and never
     responded to her emails. In particular, in one of her emails, she expressed interest in a posted



                                                                                          DEFENDANT 000159
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 71 of 106 PAGEID #: 4072




                                                                     Department of Pisychfatry
                                                                     Elizabeth Place • East Medical Plaza. F1rsr Floer
                                                                     627 S. Edwin C. Moses BIVd. 2 Dayton, OH 45408-1461
                                                                     Tel 937.223.B840 ~ F:ax 937.223.0758
                                                                     med.wrlght.edu/psych


      position (for Director of Medical Student MH Services) and received no response. Two other
      fa~ty $hared with me that they planned to leave the departril~ntif the current direc;tipn
      ~onlinued and if emphasis of psychotherapy continued to be devalued by the Chair.
     06/21/ 16: Discussed with Dr. Elman· the importance of closure to the Dr. Weston inte;-view for
     the Directo.rship of the Child Psychiatry ProP:Dl···
                                                     • . •.; Dr~ Elman repeatedly stated itwas no.t.
     necess~ to give her feedback from her 06/16/16 interview for the Directorship of the CAP
     Division~ Encouraged him many times to deliver the information·that she wollld n()t be named
     the Director; given that she is an internal candidate and has an office two doors from him, this is
     n9t 9ptionat He proposed he would name her 11Chief Acadentl~ Officer~' pf the d~partment and
     give her a $tipend as a 1C9nsolatlon.' After.muJtiple meetings of repeating the same request, he
     fin~lly met with her on 0Sl04/16~ He again;•sked me to design a strategic planJor the
     department again because he had not done this before; he never followed up ·and asked to
     review this document.                         ,
     07 /27 /16: Dr. Elman stated we need to discontinue the focus on psychotherapy in our
     department and suggested that we close or modify the resident cliriic~ He stated psychotherapy
     Wc!S "irrelevant'' lmd "not based in reality;'' stated all of the educational and clinical programs
     in the d(Wartmen~ are 'lacking' and 'sub pat:' I reminded· him that completion.of psychotherapy
     hQ~$ WM a requirement of our accrediting organization. A$ked himi.f he planned to do any
     teaching in the department and he stated he did not have time.
     08 / 09/16: Dr. E~~ stated psychotherapy is irrelevant and our didactics are lacking; literature
     from department_~ '"embarrassing'' and publications from our department are not in 'real
     jQµmals.' I asked if he wo~d. meet individually with the candidate applicants to our program
     beginning in the fctll; hie stated he did not 'feel this was necessary and it was too time consuming.
     lm~ntione_d that h~ _4~alues our dida~cs, yet he is not involved_ in any teachin$·inthe _
     departm~nt. He stat~d he was too_ busy and tUd not have time as he was building an addiction
     clinic. H~ first spok~ of an addiction clinic h:t August 2015.
     08/12/16: Strategic Planning Steering C<>mmittee Meeting; Dr. Elman was to deliver his plan to
     the faculty at this meeting. I offered to ~view/ discuss his slides prior to the meeting, but he
     declined my offer. The meeting was well_ att~ded; the presentation was not well received; one
     ccilled it "an MJ3A course" a~d multiple faculty i:nt~r1'ttpted the presentation afterm.:hc>ur and
     asked to take a break♦-He re,ceive~ soµ,e har~h criticism from ~eral fa.culty. His follo"V up
     meeting to finalize the strategic plan is scheduled for 12/ 13 /16,. approximately 18 m,opths after
     the start of his tenure. •
     08/l.6/16: Dr. Elman de•sc:ribed plans to sta~t an addiction clinic since ~ugust 2015, but_there
     has been no progress.I offered to take the lead and start an addicti~ clinic <>n my o~ anti
     asked him to delegate this to me; Dr. Elman biunediately declined, stating collaborating with
      existing community resources would be 'sub-average' and 'antateur;' he wants a clinic within
     our deparbnent and hislWSU name on it;,wants to make it profitable and a '~oney.Inaker;'
     does not want to en$age with o!her agt:'cles or pursue co~l~~91il~!e rel~tionship~. I pointed out
     -th~t our department has no vehicle to bill Medicare :or Medicaid and we would ~ve,to
     :collabora~ (at least initially) with an existing c:ommunity partner, and he refused.

     08/23/16: Returned from leave; Dr. Elman was very upset due to the Dr. Hardy incident
     (wherein she asked that Dr. Elman not be involved in the introduction of a guest speaker). Dr.
     Elman also stated he thinks Dr. Kay wants his job back, and had publicly embarrassed him at



                                                                                         DEFENDANT 000160
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 72 of 106 PAGEID #: 4073




                                                                     Department of Psychiatry
                                                                     Eiizabetl\ P!ace ::i East Medical FlaZa. first Floor
                                                                     627 S. !:dWln C, MoseG Blvd. a Dayton. OH 45406-1461
                                                                     Tel 937,223.8840.: F11x 937.223.0758
                                                                     med.wright edu/psych


     graduation; very angry with peQl)le whp "g~ tc> tl:lt! Pe~ns office'' and report onhim. lreminded
     him that Dr. Kays attempt to get him to curtail his comments w:~ not public until Dr. Elman
     announced it.to the crowd. T9ld Dr. Elman that several CAP faculty were concerned that there
     was no Director of the CAP Division; he asked.for names and details of what was said about
     him. He asked which faculty come to me with cqmments and (Oncems and asked me to report
     names and details fohim. Sta,ted he dis.agreed ,with my decision to approve a flyer /invitation
     for Dr. Gabbard. visit; stated I should call him 1:>t!!ore m ~ dedsions eyen wherLhe is
     traveling. He stated that I can act as a ''liaison'' bej:Ween faculty and Dr. Blman, but I should not
     make decisions without his input. Stated he was planning tQ call HR to report all the
     wrongdoings toward him (chara.cter. defam.an.·Qn; public embarrassm.    • ent; Dr. Kay all.·egedl.y
     wanting job the Chair position back). He shared wtth me he was__told by the Dean he had to
     meet with a "job coacn" or "mentor" a.nd was no~ interes~edln this; he was very angry that
     "people went to the Dean about llly.graduati9n..~marks. I want to know who the_se people are."
     He spent the 'remainder of the me~ting trying to figure this 04t cmd could not be.teditected to
     other topics.                                           •
     09 / 06 I 16: Dr. Elman again stated psychotherapy is hTelevant and "from the 20. century" and
     should be eliminated from the cum~um. He s~ted the dep~ent is living in the 20- century
     and not based in reality. This meeting with D~~ Bln\an was hnmeciic1tely prior to an ~n faculty
     meeting, so I strongly persuad~d hiw to c,.void ~~ng ~ese re1tuirlg; in thi$ p@li~Jorum, but •
     he ignored my advice and mentioned both conµnen~ publicly in the ,acuity meetitlg a few
     minutes later.
      09 /21 / 16: Dr. Elman planned trip to Israel during Glen Gabbard visit (internationally
      renowned psychotherapy guest lecturer). He told me he had decide~ that the adcliction clinic
      should be at Kettering Medical Center; later in the same meeting stated, "let's open a clinic
      somewherearid)~ou can just start seeing patients." Dr. Welton asked that I atten.d a Premier
      Health ~,rtners (PHP) meeting with him; Dr. ~an told m~ to ~~ck out and le~ Dr.Welton go
     to the PHP meeting alone (without stating a reaso~). I encouraged Dr. Elman to go to a meeting
      with Ohio Dept. of Mental Health and Addiction Services since we receive impo~t (unding
     from the department and we had developed a long-term relationship with this sta~_ agency. He
     stated he had other important meetings and preferred not to attend. He changed his mind only
      ~ Medi ail Pirector M~k Hµrst personally'invited him to a pri.vate 3~-minute meetinf before
     .the statewide.group meeting. I>r. Elman later reported that he was 20 minutes l~ttafor ttu.s
     private meeting. I offered to·oversee_'clinical and edtt.cational pro~s in the dept, so he could
     fQcus on research, but he stated the Chair needs to know everything that goes on and he could
     n9t delegate anything to me. I asked to attend upcoming meetirlgs with Kettering Health
     Network as I could fatjlitate a relationship With the Grants and Research Program, but was
     never invited to any future meetings.
     09 /22/16: M~t with upper level r.esiden~; she~~ted mosttesidents try to avoid interface with
     Dr. Blmani each time he meets with, fl.tem, the r;elationship appears to worsen. Dr. Elman plans
     resident dinners with :the Chair ~d these were poorly received and poorly attended; she stated
     residents were still embarrassed by the graduation remarks and continue to discuss that; morale
     is very low; upset that he has changed many important long standing traditions (annual picnic;
     holiday party plans; resident skit). She stated he C>p~y 4~Vctdes ~sychotherapy;.m~tioned he
     thinks our program's emphasis on·psychotherapy is outdated~d he made these comments to
     some of the medical student candidates who were here to interview for our prpgram.




                                                                                            DEFENDANT 000161
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 73 of 106 PAGEID #: 4074




                                                                   Department of Psychiatry
                                                                   8izabeth Place u East Medical PlaZa, Flrsl Floor
                                                                   627 S. Ecwin C. Moses Blvd. a Dayton. OH 45408-1461
                                                                   Tel 937.223.8840 ~ Fax 937.223.0758
                                                                   med.wrlghtedu/psych


     09/27 / 16: Dr". ~an reported to me that he had· discussed the alleged public d~amatlonissues
     to.HR and C~~Eg~ Counsel and finally the "office of equity/' He again asked me if !could writ~
     articles on add,icqon with himi I told him to reach out to R4's who had publicaticm requirements
     prior to graduation and junior faculty who were in need of publication experlence as this wol.tld
     be an opportunity for mentoring and to build relationships within the department. To be best of
     my knowledge he did not follow up on this suggestion.             •
     09/27 / 16: I met with an interviewee (medical student candldate for our pI'9graxn) who reported
     that d4ring Chairwelcoming comments, he mentioned negativity regardin.g.psychotherapy..
     which is our strongest recruiting tool; our c:hief resident was present in the meeting and
     <:o~firm~d these comments. I assured the. interviewee thi$ was a fo1.lllcling principle of our
     pr
      .. ~gram and woul_d remain in plac:e.. (Fourthyear medical students re~d this information to
     me during multiple interviews.)              • •
     1() /03/ 16: Dr. ·Elroc1n stat~d our program needs a consultant from Harvard. or Yale; stated he
     was le~ving to,VI\ for 2 weeks and would need me to set up Skype appointments with him ·to
     keep him ~pdat~d cllld to seek his advice on any timely issues. I asked him. to recoNider having
     the mandatory meeting for the department; it may be perceived as a suggestion about what
     residents and facu.lty can and cannot do regarding reporting procedures, and it potentially
     continues to shed light on his graduation remarks. He disagreed and planned to move forward
     with his ageI\da.
     10/26n6: Meetmg with Dr. Elman. Discussed 'mandatory departmental meeting' ·and
     encouraged him to pro_vide an agend.a to faculty ~nd residents. Again stated he wanted to start
     addicli~n clinic but was unsure h9w to proceed. Dr. Elman presented Grand Rounds on this
     da.te and the attendance was very low.
     11/01/16: Meeting with Dr. Elman; he stated no one ever told him what his job consisted of and
     what his role was in the department. He asked me.to ~lain the job des•cription of a
     Deparbnent Chair. He ~sked if I coul4 serve 8$ the Director of .the Child/1'dolescent Psychiatry
     program. Told rum I was not qualified and would notl?, a ae4ible lead~ for the fellow.ship as 1
     am an adult psychiatrb;t; this also do~s not follow.AA.CAP recommend,~tiorts. He asked wliat I
     was contributing to the department and asked me to list my activities for him. He asked me to
     define both his job description and mine.
     Since May 2016, multiple faculty in our department have approached me_to meet regar~g
     administrative issues, contract negotiations1 ·faculty appoinb;nents, complicated clinical issues,
     attending meetings with an As~istanf/ Associate Deans present, and for recruitment activities. It
     is common for them to ask that I not involve Dr. Elman, particularly if the issue pertains to
     psychotherapy, clinical, educational or fiscal operations.
     Respectfully submitted,



     Julie P. Gentile l\,ID
     Professor and Deputy Chair
     Wright State University Department of Psychiatry




                                                                                         DEFENDANT 000162
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 74 of 106 PAGEID #: 4075




                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF omo
                                     WESTERN DIVISION

   IGOR ELMAN,

          Plaintiff,                                     CASE NO. 3:18-cv-00358-WHR-PBS

   v.                                                    JUDGE WALTER H. RICE

   WRIGHT STATE UNIVERSITY,                              MAGISTRATE JUDGE SILVAIN

          Defendant.


                            DECLARATION OF JULIE P. GENTD.,E, M.D.



           I, Julie Gentile, affinn that the following statements are true and accurate to the best of my

    knowledge and belief:

           1.      My name is Julie Gentile and I am over eighteen years of age, competent to testify,

    and have personal knowledge of the matters stated herein.

           2.      I am currently employed by Wright State University ("WSU") and my title is

    Professor and Chair of the Department of Psychiatry ("Department"). I am a Distinguished Fellow

    of the American Psychiatric Association.

           3.      I am acquainted with Dr. Igor Elman, and I have knowledge of his pending

    litigation against WSU.

           4.      I have been Chair of the Department for four and one-half years. In my capacity as

    Chair, I have access to continuing medical education evaluations that are initiated from

    engagements held within the Department.

            5.     In accordance with Dr. Elman's litigation, I was instructed to search for and retrieve

    any evaluations pertaining to Dr. Elman and speeches he made during his employment with WSU.
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 75 of 106 PAGEID #: 4076
    Case: 3:18-cv-00358-WHR-PBS Doc#: 57-6 Filed: 11/02/21 Page: 2 of 2 PAGEID #: 352




            6.      I undertook a search for evaluations in the Department, and to the best of my

     knowledge, all evaluations pertaining to Dr. Elman in custody and control of the Department were

     retrieved from his personnel file and provided to the Office of General Counsel. Any internal

     evaluations of Dr. Elman from the Department were entered into his personnel file; it was Dr.

     Elman's responsibility to submit any additional educational evaluations that he received to

     Department staff to enter into his personnel file. Dr. Elman's entire personnel file was photocopied

     and submitted to the Office of General Counsel.

           • 7.      The Department does not have a retention policy for evaluations. Moreover, to the

     best of my knowledge, the Department does not have a comprehensive record that would reflect

     when Dr. Elman had speaking engagements external to the Department, nor the particulars of any

     of these speaking engagements.

             8.     If Dr. Elman performed any speeches for continuing medical education seminars

     outside of the Department, I would not have access to those. I also do not have access to evaluations

     for speeches in general that Dr. Elman may have perfonned for other Departments, or on his own

     accord Each faculty member in the Department manages his or her own schedule.

             9.     Dr. Elman did not teach any fonnal didactic sequences in the Department to the

     best of my knowledge during his employment with WSU. Likewise, no course evaluations exist

     that would reflect upon his qualities or faults as an "educator."

             I0.    I have never destroyed, nor overseen the destruction of any documents related to

     Dr. Elman. In addition, I have no knowledge, infonnation or belief that anyone else at Wright State

     has ever done so.



                                                       JULIE P. GENTILE, M~D.

                                                       2
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 76 of 106 PAGEID #: 4077
                                                                           PLAINTIFF'S
                                                                             EC IBIT
 AO 88A (Rev. 12/20) Subpoena to Testify at o Deposition in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                             for the
                                                              Southern District of Ohio

                             Igor Elman                                         )
                                Plai11tifl                                      )
                                    v.                                          )      Civil Action No.     3:18cv0358
                     Wright State University                                    )
                                                                                )
                               Defe11da11t                                      )

                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

  To:          JULIE P. GENTILE, M.D., 2555 University Boulevard, 3640 Colonel Glenn Highway, Dayton, Ohio 45435

                                                        (Name ofperson to whom this subpoena is directed)

      0 Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
 deposition to be taken in this civil action. Jfyou are an organization, you must promptly confer in good faith with the
 party serving this subpoena about the following matters, or those set forth in an attachment, and you must designate one
 or more officers, directors, or managing agents, or designate other persons who consent to testi fy on your behalf about
 these matters:

  Place: Craig T. Matthews & Associates, CPA                                            Date and Time:
         320 Regency Ridge Drive                                                                          12/05/2024 10:00 am
         Centerville, Ohio 45459

            The deposition will be recorded by this method: _ c_e_rt_ifi1
                                                                        _e_d_c_o_u_rt_r_e_
                                                                                         p_o rt
                                                                                             _e _r_ _ _ _ _ __ _ _ __ _ __ _

        ,£ Production: You, or your representatives, must also bring with you to the deposition the following documents,
            electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
            material: All documents related to Dr. Igor Elman. Electronically stored information is to be provided in paper
                      form.




        The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date: /1----~ S-::i. D;:J.     f
                                    CLERK OF COURT
                                                                                          OR

                                             Signature of Clerk or Deputy Clerk                                Attomey's signature

 The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)                        Plaintiff, Igor Elman
 _ _ _ _ _ __ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , who issues or requests this subpoena, are:
 Craig T. Matthews, Esq., 320 Regency Ridge Dr., Centerville, OH 45459, cmatthews@clmlaw.com; (937) 434-9393

                                         Notice to th e person who issues or r equests this subpoena
 If !his subpoena commands the production of documents, electronically stored information, or tangible things before
 trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
 whom it is directed. Fed. R. Civ. P. 45(a)(4).
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 77 of 106 PAGEID #: 4078



 AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

 Civil Action No. 3:18cv0358

                                                                PROOF OF SERVICE
                       (Tllis sect/011 sl,ould 11ot bejiletl with tlle court 1111/ess required by Fetl R. Civ. P. 45.)

             I received this subpoena for (name ofi11divid11a/ aJ1d title, ifa11y)
 on (date)

             □ I served the subpoena by delivering a copy to the named individual as follows:



                                                                                      on (date)                      ; or

             □ I returned the subpoena unexecuted because:




             Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
             tendered to the witness the fees for one day's attendance, and the mileage a11owed by law, in the amount of
             $

 My fees are$                                      for travel and $                       for services, for a total of$     0.00


             I declare under penalty of perjury that this information is true.


 Date:
                                                                                             Sen•er 's sig11at11re


                                                                                           Pri11ted name and title




                                                                                              Sen1er's address

 Additional information regarding attempted service, etc.:
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 78 of 106 PAGEID #: 4079



 AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action (Pase 3}

                               Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                                  (I) disclosing a trade secret or other confidential research, development,
                                                                                     or commercial information; or
   (l) For a Trial, Heari11g, or Depos/t/011. A subpoena may command a                    (ii) disclosing an unrctained expert's opinion or infom1ation that does
 person to attend a trial. hearing. or deposition only as follows:                   not describe specific occurrences in dispute and results from the expert's
    (A) within 100 miles of where the person resides, is employed, or                study that was not requested by a party.
 regularly transacts business in person; or                                             (C) Specifying Condillo11s as an Altemative. Jn the circumstances
    (B) within tile state where the person resides, is employed, or regularly        described in Rule 4S(d}(3}(B), the court may, instead of quashing or
 transacts business in person, if the person                                         modifying a subpoena, order appearance or production under specified
       (i) is a party or a party's officer; or                                       conditions if the serving party:
       (ii) is commanded to attend a trial and would not incur substantial                (i) shows a substantial need for the testimony or material that cannot be
 expense.                                                                            othenvise met without undue hardship; and
                                                                                          (ii) ensures that the subpoenaed person will be reasonably compensated
  (l) For Ot/1er DiscoverJ'• A subpoena may command:
   (A) production of documents, electronically stored information, or                (e) Dulles In Respondlng to a Subpoena.
 tangible things at a place within 100 miles of where the person resides, is
 employed, or regularly transacts business in person; and                              (1) Producl11g Doc11111e11ts or Electro11lcally Stored I1ifom1atlo11. 1l1ese
    (B) inspection of premises at the premises to be inspected.                      procedures apply to producing documents or electronically stored
                                                                                     infonnation:
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                            (A) Doc11me111s. A person responding to a subpoena to produce documents
                                                                                     must produce them as they are kept in the ordinary course of business or
   (l) Ai•oldl11g U11due B11rde11 or E.tpe11se; Sn11ct/01is. A party or attorney     must organize and label them to correspond to the categories in the demand.
 responsible for issuing and serving a subpoena must take reasonable steps              (B) Form for Producing Electronically Stored I,iformalion Nor Specified
 lo avoid imposing undue burden or expense on a person subject to the                lfn subpoena does not specify a form for producing electronically stored
 subpoena. The court for the district where compliance is required must              infonnation, the person responding must produce it in a fonn or forms in
 enforce this duty and impose an appropriate sanction-which may include              which it is ordinarily maintained or in a reasonably usable form or forms.
 lost earnings and reasonable attorney's fees-on a party or attorney who                (C) Electronically Stored l11farmalion Produced in 011ly One Form. The
 fails to comply.                                                                    person responding need not produce Ute same electronically stored
                                                                                     infonnation in more tban one form.
  (2) Co111ma11d to Produce ltlaterla/s or Permit I11spectio11.                         (D) Inaccessible Electronica/1)' Stol'ed /1iformallon. The person
    (A) Appearance Not Req11il'ed A person commanded to produce                      responding need not provide discovery of electronically stored information
 documents, electronically stored infom1ation, or tangible things. or to             from sources that die person identifies as not reasonably accessible because
 pemlit the inspection of premises, need not appear in person at the place of        of undue burden or cosl On motion to compel discovery or for a protective
 production or inspection unless also commanded to appear for a deposition,          order. the person responding must show that the infonuation is not
 hearing. or trial.                                                                  reasonably accessible because of undue burden or cost If that showing is
    (B) Objecllons. A person commanded to produce documents or tangible              made, the court may nonetheless order discovery from such sources if the
 things or to pennit inspection may serve on the party or attorney designated        requesting party shows good cause, considering the limitations of Rule
 in the subpoena a \\Titten objection to inspecting, copying. testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
 sampling any or all ofthe materials or to inspecting the premises-or to
 producing electronically stored infonnation in the fonn or forms requested.         (2) Claiming Privilege or Protectio11.
 The objection must be served before the earlier of the time specified for            (A) Information IYitlihe/d A person withholding subpoenaed i11fom1ation
 compliance or 14 days after the subpoena is served. lf an objection is made,       under a claim that it is privileged or subject to protection as triol-preparation
 the following mles apply:                                                          material must:
      (l) At any time. on notice to the commanded person, tile serving party             (I) expressly make the claim; and
 may move the court for the district where compliance is required for an                 (ii) describe tbe nature of the withheld documents. commu11icatio11s, or
 order compelling production or inspection.                                         tangible things in a manner that, without revealing infonnation itself
      (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable Uie parties to assess the claim.
 order must protect a person who is neither a party nor a party•s officer from        (B) /11fon11atio11 Produced. lfinfonnation produced in response to a
 significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                    trial-preparation material, tlte person making the claim may notif)• any party
  (3) Q11nsl1ing or !,fodi/)•l11g a S11bpoe11a.                                     U1at received the infonnation oftbe claim and the basis for it. After being
                                                                                    notified, a party must promptly return, sequester. or destroy the specified
   (A) When Required On timely motion. tl1e court for the district where            infonnation and any copies it bas; must not use or disclose U1e information
 compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve U1e
                                                                                    infonnation ifthe party disclosed it before being notified; and may promptly
      (i) fails to allow a reasonable time to comply;                               present the infonnation under seal to the court for the district where
      (ii) requires a person to comply beyond the geographical limits               compliance is required for a detennination of the claim. The person who
 specified in Rule 4S{c};                                                           produced the information must preserve the infom1ation until the claim is
      (HI) requires disclosure ofprivileged or other protected matter. ifno         resolved.
 exception or waiver applies; or
      (iv) subjects a person to undue burden.                                        (g) Co11tempt.
   (B) When Per111illed To protect a person subject to or affected by a              The court for the district where compliance is required-and also. after a
 subpoena, the court for the district where compliance is required may, on           motion is transferred, the issuing court-may hold iii contempt a person
 motion, quash or modify the subpoena ifit requires:                                 who, having been served, fails without ~dequate excuse to obey the
                                                                                     subpoena or an order related to it.

                                           For access to subpoena materials, see Fed. R. Civ. P. 4S(a) Committee Note (2013).
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 79 of 106 PAGEID #: 4080
                                                                                                         PLAINTIFF'S
     Curriculum Vitae
                                                                                                           EXHIBIT
     Julie P. Gentile MD                                                                    June 2022
                                                                                                          ~

                                                  Curriculum Vitae
     Julie P . Gentile, M.D., M.8.A., Professor and Chair, Psychiatry
     2555 University Boulevard, S uite I 00
     Campus South
     Dayton, Ohio 45435
     Phone 937-775-7792
     e-mail < julie.gentile@wright.edu>

     EDUCATION
     1987 - 1992       Wright State University, Dayton, Ohio
                       Psychology/Premedical Studies

     1992- 1996        Wright State University Boonsho ft School of Medicine, Dayton, Ohio
                       Med icine

     2020 -202 1       Missouri State University Business School, Springfield, Missouri

     POSTGRADUATE EDUCATION
     1996 - 2000       Intemship and Psychiatry Res idency
                       Wright State University Boonshoft School of Med ic ine
                       Department of Psychiatry


     ACADEMIC EXPERIENCE
     Institution                                 Pos ition                             Date

     Wright State University, Dayton, Ohio       Chair                                 20 I ? -present

     Wright State University, Dayton, O hio      Interim Chair                         2016

     Wright State Un iversity, Dayton, Ohio      Full Professor                        2014-present

     Wright State University, Dayton, Ohio       Director, Di vision of Intellectual   2013-present
                                                 Disability Psychiatry

     Wrig ht State University, Dayton , Ohio     Assoc iate Professor                  2008-20 14

     Wrig ht State University, Dayton, Ohio      Director, Medical Student M ental 2003-20 13
                                                 Health Services

     Wright State Un iversity, Dayton, Ohio      Ass istant Professor                  2003-2008


     BOARD CERTIFICATION
     Board Certified, American Board of Psychiatry and N euro logy, 200 I

     Board Certified, American Board of Psychiatry and Neurology, 201 I
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 80 of 106 PAGEID #: 4081


     Curriculum Vitae
     Julie P. Gentile MD                                                                  June 2022


     Board Certified, American Board of Psychiatry and Neurology, 2021 (expires 12/31/2031)



     MEDICAL LICENSE
     Ohio License 35-073216


     PROFESSIONAL EXPERIENCES
     Institution                       Position


     CWRU and NEOMED                   ECHO IDD Psychiatry Expert Consultant                 2019-2021

     OhioMHAS                          Statewide Intellectual Disability Consultant          2017-present

     Montgomery County ADMHAS          Chief Clinical Officer                                2017-2022

     Wright State University           Project Director/Primary Investigator,                2012-present
                                       Ohio's Telepsychiatry Project
                                       For Intellectual Disability

     New Hope Villa                    Medical Director                                      2007-2014

     TCN Behavioral Healthcare         Attending Psychiatrist                                2005-2011

     Ohio Depts. of Mental Health      Project Director and Primary Investigator,            2003-present
     And Developmental Disability      State of Ohio Coordinating Center of Excellence
                                       in Mental Illness/Intellectual Disability

     Ohio Depts. of Mental Health      Professor of Dual Diagnosis                           2003-present
     And Developmental Disability      Funded professorship supported by state agencies

     Wright State University           Division Director, Intellectual Disability            2003-present

     Consumer Advocacy Model           Medical Director                                      2003-2014

     Twin Valley Behavioral Health     Attending Physician                                   2000-2003

     Twin Valley Behavioral Health     Medical Officer                                        1998-2000

     Grandview Hospital                Medical Officer                                        1999-2000

     Veterans Administration           Medical Officer                                        1998-2000
     Medical Center, Dayton, Ohio


     PROFESSIONAL MEMBERSHIPS
     Association


     Vice Dean Search Committee BSOM              Chair                                      2021
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 81 of 106 PAGEID #: 4082


     Curriculum Vitae
     Julie P. Gentile MD                                                              June 2022

     Innovations in Clinical Neuroscience     National Editor, Psychotherapy Column      2018-present

     Dean Search Committee BSOM               Committee Member                           2020

     Wright State Physicians Inc.             Finance Committee                          2019-present

     Wright State Dept. of Psychiatry         Residency Training Committee               2016-present

     Wright State BSoM                        WSP Steering Committee                     2018

     Wright State Physicians Inc.             Board of Directors                         2016-present

     Wright State BSoM                        Promotions/Advancement Committee           2017-2019

     Wright State BSoM                        Promotions/Advancement, Chair              2018-2019

     Wright State BSoM                        Executive Committee                        2017-present

     WSU Boonshoft SOM                        Chair, Nominating Committee                2016-2017

     Ohio Psychiatric Physicians Assn         Chair, Telepsychiatry Committee            2017-present

     Ohio Abuse Advisory Committee            Statewide Advisory Board Member            2015-2016

     Ohio Trauma Advisory Committee           Statewide Co-Chair                         2014-present

     Toward Independence, Inc.                Board of Trustees                          2015-present

     Menolascino Award Committee              Member, Chair (2014-2015; 2018-present) 2013-present

     Wright State University                  Advisory Board Member                      2014-2018
     Dean's Advisory Leadership Council

     Wright State University                  President                                  2014-2015
     Academy of Medicine                      Membership Chair                           2011-2013
                                              Awards Chair                               2009-2011
                                              Board of Trustees                          2006-2018

     WSU Boonshoft SOM                        Research Committee                         2011-2012

     Resident Home Corporation                Board of Trustees                          2011-2014

     Montgomery Developmental Center          Member                                     2010-2017
     Citizen's Advisory Council

     Positive Culture Institute               Appointed Statewide Leader                 2009-2013

     Butler County START Program              Advisory Board Member                      2009-2012

     American Psychiatric Association         Distinguished Fellow                       2017-present
                                              Fellow                                     2012-2016
                                              Member                                     2008-present

     Ohio Psychiatric Physician Association   Member                                     2008-present

     NADD Psychopharmacology Group            National Chair                             2008-present
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 82 of 106 PAGEID #: 4083


     Curriculum Vitae
     Julie P. Gentile MD                                                             June 2022


     WSU Department of Psychiatry           Member                                       2005-2012
     Promotions Committee

     Innovations in Clinical Neuroscience   Editorial Board Member                       2005-present

     Ohio Behavioral Pharmacy Management    Advisory Board Member                        2005-2007

     Twin Valley Behavioral Healthcare      Medical Staff Executive Committee            2002-2003

     Twin Valley Behavioral Healthcare      Task Force: Management of the Suicidal Patient 2001-2002

     Wright State University/               Member                                       2000-2006
     University of Dayton Collaborative
     For Service Leaming

     Wright State University                Psychotherapy Supervision Task Force         2000
     Dept. of Psychiatry

     Wright State University                Residency Training Committee                  1998-1999
     Dept. of Psychiatry


     PROFESSIONAL AW ARDS

     Title of Award                         Granting Association                         Date

     America's Best Doctors                 America's Best Doctors, Inc.                 2021-2022

     America's Best Doctors                 America's Best Doctors, Inc.                 2020-2021

     Who's Who in America                   Who's Who in America, Inc.                   2019-2020

     America's Best Doctors                 America's Best Doctors, Inc.                 2019-2020

     America's Best Doctors                 America's Best Doctors, Inc.                 2018-2019

     Best Doctors in America                Best Doctors, Inc.                           2018-2019

     Best Doctors in America                Best Doctors, Inc.                           2017-2018

     Humanitarian Award                     United Rehabilitation Services               2017

     Faculty Recognition Award              WSU Dept. of Psychiatry Residents            2017

     American Psychiatric Association       Distinguished Fellow Designation             2017

     Citizen's Award                        Dayton Police Department                     2017

     Best Doctors in America                Best Doctors, Inc.                           2016-2017

     Best Doctors in America                Best Doctors, Inc.                           2015-2016

     Best Doctors in America                Best Doctors, Inc.                           2014-2015
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 83 of 106 PAGEID #: 4084


     Curriculum Vitae
     Julie P. Gentile MD                                                                   June 2022

     Frank J. Menolascino National Award           Nat'l Assoc. for the Dually Diagnosed      2013

     Best Doctors in America                       Best Doctors, Inc.                         2013-2014

     Best Doctors in America                       Best Doctors, Inc.                         2012-2013

     Best Doctors in America                       Best Doctors, Inc.                         2011-2012

     Lifetime Career Achievement Award             WSU Department of Psychiatry                2011

     American Psychiatric Association              Fellow                                     2010

     Top Ten Woman of the Year                     Dayton Daily News                          2010

     Frank J. Menolascino National Award           American Psychiatric Association           2010

     Golden Apple Teaching Award                   WSU Department of Psychiatry               2010

     National Award for Clinical Excellence        Nat'l Assoc. for the Dually Diagnosed      2009

     Director's Award                              Mont. County Board ofDD                    2008

     Hall ofFame for Excellence in DD              Mont. County Board of DD                   2008

     AOA Medical Honor Society                     Wright State University                    2007

     Faculty Recognition Award                     WSU Dept. of Psychiatry                    2006

     Junior Faculty Award for Excellence in        WSU Academy of Medicine                    2006
     Medical Student Education

     Chair's Recognition Award                     WSU Dept. of Psychiatry                    2005

     Nancy A. Roeske, M.D.                         American Psychiatric Association           2005
     Excellence in Medical Student Education

     Future Leaders in Psychiatry Award            Emory School of Medicine                   2004

     Dr. Allen Outstanding Resident Award          WSU Dept. of Psychiatry                    1999-2000



     GRANTS AND CONTRACTS
     Total Awards (2003-present): $11,414,531

     Ohio Department of Mental Health and Addiction Services
     Principal Investigator: Julie P. Gentile, MD, MBA
     Title: Training Series Mental Illness/Intellectual Disability
     Direct Costs: $200,000, 2022

     Ohio Department of Developmental Disability
     Principal Investigator: Julie P. Gentile MD, 2022
     Title: Consultant to Director Hauck
     Direct Costs: $90,000 (Renewed 2023)
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 84 of 106 PAGEID #: 4085


     Curriculum Vitae
     Julie P. Gentile MD                                                                  June2022

     Ohio Department of Developmental Disability
     Principal Investigator: Julie P. Gentile MD, 2021
     Title: Consultant to Director Davis
     Direct Costs: $78,000

     Ohio Department of Developmental Disability
     Principal Investigator: Julie P. Gentile MD, 2022
     Title: Ohio's Telepsychiatry Project for Intellectual Disability
     Direct Costs: $250,000 Renewed 2023)

     Ohio Department of Developmental Disabilities
     Principal Investigator: Julie P. Gentile, M.D., 2022
     Title: DODD Training Grant: Dual Diagnosis: Mental Illness/Intellectual Disability
     Direct Costs: $90,000 (Renewed 2023)

     Ohio Department of Developmental Disabilities
     Principal Investigator: Julie P. Gentile, M.D., 2017
     Title: Professor of Dual Diagnosis, Mental Illness/Intellectual Disability
     Direct Costs: $80,000 (Renewed 2018, 2019, 2020. 2021)

     Ohio Department of Developmental Disability
     Principal Investigator: Julie P. Gentile MD, 2013
     Title: Ohio's Telepsychiatry Project for Intellectual Disability
     Direct Costs: $225,000 (renewed 2014, 2015, 2016, 2017, 2018, 2019, 2020, 2021)

     Montgomery County Board of Developmental Disabilities
     Principal Investigator: Julie P. Gentile, MD, 2014
     Title: Professor of Dual Diagnosis in Mental Illness/Intellectual Disability
     Direct Costs: $34,033 (renewed 2015, 2016, 2017, 2018, 2019, 2020, 2021, 2022)

     Ohio Dept. Job and Family Services, Dept. of Developmental Disability and Dept. of Mental Health
     Principal Investigator: Julie P. Gentile MD, 2012
     Title: Ohio's Telepsychiatry Project for Intellectual Disability
     Direct Costs: $133,300

     Ohio Dept. Job and Family Services, Dept. of Developmental Disability and Dept. of Mental Health Principal
     Investigator: Julie P. Gentile MD, 2012
     Title: Ohio's Telepsychiatry Project for Intellectual Disability
     Direct Costs: $50,000

     Ohio Department of Mental Health and Addiction Services
     Principal Investigator: Julie P. Gentile, MD, 2011
     Title: Coordinating Center of Excellence in Mental Illness/Intellectual Disability
     Direct Costs: $85,500 (renewed 2012, 2013, 2014, 2015, 2016, 2017, 2018, 2019, 2020, 2021, 2022)

     Ohio Department of Mental Health and Addiction Services
     Principal Investigator: Julie P. Gentile, MD, 2010
     Title: Coordinating Center of Excellence in Mental Illness/Intellectual Disability
     Direct Costs: $95,000

     Ohio Department of Mental Health
     Principal Investigator: Julie P. Gentile, MD, 2010
     Title: TSIG Funding/Coordinating Center of Excellence in Mental Illness/ Intellectual Disability
     Direct Costs: $100,000

     Ohio Department of Mental Health
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 85 of 106 PAGEID #: 4086


     Curriculum Vitae
     Julie P. Gentile MD                                                                  June 2022

     Principal Investigator: Julie P. Gentile, MD, 2009
     Title: TSIG Funding/Coordinating Center of Excellence in Mental Illness/ Intellectual Disability
     Direct Costs: $50,000

     Ohio Department of Mental Health
     Principal Investigator: Julie P. Gentile, MD, 2009
     Title: Coordinating Center of Excellence in Mental Illness/Intellectual Disability
     Direct Costs: $150,000

     Montgomery County Board of Developmental Disabilities
     Principal Investigator: Julie P. Gentile, MD, 2008
     Title: Professor of Dual Diagnosis in Mental Illness/Intellectual Disability
     Direct Costs: $32,445 (renewed 2009, 2010, 2011, 2012, 2013)

     Ohio Department of Mental Health
     Principal Investigator: Julie P. Gentile, MD, 2007
     Title: Coordinating Center of Excellence in Mental Illness/Intellectual Disability
     Direct Costs: $80,000 (renewed 2008)

     Montgomery County Board of Developmental Disabilities
     Principal Investigator: Julie P. Gentile, M.D., 2006
     Title: Professor of Dual Diagnosis in Mental Illness/Intellectual Disability
     Direct Costs: $31,500 (renewed 2007)

     Ohio Department of Mental Health
     Principal Investigator: Julie P. Gentile, M.D., 2004
     Title: Coordinating Center of Excellence in Mental Illness/Intellectual Disability
     Direct Costs: $75,000 (renewed 2005, 2006)

     Ohio Department of Mental Retardation and Developmental Disabilities
     Principal Investigator: Julie P. Gentile, M.D., 2004
     Title: Coordinating Center of Excellence in Mental Illness/Intellectual Disability
     Direct Costs: $75,000 (renewed 2005, 2006, 2007, 2008)

     Ohio Developmental Disabilities Council
     Principal Investigator: Julie P. Gentile, M.D., 2004
     Title: Coordinating Center of Excellence in Mental Illness/Intellectual Disability
     Direct Costs: $75,000 (renewed 2005, 2006, 2007, 2008, 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016)

     Ohio Department of Mental Health
     Principal Investigators: Ann Morrison, M.D., 2003
     Co-Investigator: Julie P. Gentile, M.D.
     Title: Community Psychiatry Residency Training
     Direct Costs: $30,000 (renewed 2004, 2005, 2006, 2007, 2008)

     Ohio Department of Developmental Disabilities
     Principal Investigator: Julie P. Gentile, M.D., 2003
     Title: Professor of Dual Diagnosis, Mental Illness/Intellectual Disability
     Direct Costs: $30,000 (renewed 2004, 2005, 2006, 2007, 2008, 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016,
     2017)

     Montgomery County Board of Developmental Disabilities Services
     Principal Investigator: Julie P. Gentile, M.D., 2003
     Title: Professor of Dual Diagnosis in Mental Illness/Intellectual Disability
     Direct Costs: $30,000 (renewed 2004, 2005)
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 86 of 106 PAGEID #: 4087


     Curriculum Vitae
     Julie P. Gentile MD                                                                    June 2022


     Montgomery County Alcohol, Drug and Mental Health Services Board
     Principal Investigator: Julie P. Gentile, M.D., 2003
     Title: Professor of Dual Diagnosis in Mental Illness/Intellectual Disability
     Direct Costs: $30,000 (renewed 2004, 2005, 2006, 2007, 2008, 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016,
     2017,2018,2019,2020,2021)


     PRINTED SCHOLARSHIP
     Peer Reviewed Articles

     Harper K, Gentile JP, Bhatt NV. Medical Student-Patients: Mental Wellness During the.Pandemic. 2023:20 (4-6). In
     Press.

     Harper K, Gentile JP, Bhatt N, Cannella J. Psychotropics Used to Treat Substance Use Disorders in Adolescents.
     Accepted for publication. In Press.

     Gentile JP, Bhatt N, Cannella J, Harper K, Johnson J. Personality Disorders in Patient with InteIIectual Disability.
     Accepted for publication. In Press.

     Gentile JP, Bhatt NV, Harper K, Johnson JA. Adult ADHD: A Brief Review. J Qual Healthcare Eco 2022, 5(3):
     000273. ISSN: 2642-6250

     Harper K, Gentile JP. Psychotherapy for Violent Behavior in Children and Adolescents. Innovations in Clinical
     Neuroscience 2022. 19 (7-9).

     Harper K, Gentile JP. Psychotherapy for Adult ADHD (Attention Deficit Hyperactivity Disorder). Innovations in
     Clinical Neuroscience 2022:19 (10-12).

     Gentile JP, Bhatt NV, Johnson JA. Reactive Lymphadenopathy: Triggering False Positives on Magnetic Resonance
     Imaging. J Qual Healthcare Eco. 2022:5(3):000270

     Nita Bhatt, Jesse Cannella, Julie P Gentile. Brief Review: Psychological Health and Life Quality of Cerebral Palsy.
     Am J Biomed Sci & Res. 2022- 16(1). AJBSR.MS.ID.002194. DOI: 10.34297/AJBSR.2022.16.002

     Bhatt Nita V., Guina JP, Gentile JP. Neurologic Conditions in Individuals with Intellectual Disability. J Men Health
     Psy Dis (2021) Vol 2(103):1-6.

     Maharaj, Anjuli S. DO; Bhatt, Nita V. MD, MPH; Gentile, Julie P. MD; Bringing It In The Room: Addressing The
     Impact Of Racism On The Therapeutic Alliance, Innovations Clinical Neuroscience, 2021.

     Amin M, Gentile JP, Edwards B, Davis M. Evaluation of Health Care Disparities for Individuals with Intellectual
     and Developmental Disabilities in Ohio. Community Mental Health Journal. Springer Publishing, 2021 57(3), 482-
     489. https://doi.org/10.1007/s 10597-020-00669-6

     Amin M, Gentile JP, Edwards B, Davis M. Evaluation of Health Care Disparities for Individuals with Intellectual
     and Developmental Disabilities in Ohio. Community Mental Health Journal. Springer Publishing, 2020.
     https://doi.org/10.1007/sl 0597-020-00669-6

     Mast R, Harper B, Pollack K, Gentile JP. Pharmacologic Treatment of Attention Deficit Disorder in Children and
     Adolescents: Executive Function Agents, Stimulants and Sympathomimetics. Journal of Clinical Medicine and
     Therapeutics. Vol 4, No 1: 2019.
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 87 of 106 PAGEID #: 4088


     Curriculum Vitae
     Julie P. Gentile MD                                                                    June 2022

     Mast Rand Gentile JP. Sports Psychiatry: The Mental Health Needs of the College Athlete. Journal ofOrthopedics
     and Sports Medicine. 1 (2019): 037-045.

     Merrill BM, Cowan AE, and Gentile JP. House Calls: Telepsychiatry In Patients with Intellectual Disability. Ann
     Med Health Sci Res. 2017; 7: 463-465.

     Dixon D and Gentile JP. Prescribing Psychotropic Medications in Patients with Intellectual Disability: Review and
     Clinical Pearls. Journal of Childhood and Developmental Disorders. Vol 3 No 4:23. December 2017. DOI:
     10 .4172/2472-1786.100061
     Gentile JP. Interview with the Experts. Intellectual Disability Psychiatry. The Carlat Review (Invited). Sept, 2017.

     Gentile JP and Dixon D. Phannacology in Intellectual Disability. The Carlat Review (Invited). Sept, 2017.

     Gentile JP, Cowan AE, Mast R, Harper B, Merrill BM. Reaching Rural Ohio with Intellectual Disability
     Telepsychiatry. Journal ofTelemedicine and Telecare, 0(0) 1-6. sagepub.co.uk/journals. DOI:
     10.l 177/1357633Xl7706035. April 2017.

     Gentile JP and Gillig PM. Intellectual Disability: Risk For. SAGE Encyclopedia of Abnormal and Clinical
     Psychology. SAGE Publications, Inc. Los Angeles, CA. 2016.

     Gentile JP and Cowan AE. Intellectual Disability: Biological Factors. SAGE Encyclopedia of Abnonnal and
     Clinical Psychology. SAGE Publications, Inc. Los Angeles, CA. 2016.

     Weiffenbach JR and Gentile JP. Serotonin Norepinephrine Reuptake Inhibitors. SAGE Encyclopedia of Abnonnal
     and Clinical Psychology. SAGE Publications, Inc. Los Angeles, CA. 2016.

     Freeland T and Gentile JP. Delusions. SAGE Encyclopedia of Abnonnal and Clinical Psychology. SAGE
     Publications, Inc. Los Angeles, CA. 2016.

     Gentile JP, Gillig PM, Stinson K, Jensen J. Toward Impacting Medical and Psychiatric Comorbidities in Persons
     with Intellectual/Developmental Disabilities: An Initial Prospective Analysis. Innov Clin Neurosci. 2014;11(11-
     12):22-26.

     Gentile JP. Book Review: Robert J. Fletcher (Ed.) Psychotherapy for Individuals with Intellectual Disability.
     Kingston, NY: NADD Press, ISBN# 978-1572561281. Journal ofMental Health Research in Intellectual Disability,
     00; 1-2, November 2014.

     Gentile JP, Cowan AE and Smith AB. (2014) Physical Health of Patients with Intellectual Disability. Advances in
     Life Sciences and Health/Scientific Publishing. Retrieved from http://www.scipublish.com/journals/ALSH 3403-
     983.

     Gentile JP, Snyder M and Gillig PM. Stress and Trauma: Psychophannacology and Psychotherapy for Patients with
     Dissociative/Depersonalization Disorder. Innovations in Clinical Neuroscience.2014;11(7-8):37-41.

     Gentile JP, Dillon KS and Gillig PM. Psychopharmacology and Psychotherapy for Patients with Dissociative
     Identity Disorder. Innovations in Clinical Neuroscience. 2013;10(2):22-29.

     Anklesaria A and Gentile JP. Psychotherapy With Women Who Have Worked in the 'Sex Industry.'
     Innovations in Clinical Neuroscience. 2012;9(10):16-23.

     Manetta CT, Gentile JP and Gillig PM. Examining the Therapeutic Relationship and Confronting Resistances in
     Psychodynamic Psychotherapy: A Certified Public Accountant Case. Innovations in Clinical Neuroscience.
     2011;8(5).
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 88 of 106 PAGEID #: 4089


     Curriculum Vitae
     Julie P. Gentile MD                                                                 June 2022

     Foley GN and Gentile JP. Nonverbal Communication in Psychotherapy. Psychiatry (Edgemont) 2010;7(6):38-44

     Jensen JA, Gentile JP and Wyatt R. Nighttime Anxieties. Current Psychiatry: Cases That Test Your Skills. Vol. 9,
     No. 5. May 2010.

     Johnson A, Gentile JP, Correll TL. Accurately Diagnosing and Treating Borderline Personality Disorder: A
     Psychotherapeutic Case. Psychiatry (Edgemont) 2010;7(4):21-30.

     Gentile JP and Roman B. Medical Student Mental Health Services: Psychiatrists Treating Medical Students.
     Psychiatry (Edgemont) 2009 May;6(5):38-45

     McAweeney M, Rogers N, Huddleson C, Moore D, Gentile JP. Symptom Prevalence of ADHD in a
     Community Residential Substance Abuse Treatment Program. 2009. (http://iad.sagepub.comL)

     Gentile JP, Jackson C. Supportive Psychotherapy for the Patient with Dual Diagnosis: Mental Illness/Intellectual
     Disabilities, Psychiatry (Edgemont) 2008;5(3):49-57

     Gentile JP. Mandated Psychotherapy with the Impaired Physician. Psychiatry (Edgemont) 2008;5(2):42-50

     Gentile JP, Niemann P. Supportive Psychotherapy in a Patient with Schizophreniform Disorder. Psychiatry
     (Edgemont) 2006;3(1 ):56-61

     Gentile JP, Atiq ,R, Gillig PM. Psychotherapy for the Patient with Adult ADHD. Psychiatry (Edgemont),
     2006;3(8):31-35

     Gentile JP, Atiq R, Gillig PM. Adult ADHD: Diagnosis, Differential Diagnosis, and Medication Management.
     Psychiatry (Edgemont). 2006;3(8):24-30

     Gillig PM, Gentile JP, Atiq R. Attention Deficit/Hyperactivity Disorder in Adults, Hospital Physician, Psychiatry
     Board Review Manual, 2005;9(2):61-72

     Gentile JP, Hubner M. Bereavement in Patients with Dual Diagnosis Mental Illness and Mental
     Retardation/Developmental Disabilities, Psychiatry (Edgemont). 2005 ;2(10):56-61

     Gentile JP, Gillig PM. Supportive Psychotherapy in a Patient with Mental Retardation. Psychiatry (Edgemont).
     2004;1(2):49-54

     Gentile JP, Morrison A. Panic Disorder in a Male Patient Following a Car Accident: Supportive Psychotherapy.
     Psychiatry (Edgemont). 2004; 1(3 ):36-41

     Gentile JP. Pathological Grief, Hospital Physician, Psychiatry Board Review Manual, February 2004:2-11

     Gillig PM, Gentile JP, Atiq R. Attention Deficit Hyperactivity Disorder in Adults. Journal of Clinical Outcomes
     Management, January 2004;11(1):51-60

     Sansone RA, Gentile JP, Markert RJ. Drug Allergies Among Patients With Borderline Personality
     Symptomatology. General Hospital Psychiatry 2000. Jul-Aug;(4):289-290

     Chapters in Books

     Mast R, Harper B, Pollack K, Gentile JP. "Pharmacologic Treatment of Attention Deficit Disorder in Children and
     Adolescents: Executive Function Agents, Stimulants, and Sympathomimetic Amines" in Journal of Clinical
     Medicine and Therapeutics 2019 Vol.4 No.1:18.
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 89 of 106 PAGEID #: 4090


     Curriculum Vitae
     Julie P. Gentile MD                                                                    June 2022

     Bien E and Gentile JP. Traumatic Brain Injury. Quick Reference Guide to Intellectual Disabilities.
     Springer Publishing Company, New York, New York, 2019.

     Gentile JP and Bien E. Medical Assessment. Quick Reference Guide to Intellectual Disabilities.
     Springer Publishing Company, New York, New York, 2019.

     Gentile JP and Cowan AC. Psychotherapy. Quick Reference Guide to Intellectual Disabilities.
     Springer Publishing Company, New York, New York, 2019.

     Gentile JP. Introduction to Intellectual Disability Psychiatry. Quick Reference Guide to Intellectual
     Disabilities. Springer Publishing Company, New York, New York, 2019.

     De Koning N, Moreland F, Gentile JP, Troost, P. Feeding and Eating Disorders. Diagnostic Manual
     - Intellectual Disability, Second Edition. (2016)

     De Koning N, Moreland F, Gentile JP, Troost, P. Feeding and Eating Disorders. Diagnostic Manual
     - Intellectual Disability - A Clinical Guide. Second Edition. (2016).

     Gentile JP, Benson B, Gillig PM, Fleisher M, Cowan AC. Obsessive Compulsive and Related
     Disorders. Diagnostic Manual - Intellectual Disability, Second Edition. (2016)

     Gentile JP, Benson B, Gillig PM, Fleisher M, Cowan AC. Obsessive Compulsive and Related
     Disorders. Diagnostic Manual - Intellectual Disability - A Clinical Guide. Second Edition. (2016).

     Gentile JP, Manetta CT and Jackson CS. Mental Illness and Intellectual Disability. Book chapter
     from Textbook of Modem Community Mental Health Work. Oxford University Press (2013).

     Cowan AE and Gentile JP. Overview: Psychiatry of Intellectual Disability. In Psychiatry of
     Intellectual Disability. Eds. Gentile JP and Gillig PM. Wiley and Sons (2012).

     Gentile JP and Monro MA. Medical Assessment. In Psychiatry of Intellectual Disability. Eds.
     Gentile JP and Gillig PM. Wiley and Sons (2012).

     Gentile JP and Gillig PM. Interviewing Individuals with Intellectual Disability. In Psychiatry of
     Intellectual Disability. Eds. Gentile JP and Gillig PM. Wiley and Sons (2012).

     Gentile JP and Cowan AE. Personality Disorders. In Psychiatry of Intellectual Disability. Eds.
     Gentile JP and Gillig PM. Wiley and Sons (2012).

     Gentile JP and Gillig PM. Aggression. In Psychiatry oflntellectual Disability. Eds. Gentile JP and
     Gillig PM. Wiley and Sons (2012).

     Manetta CT and Gentile JP. Psychotropic Medications. In Psychiatry oflntellectual Disability. Eds.
     Gentile JP and Gillig PM. Wiley and Sons (2012).

     Jackson CS and Gentile JP. Psychotherapy. In Psychiatry oflntellectual Disability. Eds. Gentile JP
     and Gillig PM. Wiley and Sons (2012).

     Gentile JP and Roman B. Trauma and Severe Anxiety. In More Than Medication: Incorporating Psychotherapy Into
     Community Psychiatry Appointments. Eds. Gillig PM and Morrison A. (2009)

     Roman B, Gentile JP and Morrison A. Psychotherapy with Psychotic Patients. In More Than Medication:
     Incorporating Psychotherapy Into Community Psychiatry Appointments. Eds. Gillig and Morrison (2009)
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 90 of 106 PAGEID #: 4091


     Curriculum Vitae
     Julie P. Gentile MD                                                                 June 2022

     Weston C and Gentile JP. Psychotherapy with Children, Families, and Patients with Intellectual/ Developmental
     Disabilities. In More Than Medication: Incomorating Psychotherapy Into Community Psychiatry Appointments.
     Eds. Gillig PM and Morrison A. (2009)

     Coleman F, Gentile JP, Morrison A. Homeless Veterans, In Clinical Guide to the Treatment of The Mentally Ill
     Homeless Person. Gillig PM, McQuistion HL, Editors, American Association of Community Psychiatrists. 2006:
     141-150

     Books

     Gentile JP, Cowan AC and Dixon DW. Quick Reference Guide to Intellectual Disabilities. Springer
     Publishing Company, New York, New York, 2019.

     Gentile JP and Gillig PM (2012). Psychiatry of Intellectual Disability: UK: Wiley and Sons.

     PRESENTATIONS (Abbreviated list)
     •   National Keynote: Global Lessons from a Global Pandemic 2021. National Meeting/or National Association
         of the Dually Diagnosed. (Virtual due to Pandemic).

     •   National Presentation: Forgotten No More: Intellectual Disability Psychiatry Updates 2021. American
         Psychiatric Association National Conference 2021 (Virtual due to pandemic.)

     •   National Presentation: Outrunning The Bullet: What Psychiatrists Should Know About Mass Shootings.
         American Psychiatric Association National Conference 2021. (Virtual due to pandemic.)

     •   National Presentation: Transgender Affirming Care: What Every Psychiatrist Should Know. American
         Psychiatric Association National Conference 2021 (Virtual due to pandemic.)

     •   National Presentation: Dual Diagnosis: Co-occurring Conditions. Washington DC State Board of DDS
         Annual Conference. Virtual due to pandemic.

     •   National Presentation: Forgotten No More: Intellectual Disability Psychiatry Updates 2020. American
         Psychiatric Association National Conference 2020. Philadelphia PA. (Invited; cancelled due to pandemic)

     •   National Presentation: Outrunning The Bullet: What Psychiatrists Should Know About Mass Shootings.
         American Psychiatric Association National Conference 2020. Philadelphia PA. (Invited; cancelled due to
         pandemic)

     •   National Presentation: Transgender Affirming Care: What Every Psychiatrist Should Know. American
         Psychiatric Association National Conference 2020. Philadelphia, PA. (Invited; cancelled due to pandemic)

     •   National Presentation: Forgotten No More: Intellectual Disability Psychiatry Updates 2019. American
         Psychiatric Association National Conference 2019. San Francisco, CA.

     •   National Presentation: What Cannot Be Stated With Words: Nonverbal Patients with IDD and Traumatic
         Brain Injuries. American Psychiatric Association National Conference 2019. San Francisco, CA.

     •   Indiana University Grand Rounds: Four Keys to Success/or Transition Age Autism. Indiana University,
         Indianapolis IN, January 2019. (Invited)

     •   National Presentation: Forgotten No More: Intellectual Disability Psychiatry. American Psychiatric
         Association National Conference, New York City, NY, May 2018.
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 91 of 106 PAGEID #: 4092


     Curriculum Vitae
     Julie P. Gentile MD                                                                 June 2022

     •   National Presentation: Games of Thrones and Jessica Jones: Clinical Application ofRape Culture.
         American Psychiatric Association National Conference, New York City, NY, May 2018.

     •   National Presentation: Challenging Behaviors: Assessment, Pharmacology and Trauma Informed Care in
         Intellectual Disability. Boggs Institute on Developmental Disabilities. Rutgers University, New Jersey, May
         2018. (Invited)

     •   National Presentation: Four Keys To Success/or Transition Age Autism. Michigan State University, Grand
         Rapids, MI. November 2017. (Invited)

     •   National Presentation: Trauma Informed Practices and Psychopharmacology in ID Psychiatry. New Jersey
         State Department of Developmental Disabilities, October 2017, New Jersey. (Invited)

     •   National Presentation: Trauma Informed Practices in ID Psychiatry. Indiana State Department of
         Developmental Disabilities, October 2017, Indianapolis, IN. (Invited)

     •   National Presentation: Break on Through to the Other Side: ID Psychiatry Residency Training Curriculum
         and Ohio's Telepsychiatry Project and Coordinating Center of Excellence. American Psychiatric Association,
         May 2017. San Diego, CA.

     •   National Presentation: The Four Keys to Success for Successful Transition Age Autism. Michigan
         Psychiatric Association, April 2017 Ann Arbor, MI (Invited)

     •   Plenary Session: National Association for State Directors ofDevelopmental Disabilities Systems: Trauma
         Informed Care and the Use of Technology for Intellectual Disabilities, Baltimore MD. August 2016. (Invited)

     •   National Teleconference Presentation: Ohio's Telepsychiatry Project for ID: Practicing Medicine in the
         Digital World. October, 2015. (Invited)

     •   National Videoconference Presentation: Trauma Informed Care in the Intellectual Disability Population.
         National Association of State Directors of Developmental Disability Services. Broadcast to 135 sites in the US.
         September 2014. (Invited)

     •   National Presentation: Team Ohio: Resources for !DID. National Association of State Directors of
         Developmental Disability Services. New Orleans, LA in June 2014. (Invited)

     •   Keynote Presentation: Trauma Informed Care in the Intellectual Disability Population. National Association of
         State Directors of Developmental Disability Services. New Orleans, LA in June 2014. (Invited)

     •   Anxiety Disorders in Intellectual Disability Across the Lifespan. National Association for the Dually Diagnosed
         Annual Conference in Baltimore, MD in October 2013

     •   Obesity in Intellectual/Developmental Disability Symposium. National Association for the Dually Diagnosed
         Annual Conference, Denver, CO in October, 2012. (Invited)

     •   Keynote Presentation: Brealifast with the Experts: Psychotropic Medications and Organ System Review for
         Patients with ID: National Association for the Dually Diagnosed Annual Conference, Nashville, TN in November,
         2011 (Invited Expert)

     •   Grief and Loss in ID: Psychotherapy and Pharmacotherapy. National Association for the Dually Diagnosed
         Annual Conference, Nashville, TN in November, 2011.

     •   Psychiatric Treatment for Patients with Co-occurring Mental Illness and Developmental Disabilities, October,
         2010 at the American Psychiatric Institute, Boston, MA (Invited)
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 92 of 106 PAGEID #: 4093


     Curriculum Vitae
     Julie P. Gentile MD                                                                  June 2022

     •   Keynote Presentation: The Ohio Coordinating Center ofExcellence in Mental J/lness/Developmental
         Disabilities and Psychiatric Treatment ofthe Patient with Dual Diagnosis: New York City, NY in December,
         2008

     •   National Association for the Dually Diagnosed National Teleconference Series: Chief Complaint: Aggression
         in the Dual Diagnosis Patient in August, 2008 (Invited)

     •   Drug Costs and Best Practices in Psychopharmacology in IDD: The Ohio Experience: National Association for the
         Dually Diagnosed 24th Annual Conference, Atlanta, Georgia in October, 2007

     •   Keynote Presentation: Breakfast with the Experts: Psychiatric Treatment/Psychotropic Medications/Best Practices
         for Patients with Cognitive Deficits: National Association for the Dually Diagnosed 24th Annual Conference,
          Atlanta, Georgia in October, 2007 (Invited Expert)

     •   Keynote Presentation: The Role ofthe Psychiatrist on the Multidisciplinary Team: National Association for the
         Dually Diagnosed at Penn State, State College, PN in May, 2007

     •   Fragile X Syndrome and Williams Syndrome: National Association for the Dually Diagnosed at Penn State, State
         College, PN in May, 2007 (Invited)

     •   Psychotropic Medications in the Patient with Dual Diagnosis: Teleconference presentation to 23 locations in
         USA and Canada for National Association for the Dually Diagnosed in April, 2006


     Statewide

         •   Keynote: Four Keys to Success in Dual Diagnosis. National Association for the Dually Diagnosed. July 12,
             2021. (Invited)

         •   Keynote: New Frontiers in Autism Spectrum Disorder. National Association of the Dually Diagnosed. July
             12-14, 2021. (Invited)

         •   Keynote: New Pharmacologic Treatments in IDD Psychiatry. National Association for the Dually
             Diagnosed. Columbus OH, September 2016 (Invited)

         •   County Collaborative Teams and Intellectual Disability Psychiatry; Bowling Green, Ohio; November 2016

         •   Pharmacology/Assessment/Behavioral Supports for IDD; DDIT Teams; Columbus OH; October 2016

         •   National Association for the Dually Diagnosed Ohio Statewide Conference: Obsessive Compulsive and
             Related Disorders in the Intellectual Disability Population: The OM-ID Book Chapter. Columbus Ohio.
             September 2016.

         •   Academy of Direct Care Professionals: Trauma Informed Care in the IDD Patient Population. Cincinnati
             Ohio. August 2016.

         •   Trauma Informed Care and Intellectual Disability Psychiatry; Northwest Ohio Regional Conference; May
             2016

         •   IDD ACE Trauma Study Preliminary Results; Columbus OH; May 2016
         •   Trauma Informed Care for IDD; Statewide Webinar for the Ohio Department of Developmental
             Disabilities; May 2016

         •   Trauma Informed Care for IDD; Statewide Webinar for the Ohio Department of Developmental
             Disabilities; April 2016
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 93 of 106 PAGEID #: 4094


     Curriculum Vitae
     Julie P. Gentile MD                                                                  June 2022


         •   Trauma lnfonned Care and Intellectual Disability Psychiatry for Inpatient Unit; Athens Regional
             Psychiatric Hospital; April 2016

         •   Trauma Infonned Care and Intellectual Disability Psychiatry for Children; Ohio Dept. of Health Regional
             Conference, Columbus, OH; March 2016

         •   Trauma Infonned Care and Intellectual Disability Psychiatry for Children; Ohio Dept. of Health Regional
             Conference; Beavercreek, OH; March 2016

         •   Ohio Department of Health: Trauma Informed Care in Persons with Intellectual Disability.
             Reynoldsburg, Ohio. March 2016 (Invited)

         •   Ohio Department of Health: Trauma Informed Care in Persons with Intellectual Disability. Beavercreek,
             Ohio. March 2016 (Invited)

         •   Trauma Infonned Care; Lucas/Wood Counties Regional Conference; October 2015

         •   Southwest Ohio Trauma Infonned Care Regional Conference; October 2015

         •   Montgomery County Board ofDDS SSA Training: Trauma Infonned Care; October 2015

         •   Trauma Advisory Committee: Overview of MI/ID and Trauma in IDD; November 2014

         •   Athens County Regional Trauma Conference; November 2014

         •   Delaware County: Trauma Infonned Treatment for IDD; Delaware County Regional Conference,
             November 2014

         •   Keynote Presentation: Medical Conditions in Intellectual Disability: Cracking the Code. National
             Association for the Dually Diagnosed Ohio Annual Conference; Columbus Ohio, September, 2013

         •   Ohio's Telepsychiatry Project for Intellectual Disability. Ohio Provider Resource Association. Columbus
             Ohio in October 2013

         •   Keynote Presentation: Healing and Hope: A Trauma Treatment Framework. August 2013.

         •   Ohio's Telepsychiatry Project in Intellectual Disability. All Ohio Institute in Cleveland Ohio in March
             2013 (Invited)

         •   Ohio's Telepsychiatry Project for Intellectual Disability. Statewide Adult Protective Services Inc.
             Conference in Cleveland in September 2012 (Invited)

         •   Obesity in Intellectual/Developmental Disability Symposium. National Association for the Dually Diagnosed
             Annual Statewide Conference. Columbus, Ohio in September, 2012

         •   Psychiatry ofBehavior by videoconference delivered to all Ohio Dept. of Mental Health and Dept. of
             Developmental Disabilities locations in Ohio on October 22, 2010 (Invited)

         •   Keynote Presentation: Intellectual/Developmental Disability: Psychiatric Treatment. Statewide Training
             in Columbus OH to the DODD Nurses Association on November I, 2010

         •   Psychiatry of Intellectual Disability at the Ohio Association of County Board conference in Columbus on
             December 3, 20 I O(Invited)
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 94 of 106 PAGEID #: 4095


     Curriculum Vitae
     Julie P. Gentile MD                                                                        June 2022

         •   Positive Culture Initiative at Ohio Provider Resources Association Statewide Conference in March 2010
             (Invited)

         •   Psychiatric Treatment for Dual Diagnosis Patients: Polypharmacy Issues at Ohio County Board
             Association in Columbus, Ohio in December, 2009 (Invited)

         •   Interviewing Techniques and Psychiatric Treatment ofPatients with Dual Diagnosis at Positive Initiative
             Culture in Columbus, Ohio in November, 2009 (Invited)

         •   Psychiatric Treatment and Psychotropic Medications at the PAR statewide conference in October, 2009 in
             Columbus, Ohio (Invited)

         •   Interviewing Patients with Intellectual Disabilities at the Ohio NADD Conference in September 2009 in
             Columbus, Ohio

         •   Keynote Presentation: Chief Complaint: Aggression: National Association for the Dually Diagnosed 6th
             Annual Ohio Statewide Conference, Columbus, Ohio in September, 2008

         •   Complicated Cases: Dual Diagnosis Patients: National Association for the Dually Diagnosed 6th Annual
             Ohio Statewide Conference, Columbus, Ohio in September, 2008

         •   The Mental Illness/Developmental Disabilities Coordinating Center OfE.xce/lence: National Association for
             Mental Illness Annual Conference in Columbus, Ohio in June, 2007

         •   Updates on Dual Diagnosis Intervention Teams, Consultation and Assessment, and Educational Programs
             ofthe CCOE in MIIDD: National Association for Mental Illness Annual Conference in Columbus, Ohio in
             June,2007

         •   Psychiatric Treatment ofthe Dual Diagnosis Patient, Syndromes ofMental Retardation, and Behaviora/
             Support Plans: Summit Behavioral Healthcare Videoconference Series for Behavioral Healthcare
             Organizations, Cincinnati, Ohio, transmitted statewide, in April, 2007 (Invited)

         •   The Ohio Medicaid Psychotropic Database: Prescribing Practices for the Patient with Dual Diagnosis in
             Ohio: National Association for the Dually Diagnosed Annual Ohio Conference, Columbus, Ohio in
             November, 2006

         •   Psychotropic Medications in the Dual Diagnosis Patient: PAR-OHIO Annual Statewide Conference,
             Columbus, OH in October, 2006 (Invited)

         •   Dangerous Side Effects ofPsychotropic Medications: Educational Training for Advocacy and Protective
             Services, Inc., Columbus, Ohio in September, 2006

         •   Syndromes ofMental Retardation, Common Medical Conditions, and Psychotropic Medications in the
             Dual Diagnosis Patient: Statewide Conference, Hudson, Ohio in May, 2006

         •   Psychiatric Assessment and Treatment ofthe Patient with MUDD: Annual Ohio Psychiatric Association
             Statewide Conference in Columbus, Ohio in April, 2006 (Invited)

         •   Syndromes ofMental Retardation: Statewide Conference, in Mansfield, Ohio in April, 2006 (Invited)

         •   Psychiatric Treatment Issues in the Patient with Multiple Disabilities: Statewide Conference, Mansfield,
             Ohio in April, 2006 (Invited)

         •   Keynote Presentation: Fragile X Syndrome: National Association for the Dually Diagnosed Annual Ohio
             Conference, Columbus, Ohio in December, 2005
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 95 of 106 PAGEID #: 4096


     Curriculum Vitae
     Julie P. Gentile MD                                                                 June 2022


         •   Medications in Dual Diagnosis Patients: National Association for the Dually Diagnosed Annual Ohio
             Conference, Columbus, Ohio in December, 2005

         •   Keynote Presentation: Psychiatric Treatment ofthe Patient with Developmental Disabilities: Assessment,
             Behavior Support and Treatment Issues: Statewide Educational Training, Cincinnati, Ohio in October,
             2005

         •   Keynote Presentation: Psychiatric Treatment of the Patient with Developmental Disabilities: Assessment,
             Behavior Support and Treatment Issues: Statewide Educational Training, Cincinnati, Ohio in October,
             2005

         •   Griefand Loss Issues in the Patient with Dual Diagnosis: Ohio Provider Resources Association Annual
             Statewide Conference, Columbus, Ohio in October, 2005 (Invited)

         •   Understanding Your Psychotropic Medications: Ohio Annual Solidarity Conference in Columbus, Ohio,
             September, 2005 (Invited)

         •   The Ohio Coordinating Center of Excellence, Patients with Developmental Disabilities and Mental 11/ness:
             Case Studies: Ohio Department of Mental Retardation and Developmental Disabilities All Staff Training,
             Columbus, Ohio in September, 2005

         •   Syndromes ofMental Retardation: Statewide Dual Diagnosis Conference in Athens, Ohio in April, 2005

         •   Psychotropic Medications and Prescribing Practices for the Dual Diagnosis Patient: Statewide Dual
             Diagnosis Conference in Athens, Ohio in April, 2005

         •   Medications and Treatment Issues For the Patient with Co-Occurring Mental Illness and Developmental
             Disabilities: National Association for the Dually Diagnosed Annual Conference, Columbus, OH in
             December, 2004

         •   Keynote Presentation: Introducing the Ohio Coordinating Center ofExcellence in Mental
             lllness/Developmental Disabilities: National Association for the Dually Diagnosed Annual Ohio
             Conference, Columbus, Ohio in December, 2004

         •   Syndromes ofMental Retardation: Statewide Conference, in Dayton, Ohio in November, 2004

         •   Psychiatric Treatment Issues in the Patient with Multiple Disabilities: Statewide Conference, in Dayton,
             Ohio in November, 2004

         •   Psychotropic Medications for the Dual Diagnosis Population: Ohio Department of Mental Retardation and
             Developmental Disabilities Educational Videoconference, Columbus, Ohio (transmitted to nine additional
             locations across the state) in June, 2004

     Local/Regional

         •   Dayton Psychiatric Society, Wright State University, December 2017

         •   Medical School Research in IDD Psychiatry, Wright State University; December 2016

         •   Dayton Police Academy, Critical Incident Training; December 2016

         •   Violence Against Mental Health Professionals. Consumer Advocacy Model in September 2012.
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 96 of 106 PAGEID #: 4097


     Curriculum Vitae
     Julie P. Gentile MD                                                                    June 2022

         •   Keynote Presentation: Risk Assessment, Biopsychosocial-Developmental Formulation, Psychotropic
             Medication, Psychotherapy and Interpreting Behavior in Warren/Clinton counties in October 2012.

         •   Mental Illness in Intellectual Disability: Collaborative Efforts. Greene' County Board of Developmental
             Disability on February 15, 2011.

         •   Mental Illness/Intellectual Disability presented to Montgomery County Board of ODS Staff on August 18,
             2011 (Invited)

         •   Psychiatry ofIntellectual Disability to CRSI in Champaign/Logan/Madison County staff on April 22, 2011

         •   Critical Incident Training for Dayton Police Officers on October 19, 2010

         •   Psychiatric Treatment ofPatients With Dual Diagnosis, Medical Staff training Knox County in Ma~ch,
             2010 (Invited)

         •   Prescribing Appropriate Medication Regimens for Patients With Dual Diagnosis MIIDD at the statewide
             OPRA Conference in March 2010

         •   Interviewing Techniques and Psychiatric Treatment ofPatients with Dual Diagnosis at Wright State
             University Grand Rounds in Dayton, Ohio in November, 2009

         •   Keynote Presentation: Psychiatric Treatment, Prescription ofAntipsychotic Medication, and Diagnostic
             Assessment to Clark County OD Staff in June, 2009.

         •   Prescribing Antidepressants to Individuals with Dual Diagnosis to Mental Health Staff in Montgomery
             County in June, 2009.

         •   Keynote Presentation: Psychiatric Treatment for the Dual Diagnosis Patient to Clermont County Mental
             Health and MR/DO staff in May, 2009.

         •   The Victim, Witness or Suspect with Developmental Disabilities to Montgomery County Law Enforcement
             Officers in May, 2009.

         •   Psychiatric Treatment ofthe Patient with Developmental Disabilities: Assessment, Behavior Support and
             Treatment Issues: Van Wert, Paulding, and Mercer Counties Educational Training, Van Wert, Ohio in April,
             2008

         •   Behavior Support Plans/Psychotropic Medications/Best Practices in Psychiatric Treatment for the Dual
             Diagnosis Patient (Mental Illness/Developmental Disabilities): Warren and Clinton Counties Educational
             Training, Lebanon, Ohio in April, 2008

         •   Interviewing the Victim, Witness or Suspect with Developmental Disabilities: Critical Incident Training at
             Dayton Police Academy in Dayton, Ohio in February, 2008

         •   Prescribing Psychotropic Medications to Dual Diagnosis Patients: Medical Staff Training for psychiatrists,
             child/adolescent psychiatrists, and family practice physicians in Warren and Clinton Counties, Lebanon, Ohio
             in December, 2007

         •   Treatment for the Patient with Traumatic Brain Injury and Co-occurring Mental Illness: Consumer
             Advocacy Staff Training, Dayton, Ohio in July, 2007

         •   The Suspect, Victim, or Witness with Developmental Disabilities: Critical Incident Training at Dayton Police
             Academy in Dayton, Ohio in February, 2007
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 97 of 106 PAGEID #: 4098


     Curriculum Vitae
     Julie P. Gentile MD                                                                   June 2022

         •   Psychiatric Treatment ofthe Patient with Dual Diagnosis: Allen, Auglaize, Hardin, Van Wert, Paulding,
             Mercer, Wood and Putnam Counties Educational Training in February, 2007

         •   Medications and Treatment for the Dual Diagnosis Individual: MUDD: Champaign/Logan counties
             Educational Conference in Dual Diagnosis, Urbana, Ohio in October, 2006

         •   The Victim, Witness, or Suspect with Mental Retardation/Developmental Disabilities: Critical Incident
             Training at Dayton Police Academy in Dayton, Ohio in May, 2006

         •   Psychiatric Treatment and Medication Issues, Syndromes of Mental Retardation, and Commonly Missed
             Medical Conditions in the Dual Diagnosis Patient: Muskingum, Coshocton, Guernsey, Noble, Morgan, and
             Perry Counties Educational Training, Zanesville, Ohio in May, 2006

         •   Keynote Presentation: Psychiatric Treatment ofthe Patient with Developmental Disabilities: Assessment,
             Behavior Support and Treatment Issues: Knox/Licking Counties Educational Training in Mt. Vernon, Ohio
             in October, 2005

         •   Keynote Presentation: Prescribing Psychotropic Medications, Behavioral Supports, and Syndromes of
             Mental Retardation. Allen, Auglaize, and Hardin Counties Educational Conference in April, 2005

         •   Physician Training: Treatment ofthe Dual Diagnosis Patient: Medical staff training for pediatricians,
             psychiatrists, child psychiatrists, and family practice physicians in Allen/Auglaize/Hardin counties, April
             2005 (Invited)
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 98 of 106 PAGEID #: 4099




                             EXHIBIT
                                 PAGE
                            DIVIDER
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 99 of 106 PAGEID #: 4100
                                                                                                                - PLAINTIFF'S
                                                                                                                    EXHIBIT

      -                                                                                                        J;{-.~-;J
                 Boonshoft
                . School of Medicine                                         Orlfco of I/lo D<,1111
                                                                             3840 Co/, Glarv, Hwy. • Dayton, OH 46436
                                                                             medldne.wr!ght.edu
                 WRIGHT STATE UNlVE~ITY

    December 5, 2016
    "


    Igor Elman, M.D.
    7330 Hartcrest Lane
    Dayton, OH 45459-4875

    Dear Dr. Elman,

   I am writing to inform you of my decision to remove you from the position as Chair, Department of
   Psychiatry, Wright State University Boonshoft School of Medicine and Wright State Physlcians,
   effective December 31, 2016. I am taking this action since you have failed to demonstrate the ability
   to effectively communicate with faculty and learners, and constructively accept feedback, that is
   inherent to leading an academic department. I unfortunately have little confidence thatyou have the
   ability to remediate these deficits, and 1do not feel that I can allow further time for possible
   remediation to take place. The current situation in the department, where the majority of faculty and
   learners are trying to actively avoid contact with you, is not one I am prepared to see continue.
   Your stipends as Chair from Wright State Physicians and Wright State University Boonshoft
   School of Medicine will be condnued for one calendar year alter December 31, 2016, and
   discontinued thereafter.

   You will continue as Professor in the Department of Psychlatry and salary support will remain as
   described in your initial offer ofApril 3, 2015. The unused additional support as outlined in the
   letter dated April 1, 2015, will cease.

   You will retain an office in the Department of Psychiatry and continue to engage in teaching,
   research and patient care as a faculty member. You will retain an office in the departrnentthat
   will be provided after you vacate the chair's office no later than December 31, 2016.
   I hope that you will be successful in your research and other endeavors as a faculty member. If
   there are questions or you need clarification related to this letter, please do not hesitate to
   contact me.
   Cordially,




   Margaret M. Dunn, M.D., M.B.A.
   Dean

   c: Dr. Alan Marco, President/CEO, Wright State Physicians
      Becky Bezich, Executive Assistant to Or. Alan Marco




                                                                                            DEFENDANT 000155
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 100 of 106 PAGEID #: 4101



                                                                                           i    PLAINTIFF'S
       From:            Rory Callahan                                                      q         EXHIBIT
       To:
       Cc:
                        Craig Matthews                                                     I         JZ
                        Wendy Clary: Ashley Barbone; Pod stone
       Subject:         RE: Molly Hall - rescheduled?
       Date:            Wednesday, December 04, 2024 3:27:54 PM
       Attachments:     Dunn Notes Elman File.odf
                        11-03-16 - Hall Elman Notes.pdf
                        Elman Painter Notes Aug 4 2016 pdf
                        Elman Kay Letter Oct 2016.pdf
                        Elman Gentile Notes Nov 1s 2016.odf


       Hi Craig, These are the documents that the Dean had available to her and reviewed prior to the
       removal of Dr. Elman as Depart ment Chair. Dr. Gentile was not the decision-maker, but did
       review her memorandum th at she sha red w ith Margaret Dunn.


       Rory


       Rory Callahan
       Principal Assi stant Attorney General, Education Section
       Office of Ohio Attorney General Dave Yost
      30 East Broad Street, 16th Floor
      Columbus, Ohio 43215
      Mobile: (614) 563-1514
      General Office Number: (614)644-7250
      rory.callahan@OhioAGO.gov
      Confidentiality Notice: This message is intended for use only by the individual or entity to
      whom or which it is addressed and may contain information that is privileged, confidential
      and/or otherwise exempt from disclosure under applicable law. If the reader of this message is
       not the intended recipient, or the employee or agent responsible for delivering the message to
      the intended recipient, you are hereby notified that any dissemination, distribution or copying
      of this communication is strictly prohibited. If you have received this communication in error,
       please notify me immediately by email or by telephone at 614-644-7250.




       From: Craig Matthews <cmatthews@ctm law.com>
       Sent: Wednesday, December 4, 2024 11 :16 AM
      To: Rory Callahan <Rory.Callahan@OhioAGO.gov>
      Cc: Wendy Clary <Wendy.Clary@OhioAGO.gov>; Ashley Barbone <Ashley.Ba rbone@OhioAGO.gov>;
       Dori Stone <dstone@ctmlaw.com>
       Subject: RE: Molly Hall - rescheduled?


       Hello Rory,

       My September 13 correspondence confirmed that you indicated the Un iversity
       wo uld not agree to the stipulation I proposed. If you no w believe a stipulation is
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 101 of 106 PAGEID #: 4102



      possible, please send me your proposal.

      The requested paper documents are critical to meaningful depositions. As I
      explained, I simply need Ors. Dunn and Gentile to bring to the deposition paper
      copies of all the documents each reviewed related to Dean Dunn's decision to
      remove Dr. Elman. If you believe that cannot be done, then we should reschedule
      until such time as we, or the court, obtain a resolution on that issue.

      Craig

      From: Rory Callahan <Rory Callahan@0hioAG0 gov>
      Sent: Wednesday, December 04, 2024 10:53 AM
      To: Craig Matthews <cmatthews@ctmlaw,com>
      Cc: Wendy Clary <Wendy Clary@OhjoAGO.gov>; Ashley Barbone <Ashley,Barbone@0hioAG0 gov>;
      Dori Stone <dstone@ctm!aw corn>
      Subject: RE: Molly Hall - rescheduled?


      Hi Craig, We had not communicated on the stipulation issue since August and September. I
      recall that we said we had never entered into a stipulation like what you proposed, but invited
      you to draft something up so we could review and better understand your request. I don't
      think you ever sent us a draft.

      As a practical matter, if we want to move forward with the depositions tomorrow, we should
      proceed without the subpoena requesting documents from Dr. Gentile and Dr. Dunn. The
      subpoena is much different than the stipulation you discussed, and is too broad to
      meaningfully comply with because it is for "all documents related to Dr. Elman". As a
      practical matter, you have an ample amount of documentation for this case from discovery to
      depose the witnesses.

      Can we agree to go forward with the depositions of Dr. Gentile and Dr. Dunn without the
      subpoena request for them to bring "all documents related to Dr. Elman?"


      Rory

      Rory Callahan
      Principal Assistant Attorney General, Education Section
      Office of Ohio Attorney General Dave Yost
      30 East Broad Street, 16th Floor
      Columbus, Ohio 43215
      Mobile: (614) 563-1514
      General Office Number: (614)644-7250
      rory.caLLahan@ObioAGO.gov
      Confidentiality Notice: This message is intended for use only by the individual or entity to
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 102 of 106 PAGEID #: 4103




      whom or which it is addressed and may contain information that is privileged, confidential
      and/or otherwise exempt from disclosure under applicable law. If the reader of this message is
      not the intended recipient, or the employee or agent responsible for delivering the message to
      the intended recipient, you are hereby notified that any dissemination, distribution or copying
      of this communication is strictly prohibited. If you have received this communication in error,
      please notify me immediately by email or by telephone at 614-644-7250.




      From: Craig Matthews <crnatthews@ctrnlaw corn>
      Sent: Wednesday, December 4, 2024 8:20 AM
      To: Rory Callahan <Rory.Callahan@OhioAGO gov>
      Cc: Wendy Clary <Wendy Clary@OhjoAGO gov>; Ashley Barbone <Ashley Barbone@OhjoAGO gov>;
      Dori Stone <dstone@ctrnlaw corn>
      Subject: Re: Molly Hall - rescheduled?


      Rory,


      We've discussed the document issue at length. You declined to agree to enter into a
      stipulation as to what documents each witness possesses relating to the grounds for
      Dean Dunn's decision to remove Dr. Elman as Chair; hence the subpoena. Now you take
      issue with the subpoena. If you have a proposal which will obviate the need for court
      involvement, please let me know.


      Craig


      Sent from small screen while on the move

      From: Rory Callahan <Rory CaUahan@OhjoAGO gov>
      Sent: Tuesday, December 3, 2024 6:14:55 PM
      To: Craig Matthews <cmatthews@ctrnlaw corn>
      Cc: Wendy Clary <Wendy Clary@OhjoAGO gov>; Ashley Barbone <Ashley Barbone@OhjoAGO gov>;
      Dori Stone <dstone@ctmlaw corn>
      Subject: RE: Molly Hall - rescheduled?


      Hi Craig, When we agreed to these dates for depositions for Dr. Gentile and Dr. Dunn, you did
      not indicate that you were going to issue subpoenas to each witness with records requests for
      "all documents related to Dr. Igor Elman". There is no identification of specific issues or
      topics, or even a limitation on documents related to the litigation. We have provided you with
      all the documents in the University's possession related to this litigation. We provided you the
      large tranche of documents in March 2023, based on your expansive records requests. I don't
      think these depositions will proceed well either, if Dr. Dunn, the former Dean for the Medical
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 103 of 106 PAGEID #: 4104




      School, and Dr. Gentile, the former Vice Department Chair and current Department Chair for
      Psychiatry at the WSU School of Medicine, would bring hundreds of pages of documents with
      them that are "related to Dr. Igor Elman". You have previously indicated that you wanted to
      take 3-4 hours of depositions from each of the four (4) witnesses that you identified, and I
      don't think proceeding in this manner is conducive to completing those depositions, given this
      subpoena that you sent last week.


      We can schedule a call, but we can also approach the Court as well. Let me know how you
      want to proceed.


       Rory


       Rory Callahan
       Principal Assistant Attorney General, Education Section
      Office of Ohio Attorney General Dave Yost
      30 East Broad Street, 16th Floor
      Columbus, Ohio 43215
      Mobile: (614) 563-1514
      General Office Number: (614)644-7250
       rory.callahao@PbioAGO.gov
      Confidentiality Notice: This message is intended for use only by the individual or entity to
      whom or which it is addressed and may contain information that is privileged, confidential
      and/or otherwise exempt from disclosure under applicable law. If the reader of this message is
      not the intended recipient, or the employee or agent responsible for delivering the message to
      the intended recipient, you are hereby notified that any dissemination, distribution or copying
      of this communication is strictly prohibited. If you have received this communication in error,
       please notify me immediately by email or by telephone at 614-644-7250.



                                                                       ---··--------------
      From: Craig Matthews <crnatthews@ctrnlaw corn>
      Sent: Tuesday, December 3, 2024 4:07 PM
      To: Rory Callahan <Rory CaUahan@0hjoAG0 gov>
      Cc: Wendy Clary <Wendy Clary@QbioAG0 gov>; Ashley Barbone <Ashley Barbone@0hioAG0 gov>;
      Dori Stone <dstone@ctrnlaw corn>; Molly Hall <drrnolly@mollyballrnd corn>
      Subject: RE: Molly Hall - rescheduled?
       Importance: High


       Hello Rory,

      Regarding Molly Hall, you have previously indicated she is not a Wright State
      University employee, and you are not representing her. Thus, I need to hear from
      her. that she does not have any documents related to Dr. Elman in her possession
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 104 of 106 PAGEID #: 4105



      despite her accessing her Wright State University and Premier Health email
      accounts. If she is not able to access her Wright State University account, then I need
      b.su. to explain why that is. If she is not able to access her Premier Health email
      account, then I need b.su. to explain why that is. If she is not willing to provide that
      explanation, then I intend to proceed with the deposition and will ask her in that
      context. If she can provide the requested documents or a satisfactory explanation
      for why she cannot access her email accounts, then I will be happy to coordinate a
      new mutually agreed upon date. I have copied Dr. Hall in on this email.

      Regarding the subpoenas to Ors. Dunn and Gentile, the subpoena is clear. They
      each are to bring to the deposition paper copies of all documents related to Dr.
      Elman. It is not a question of whether there is "anything new to produce." If your
      intent is for these employees to vaguely reference documents which purportedly
      exist in the 176,000 pages provided earlier this year, then I suggest we reach out to
      the court to discuss. Otherwise, the depositions will be a terrible waste of time. I am
      available the rest of today and all day tomorrow to discuss with the court.

      Look forward to hearing from you soon.

      Craig




      From: Rory Callahan <Rory,CaUahan@OhjoAGO gay>
      Sent: Tuesday, December 03, 2024 2:28 PM
      To: Craig Matthews <cmatthews@ctmlaw,com>
      Cc: Wendy Clary <Wendy Clary@OhjoAGO.gov>; Ashley Barbone <Ashley Barbone@OhjoAGO gov>;
      Dori Stone <dstone@ctmlaw corn>
      Subject: RE: Molly Hall - rescheduled?


       Hi Craig, I spoke with Molly Hall again about this, and let me know if we should talk. My
       understanding is that she does not have any documents related to Dr. Elman in her
       possession. My understanding is that she also does not have access to her Wright State
       University email account at this time, or her Premier Health email account. Is there something
       specific that you were looking for? I can't tell from the subpoena.

       Dr. Hall has said that she has indicated to you that she could appear for her deposition on
       December 16, 17, 18 or 20. Do any of those dates work for you?

       Dr. Hall would like to be released from the subpoena for Thursday, December 5, as she is in
      with patients that day.

       I also see that you've sent us subpoenas for Dr. Dunn and Dr. Gentile with a request for "all
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 105 of 106 PAGEID #: 4106




       documents related to Dr. Elman." My understanding is that there is not anything new to
       produce. Is there something specific that you are looking for with that request?

       Rory


       Rory Callahan
       Principal Assistant Attorney General, Education Section
       Office of Ohio Attorney General Dave Yost
       30 East Broad Street, 16th Floor
       Columbus, Ohio 43215
       Mobile: (614) 563-1514
       General Office Number: (614)644-7250
       rory,callahan@OhjoAGO.gov
       Confidentiality Notice: This message is intended for use only by the individual or entity to
      whom or which it is addressed and may contain information that is privileged, confidential
       and/or otherwise exempt from disclosure under applicable law. If the reader of this message is
      not the intended recipient, or the employee or agent responsible for delivering the message to
      the intended recipient, you are hereby notified that any dissemination, distribution or copying
       of this communication is strictly prohibited. If you have received this communication in error,
       please notify me immediately by email or by telephone at 614-644-7250.




      From: Craig Matthews <cmatthews@ctmlaw corn>
      Sent: Monday, December 2, 2024 4:45 PM
      To: Rory Callahan <Rory Callahan@OhioAGO goy>
      Cc: Wendy Clary <Wendy.Clary@OhioAGO.gov>; Ashley Barbone <Ashley Barbone@OhioAGO gov>;
      Dori Stone <dstone@ctmlaw corn>
      Subject: RE: Molly Hall - rescheduled?


       Hi Rory. I told her I would be willing to work with her and you on a new date if she
       first provides me with the documents specified in the subpoena. She indicated she
       would search her emails and get back to me. Let's hold the scheduled date and time
       for now.

       From: Rory Callahan <Rory Callahan@OhjoAGO gov>
       Sent: Monday, December 02, 2024 4:28 PM
      To: Craig Matthews <cmatthews@ctmlaw corn>
      Cc: Wendy Clary <Wendy Clary@OhjoAGO gov>; Ashley Barbone <Ashley Barbone@OhioAGO goy>;
      Dori Stone <dstone@ctmlaw corn>
      Subject: Molly Hall - rescheduled?


       Hi Craig, Molly Hall reached out to us and indicated that she needs to reschedule because she
Case: 3:18-cv-00358-WHR-PBS Doc #: 166-1 Filed: 12/23/24 Page: 106 of 106 PAGEID #: 4107




       is in with patients all day on December 5, and traveling on December 6.

      Please confirm if we are rescheduling Molly Hall's deposition, and what dates you are looking
      at for her deposition.


       Rory


       Rory Callahan
      Principal Assistant Attorney General, Education Section
      Office of Ohio Attorney General Dave Yost
      30 East Broad Street, 16th Floor
      Columbus, Ohio 43215
      Mobile: (614) 563-1514
      General Office Number: (614)644-7250
      rory callahan@QbioAGQ.gov
      Confidentiality Notice: This message is intended for use only by the individual or entity to
      whom or which it is addressed and may contain information that is privileged, confidential
      and/or otherwise exempt from disclosure under applicable law. If the reader of this message is
      not the intended recipient, or the employee or agent responsible for delivering the message to
      the intended recipient, you are hereby notified that any dissemination, distribution or copying
      of this communication is strictly prohibited. If you have received this communication in error,
      please notify me immediately by email or by telephone at 614-644-7250.
